                                    Schedule 1

                               Interested Parties List




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                 PG&E Corporation and Pacific Gas and Electric Company
                                 Retention Checklist

Debtors
       PG&E Corporation
       Pacific Gas and Electric Company

Debtors’ Trade Names and Aliases (up to 8 years) (a/k/a, f/k/a, d/b/a)
       None

Affiliates and Subsidiaries
        Alaska Gas Exploration Associates
        Eureka Energy Company
        Fuelco LLC
        Midway Power, LLC
        Morro Bay Mutual Water Company
        Moss Landing Mutual Water Company
        Natural Gas Corporation of California
        Pacific Energy Capital IV, LLC
        Pacific Energy Fuels Company
        Pacific Gas and Electric Company
        PCG Capital, Inc. (Formerly PG&E Ventures, Inc.)
        PG&E Corporation Support Services II, Inc.
        PG&E Corporation Support Services, Inc.
        PG&E National Energy Group, LLC
        Standard Pacific Gas Line Incorporated
        STARS Alliance LLC (formed in DE 7/12/12, PG&E ownership interest acquired
        7/30/12)

Bank Accounts
      Bank of America
      Bank of America Merrill Lynch
      Bank of Marin
      Bank of New York Mellon
      Barclays Capital Inc.
      BNP Paribas
      Citibank, N.A.
      Citigroup Global Markets
      Deutsche Bank Trust Company Americas
      Fidelity Management Trust Company
      Goldman, Sachs & Co.
      JP Morgan Chase Bank, N.A.
      Merrill Lynch
      Mitsubishi UFJ Securities USA, INC.
      Morgan Stanley / ISG Operations
      RBC Capital Markets
      Royal Bank of Canada



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       Royal Bank of Scotland
       U.S. Bank N.A. Global Corporate Trust Services
       U.S. Bank, N.A.
       Union Bank of California
       Wachovia Corporate Services, Inc.
       Wells Fargo Bank, N.A.
       Wells Fargo Securities, LLC


Bankruptcy Judges & Staff Northern District of California
      Chief Judge Charles Novack
      Judge Hannah L. Blumenstiel
      Judge Roger L. Efremsky
      Judge M. Elaine Hammond
      Judge Stephen L. Johnson
      Judge William J. Lafferty III
      Judge Dennis Montali
      Edward Emmons (Clerk of the Court)
      Amy Leitner
      Anna Lee
      Anna Rosales
      Audrey Gervasi
      Benjamin V. Gapuz
      Cindy Fan
      Dina Kakalia
      Emily Keller
      Jane Fabian
      Jane Galvani
      Kay Fransson
      Kenneth Conlan
      Laura Dripps
      Laurent Chen
      Lorena Parada
      Monica Burley
      Peggy E. Brister
      Rachel Stoian
      Raenna J. Rorabeck
      Rahmon Brown
      Ruby Bautista
      Shannon Mounger-Lum
      Terence Desouza


Current Officers and Directors
       Affonsa, Deborah T
       Becker, Margaret Kryder
       Bell, Valerie J.



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      Bijur, Nicholas Marks
      Cairns, Stephen James
      Caron, Mark T
      Chan, Eileen
      Cheng, Linda Y
      Chew, Lewis
      Christopher, Melvin J.
      Cowens, Bernard A.
      Dasso, Kevin John
      Foster, Christopher
      Fowler, Fred
      Franke, Jon A.
      Giammona, Loraine M.
      Hogan, Patrick
      Johnson, Aaron J
      Kane, Julie M
      Kay, Kathleen B
      Kelly, Richard
      Kenney, Robert S.
      King, Mary
      Kiyota, Travis T
      Kuga, Roy M
      Lee, Wondy S
      Lemler, Gregg Lee
      Lewis, Michael
      Loduca, Janet C
      Malnight, Steven
      Martin, Jamie Lynn
      Meserve, Richard
      Miller, Forrest
      Minicucci, Benito
      Mistry, Dinyar Behram
      Montizambert, Eric Alan
      Mullins, Eric
      Parra, Rosendo
      Powell, Deborah W
      Rambo, Barbara
      Sanford, Scott Thomas
      Shim, Gun S.
      Simon, John R
      Singh, Sumeet
      Smith, Anne Shen
      Soto Jr., Jesus
      Stephens, Keith Fisher
      Thomason, David
      Titone, Bonnie Beth




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      Trevino, Rolando I.
      Wan, Fong
      Wells, Jason P
      Welsch, James Michael
      Williams, Andrew K


Term and Revolving Loan Lenders and Administrative Agents
      Bank of America, N.A. (Admin Agent - $300M)
      Barclays Bank PLC
      BNP Paribas
      Canadian Imperial Bank of Commerce, New York Branch
      Citibank, N.A. (Admin Agent - $3B)
      Goldman Sachs Bank USA
      JPMorgan Chase Bank, N.A.
      Mizuho Bank, Ltd. (TL)
      Morgan Stanley Bank, N.A.
      Morgan Stanley Senior Funding, Inc.
      MUFG Union Bank, N.A.
      Royal Bank of Canada
      Sumitomo Mitsui Banking Corporation
      TD Bank, N.A.
      The Bank of New York Mellon
      The Bank of Tokyo-Mitsubishi UFJ, Ltd. (TL)
      US Bank, National Association
      Wells Fargo Bank, National Association

Contract Counterparties
       1080 Chestnut Corp.
       3 Phases Renewables, Inc.
       54KR 8me LLC
       83WI 8ME LLC
       87RL 8ME LLC
       8minutenergy Renewables, LLC
       Abatement Fuels LLC
       ABEC #2 LLC
       ABEC #3 LLC
       ABEC #4 LLC
       ABEC Bidart-Old River LLC
       ABEC Bidart-Stockdale LLC
       ABQ ENERGY
       Acciona Energy N.A./ Pacific Renewables
       Aera Energy LLC
       Aera Energy LLC (Coalinga)
       Aera Energy LLC (N. Midway Sunset)
       Aera Energy LLC (Oxford)
       Aera Energy LLC (S. Belridge)



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      AES Distributed Energy
      Agua Caliente Solar, LLC
      Ahura Energy Concentrating Systems, Inc.
      Air Products Manuf. Corp.
      Airport Club
      Alamo Solar, LLC
      Alaun Group
      Algonquin Power Co.
      Algonquin Power Sanger LLC
      Algonquin SKIC Solar 20 Solar, LLC
      Alpaugh 50, LLC
      Alpaugh North, LLC
      AltaGas Ripon Energy Inc.
      AltaGas San Joaquin Energy Inc.
      Altamont Cogeneration Corp.
      Altamont Power LLC (3-4 )
      Altamont Power LLC (4-4)
      Altamont Power LLC (6-4)
      Altamont Power LLC (Partners 1)
      Altamont Power LLC (Partners 2)
      Alvares Renewables Projectco LLC
      Amedee Geothermal Venture 1
      Amerex Brokers LLC
      American Energy, Inc.
      Ampco/national 1
      Anadarko
      Anahau Energy
      Anahau Energy, LLC
      Apache Corp.
      Apex Greenworks LLC
      Apex Natural Renewable Generation LLC
      APS - Pinnacle West Capital Corp - (Trading Entity)
      Arbuckle Mountain Hydro, LLC
      Arcadian Renewable Power Corp
      Arden Wood Benevolent Assoc.
      Arizona Public Service
      Arlington Wind Power Project, LLC
      Aspiration Solar G LLC
      Atlantic Coast
      Atlantic Coast Energy Corp.
      Atlantica Yield
      Atlantica Yield
      Ato Power Inc.
      Ausra Ca II, LLC
      AV Solar Ranch One, LLC
      Avangrid Renewables, LLC




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      Avenal Park LLC
      Avista Energy, Inc.
      Avista Utilities
      Badger Creek Limited
      Bailey Creek Ranch
      Baker Station Associates L.P.
      Baker Station Associates, L.P.
      Bakersfield 111 LLC
      Bakersfield Industrial PV 1, LLC
      Bakersfield PV 1, LLC
      Bakersfield PV I, LLC
      Bank of Montreal
      BAP Power Corporation
      Barclays Bank PLC
      Bayshore Solar A, LLC
      Bayshore Solar B, LLC
      Bayshore Solar C, LLC
      Bear Creek Solar, LLC
      Bear Mountain Limited
      Beautiful Earth Group LLC
      Bellus Ventures I LLC
      Bena Power Producers LLC
      Berkeley Cogeneration
      Berkshire Hathaway Energy Renewables
      Berry Creek
      Berry Petroleum Company
      Bertha Noll
      Bertha Wright Bertillion
      BGC Environmental Brokerage Services, L.P.
      Big Creek Water Works, Ltd.
      Big Valley Power, LLC
      BioEnergy Green Fuels, LLC
      BioEnergy Solutions LLC
      Blackwell Solar, LLC
      Blake's Landing Farms, Inc.
      Blue Mountain Electric Company, LLC
      Bluesource
      BNP Paribas Securities Corp.
      BNP Paribas US
      Bonneville Power Administration
      Bottle Rock Power, LLC
      BP Energy Company
      BP Products North America Inc.
      Brookfield Renewable Energy Partners
      Browns Valley Irrigation District
      Buena Vista Energy, LLC




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      Burney Forefst Products
      Burney Forest Products, a Joint Venture
      Buzzelle Renewables Projectco LLC
      BVP Property, LLC
      CA Flats Solar 150, LLC
      Calaveras County Water District
      Calaveras Public Utility District
      Calaveras Yuba Hydro #1
      Calaveras Yuba Hydro #2
      Calaveras Yuba Hydro #3
      California BioEnergy LLC
      California Dept. of Water Resources
      California Power Holdings, LLC
      Calpeak Power - Panoche LLC
      Calpeak Power - Vaca Dixon LLC
      CalPeak Power, LLC
      Calpine
      Calpine King City Cogen.
      Calpine Energy Services, L.P.
      Calpine Energy Solutions, LLC
      Calpine Geysers Co. L. P. (KW#1)
      Calpine Geysers Co. L. P. (KW#2)
      Calpine Geysers Co. L. P. (WFF)
      Calpine LLC
      Calpine Monterey Cogen Inc.
      Calpine Pittsburg Power Plant
      Calpine Retained Assets Agreement
      CalRenew -1 LLC
      Calstor, LLC
      Calwind Resources, Inc.
      CAN NAT RES
      Canadian Imperial Bank of Commerce
      Capital Dynamics, Inc.
      Capital Power Corporation
      Capital Power L.P.
      Cardinal Cogen
      Cargill Inc.
      Cargill Ltd.
      Cargill Power Markets, LLC
      Casas Del Sol Inc.
      Cascade Energy Storage, LLC
      Castelanelli Bros
      Castleton Canada
      Castleton Comm
      CED Avenal Solar, LLC
      CED Corcoran Solar 3, LLC




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      CED Corcoran Solar, LLC
      CED Lost Hills Solar, LLC
      CED Oro Loma Solar, LLC
      CED White River Solar 2, LLC
      CED White River Solar, LLC
      Centaurus Renewable Energy LLC
      Central California Irrigation District (CCID)
      Central Valley Ag Power, LLC
      Central Valley Gas Stor.
      Chalk Cliff Limited
      Chalk Hill Solar Project, LLC
      Charcoal Ravine
      Chevron (McKittrick)
      Chevron (North Midway)
      Chevron Natural
      Chevron Products Company
      Chevron Richmond Refinery
      Chevron USA (Coalinga)
      Chevron USA (Concord)
      Chevron USA (Cymric)
      Chevron USA (Eastridge)
      Chevron USA (Taft/Cadet)
      Chevron USA, Inc.
      Chevron USA, Inc. (SE Kern River)
      Choice Natural Gas
      Christensen Renewables Projectco LLC
      CID Solar, LLC
      CIMA Energy, Ltd.
      Citadel Energy Mktg. LLC
      Citigroup
      Citigroup Energy Inc.
      City County of San Francisco
      City of Fairfield
      City of Milpitas
      City of Roseville
      City of San Jose (San Jose Clean Energy)
      City of San Luis Obispo
      City of Santa Clara (SVP Muni)
      City of Santa Clara dba Silicon Valley Power
      City of Santa Cruz Water Department
      City of Seattle
      City of Vallejo
      City of Vernon
      City of Watsonville
      Classic Energy
      Clean Power Alliance of Southern California




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      CleanPower SF
      Clear Energy Brokerage & Consulting, LLC
      Clearway Energy
      ClimateSmart Charity
      ClimeCo Corporation
      Cloverdale Solar 1, LLC
      Cloverdale Solar 2, LLC
      Coalinga Cogeneration Company
      Cochrane
      Cogen National
      Cogeneration Capital Association
      Cogeneration Capital Association (Altamont Power)
      Cogentrix
      Collins Pine Company
      Columbia Solar Energy, LLC
      Commerce Energy Inc.
      Commercial Energy of Montana
      Commercial Energy of Montana Inc.
      Community Renewable Energy Services, Inc.
      Con Edison Development
      Concord Energy
      Concord Smart Energy Park, LLC
      Conoco Canada
      Conoco Phillips Company
      Conocophillips Co.
      Constellation Energy Group, Inc.
      Contra Costa Generating Station LLC
      Convergent Energy and Power LLC
      Copper Mountain Solar 1, LLC
      Copper Mountain Solar 2, LLC
      Coral Power, LLC
      Coram California Development, L.P.
      Cotton Renewables Projectco LLC
      County of Santa Cruz ( Water St. Jail)
      Covanta Power Pacific
      Covanta Power Pacific, Inc.
      Coyanosa Gas
      CP Energy Marketing (US) Inc.
      CRA International Inc
      CRA International Inc.
      CRC Marketing, Inc.
      Credit Suisse Energy LLC
      Crockett Cogeneration, LP
      Cross Court Athletic Club
      Cupertino Green Club
      Cuyama Solar, LLC.




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      CVI CleanCapital LLC
      Cypress Energy Partners
      D&L Harris
      DAI/Oildale, Inc.
      David O. Harde
      DB Energy Trading
      DE Shaw
      Deadwood Hydro, LLC
      Delano PV 1, LLC
      Delta Diablo Sanitation District
      DES WholesalE
      Desert Sunlight 300, LLC
      Desri Portal Ridge Development, LLC
      Devlar
      DG Fairhaven Power, LLC
      DGEP Management, LLC
      Diablo Energy Storage, LLC
      Diablo Winds, LLC
      Digger Creek Hydro
      Digger Creek Ranch
      Direct Energy
      Direct Energy Business Marketing, LLC
      Dole Enterprises, Inc.
      Dominion Solar Holdings, Inc.
      Donald R. Chenoweth
      Double "C" Limited
      DTE Biomass Energy
      DTE Energy Services, Inc.
      DTE Stockton, LLC
      Duke Energy Marketing America LLC
      Dynegy Marketing and Trade, LLC
      Dynegy Morro Bay, LLC
      Dynegy Moss Landing LLC
      Dynegy Power, LLC
      E J M McFadden
      Eagle Creek Renewable Energy LLC
      Eagle Hydro
      East Bay Community Energy Authority
      Eben Knight Smart IV & Everett Allen Smart
      EBMUD
      Eco Services Operations Corp
      Eco-Energy, LLC
      Ecos Energy, LLC
      Eden Vale Dairy
      EDF Renewable Energy
      EDF Renewable Windfarm V, Inc.




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      EDF Trading
      EDF Trading North America, LLC
      EDP Renewables North America LLC
      EEN LP and Enbridge LP
      El Dorado Hydro, LLC
      El Dorado Irrigation District
      El Paso Natural Gas Company
      Element Markets Renewable Energy, LLC
      Elk Hills Power LLC
      Elk Mountain Energy
      Emmerson Investments, Inc.
      Encana Mkt US
      Encarnacion Ventures Inc.
      Enel Green Power North America, Inc.
      Energy 21
      Energy America LLC
      Energy America, LLC
      Energy Capital Partners
      Energy Nuevo Storage Farm, LLC
      Enerparc CA1, LLC
      Enerparc CA2, LLC
      Enerparc Inc
      Enfinity CAFIT 1 jacobscorner LLC
      Enstor Energy
      Enterprise
      EOG Resources
      Equus Energy
      Equus Energy LLC
      Escendent
      ETC Marketing, Ltd.
      Eugene J M McFadden
      Eureka Energy Company
      Eurus Energy America Corp
      EVOL Mkts Fts LLC - Fin Brk -LE
      Evolution Markets Futures LLC & Evolution Markets, Inc.
      Evolution Markets Futures, LLC
      Evolution Markets Inc.
      Evolution Markets, Inc.
      Exelon Generation
      Exelon Generation Company, LLC
      ExGen Renewables (Exlon)
      Far West Power Corporation
      Fayette II
      Fayette III
      Fayette IV
      Fayette Manufacturing Corp




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      Fayette V
      Fayette VI
      FFP CA Community Solar, LLC
      Finavera Renewables
      First Reserve
      First Solar
      Fitzjarrell Renewables Projectco LLC
      Five Bears Hydro, LLC
      Foothill Farmington Solar Project, LLC
      Forebay Wind, LLC
      Forefront Power, LLC
      Fortis Energy Marketing (fka Cinergy)
      Halliburton U.S. Onshore
      Fortis Energy Marketing
      Fortistar LLC
      Forward Power Plant Inc.
      FPL Energy Montezuma Wind, LLC
      Freepoint Comm
      Freeport McMoRan Oil & Gas LLC (Dome)
      Freeport McMoRan Oil & Gas LLC (Welport)
      Fresh Air Energy 1, LLC
      Fresh Air Energy IV, LLC
      Fresno Cogeneration Partners, L.P.
      Friant Power Authority
      Frito Lay Cogen
      Frito-Lay, Inc.
      FTP Power LLC
      Fuel Exchange, Llc
      FuelCell Energy
      Fuelco LLC
      Gansner Power and Water Company
      Gas Recovery Systems, Inc
      Gas Transmission Northwest, LLC
      GASNA 16P, LLC
      GASNA 27P, LLC ("Peabody BRJ Option 1")
      GASNA 30P, LLC ("Camden FiT 1")
      GASNA 36P LLC
      GASNA 60P, LLC
      GASNA 6P, LLC
      GATX/Calpine Cogen-Agnews Inc.
      Genesis Solar, LLC
      GenOn Delta, LLC
      GenOn Energy Management LLC
      GenOn Energy, Inc.
      Geothermal Energy Partners 1
      Geothermal Energy Partners 2




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      GEPIF NAP I Holdings
      Geysers Power Company, LLC
      GFI Brokers LLC
      GFI Securities LLC
      GHI Energy
      Gill Ranch Storage, LLC
      Gilroy Energy Center, LLC, Creed Energy Center, LLC and Goosehaven Energy Center,
      LLC
      GIP III Zephyr Acquisition Partners, L.P.
      GL Madera, LLC
      GL Merced 2, LLC
      GL Peacock, LLC
      GL Sirius, LLC
      Global Ampersand, LLC
      Gold Hill Power
      Golden Hills Interconnection LLC
      Google Inc.
      Goose Valley Farming LLC
      Graphic Packaging International Inc.
      Great Valley Solar 4, LLC
      Greater Vallejo Recreation District
      Green Light Energy Corporation
      Green Light FIT 1, LLC
      Green Ridge Power LLC
      Greenleaf Energy Unit 1 LLC
      Greenleaf Energy Unit 2 LLC
      Greenleaf Power
      GreenVolts, Inc.
      Gregory Merwin
      Guzman Energy, LLC
      GWF
      GWF Energy LLC
      GWF Power Systems Inc. #1
      GWF Power Systems Inc. #2
      GWF Power Systems Inc. #3
      GWF Power Systems Inc. #4
      GWF Power Systems Inc. #5
      Halkirk 1 Wind Project LP
      Hamlin Creek
      Hanford L.P.
      Hanford Renewable Energy LLC
      Harbert Management Corp
      Harris Renewable Projectco LLC
      Hat Creek Bioenergy, LLC
      Hat Creek Hereford Ranch
      Hatchet Ridge Wind, LLC




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      Hawkins Creek
      Haypress Hydroelectric, Inc. (lwr)
      Haypress Hydroelectric, Inc. (mdl)
      Hayward Area Rec & Park Dist.
      Hayworth-Fabian LLC
      Hecate Energy Molino LLC
      Helton Renewables Projectco LLC
      Henrietta D Energy Storage LLC
      Henwood (Karn)
      Henwood (Troy/Cal St)
      HIC Energy
      HIC Energy, LLC
      High Plains Ranch II, LLC
      High Sierra Limited
      Hilcorp San Juan, L.P.
      Hill Renewables Projectco LLC
      HL Power Company
      Hollister Solar LLC
      Humboldt Bay Municipal Water District
      Humboldt Bay Mwd
      Humboldt Redwood Company LLC
      Hummingbird Energy Storage, LLC
      Huntsman Wind LLC
      Hydro Partners
      Hydro Sierra Energy LLC
      Hydrocarbon
      Hypower, Inc
      HZIU Kompogas-SLO Inc.
      Iberdrola Renewables LLC
      Iberdrola Renewables, Inc.
      Icap
      Icap Capital Markets (Canada) Inc.
      ICAP Energy LLC
      ICE
      ICE NGX Canada Inc.
      Iceland America Energy, LLC
      Idemitsu Apollo Corporation
      Ignite Solar Holdings 1, LLC
      Ignite Solar, LLC
      IHI Power Services Corp.
      ImMODO California 1, LLC
      Indian Valley Hydro
      Institute for Energy Independence (IEI)
      Integrys
      Intercontinental Exchange, Inc.
      International Turbine Research




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      INTL FCSTONE FINANCIAL
      Invenergy Wind Development LLC
      IPC (USA), INC.
      IPC (USA), INC.
      Iron Mountain Mines
      J&A Santa Maria II, LLC
      J. Aron & Company LLC
      J. Aron and Company LLC
      J.P. Morgan Ventures
      J.R. Wood
      J.V.enterprise
      Jack Roddy
      Jackson Valley Energy Partners (ione)
      Jackson Valley Irrigation District
      James B. Peter
      James C. Ross
      James Crane Hydro
      Jardine Renewables Projectco LLC
      Jarvis Renewables Projectco LLC
      Java Solar, LLC
      Joe Richardson
      John Neerhout Jr.
      Jonah Energy LLC
      Jonah Energy LLC
      JP Morgan Chase Bank, N.A.
      JP Morgan Securities LLC
      JP Morgan Ventures Energy Corporation
      JR Simplot
      JRW Associates, LP / Ridgewood
      K&R Energy Partners, LLC
      K2 Commodities, LLC
      Karbone Inc.
      Karen Rippey
      KDW Solar 1, LLC
      KDW Solar 2, LLC
      Ken Link
      Kern Front Limited
      Kern River
      Kern River Cogen Company
      Kern River Gas Transmission Company
      KES-Kingsburg, LP
      Kettleman Solar LLC
      Kinergy Marketing LLC
      Kings River Conservation District
      Kingston Energy Storage, LLC
      Klondike Wind Power III LLC




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      KM Ventures
      KM Ventures, LLC dba Freedom Energy
      Koch Energy Svc
      Koch Supply & Trading, LP
      Kompogas SLO LLC
      L.P. Reinhard
      La Paloma Generating Company
      LADWP TSA
      Laguna Cogen
      Landmark
      Landmark Power Exchange, Inc.
      Langerwerf Dairy
      Lassen Community College
      Lassen Station Hydroelectric LP
      Lassen Station Hydroelectric, LP
      Launderland
      Lehman Brothers Commodity Services
      Lemoore PV 1, LLC
      Liberty V Biofuels Power, LLC
      Lincoln Solar Millennium Fund LLC
      Live Oak Limited
      Lodi Gas Storage LLC
      Lodi Solar, LLC
      Lofton Ranch
      Longroad Energy Services, LLC
      Los Angeles Dept. of Water and Power
      Los Esteros Critical Energy Facility LLC
      Los Esteros Critical Energy Facility, LLC
      Los Medanos Energy Center
      Lost Hills Solar, LLC
      Macquarie Can
      Macquarie Energy LLC
      Macquarie Futures
      Macquarie Futures LLC
      Macquerie Energy LLC
      Madera Chowchilla Water & Power Authority
      Madera DP 2, LLC
      Madera Power, LLC
      Madera Renewable Energy LLC
      Madera-Chowchilla Water and Power Authority
      Magnus Energy
      Malacha Hydro L.P
      Mammoth One LLC
      Mammoth Three LLC
      Manteca PV 1, LLC
      Maricopa West Solar PV 2, LLC




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      Marin Clean Energy
      Mariposa Energy, LLC
      Martin Teeling
      Martinez Cogen Limited Partnership
      MBF Clearing
      McFaddenhydro
      Mckittrick Limited
      Mega Hydro
      Mega Hydro (Goose Valley Ranch)
      Mega Renewables
      Merced Irrigation District
      Merced Solar LLC
      Mercuria Commodities Canada
      Mercuria Ener Amer Inc.
      Meritspan
      Merrill Lynch
      Merrill Lynch Commodities Inc.
      Mesquite Solar 1, LLC
      Metcalf Energy Center
      Michael W. Stephens
      Micronoc Inc.
      MidAmerican Energy
      Midcoast Marketing (Us) L.P.
      Midset Cogen Co.
      Midway Peaking, LLC
      Midway Power LLC
      Midway Sunset Cogeneration Co.
      Mieco
      Mieco Inc.
      Mill & Sulphur Creek Power Plant LP
      Millennium Pacific Resources LLC
      Milpitas Unified School District
      Mirant Energy Trading, LLC
      Mission Solar LLC
      MNOC Aers LLC
      Modesto Irrigation District
      Mojave Solar LLC
      Mojave Sun Power LLC
      Monterey Bay Community Power Authority
      Monterey County Water Res Agency
      Monterey County Water Resources Agency
      Monterey One Water (M1W)
      Monterey Power Company
      Monterey Regional Waste Management District mnoc
      Monterey Regional Water Pollution Control Agency (MRWPCA)
      Morelos Solar, LLC




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      Morgan Stanley Capital Group Inc.
      Morro Bay Mutual Water C
      Moss Landing Mutual Water Company
      Mt. Poso Cogeneration Company, LLC
      Napa Recycling & Waste Services, LLC
      Napa Sanitation District
      Napa State Hospital
      NASDAQ OMX Commodities Clearing - Contract Merchant LLC
      National Fuel
      Natural Gas Corp of California
      Natural Gas Trading
      Nelson Creek Power Inc.
      Nevada Irrigation District
      Nevada Irrigation District (Bowman)
      NextEra
      NextEra Energy Marketing, LLC
      Nextera Energy Montezuma Wind II, LLC
      NextEra Energy Parnters, LP
      NextEra Energy Partners
      NextEra Energy Resources Acquisitions, LLC
      NextEra Energy Resources, LLC
      Nextera Energy Resources, LLC and its subsidiary Aries Solar Holding, LLC
      NextEra Energy, Inc.
      Nihonmachi Terrace
      NJR Energy Serv.
      NLH 1 Solar, LLC
      NLP Porter Ranch G18, LLC
      NNN Land and Energy Advisors
      Noble Americas Corporation
      Noble Americas Energy Solutions LLC
      Noble Americas Gas & Power Corp.
      Norman Ross Burgess
      North Fork Community Power
      North Sky River Energy, LLC
      North Star Solar, LLC
      Northern California Power Agency (NCPA)
      Northwest Geothermal Company
      Northwind Energy
      NRG Energy
      NRG Energy, Inc.
      NRG Marsh Landing, LLC
      NRG Power Marketing LLC
      NRG Solar Alpine, LLC
      NRG Solar Kansas South LLC
      NV Energy
      O.L.S. Energy-Agnews, Inc.




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      Oakland YMCA
      OCCID Ener Mkt
      Occidental Energy Ventures Corp.
      Occidental of Elk Hills, Inc.
      Occidental Power Services, Inc.
      Ogden Power Pacific Inc.
      Oildale Energy LLC
      Olcese Water District
      Olsen Power Partners
      Olympus Power, LLC
      One Exchange Corp
      One Nation
      One Nation Energy Solutions LLC
      Open Sky Power LLC
      Opera Plaza
      Orange Cove Irrigation Dist.
      Original Sixteen to One Mine
      Orinda Senior Village
      Orion Solar I, LLC
      Ormat Technologies, Inc.
      Oroville Cogeneration, L.P.
      Oroville Solar, LLC
      Ortigalita Power Company LLC
      Oxy Ener Canada
      Pacheco Wind Park
      Pacific Energy Fuels Co
      Pacific Summit
      Pacific Summit Energy LLC
      Pacific Tree Moving formerly Trees of California San Jose
      Pacificorp
      Palo Alto Landfill
      Pan Pacific (Weber Flat)
      Panoche Energy Center LLC
      Panoche Energy Center, LLC
      Parrey, LLC
      Pattern Energy
      Pattern Energy
      Patterson Pass Wind Farm LLC
      PBF Energy Western Region LLC
      PBM, LLC
      PE - Berkeley, Inc.
      Pedro Migueo
      Peninsula Clean Energy Authority
      Petaluma Solar Millennium Fund LLC
      Petrochina (CAN)
      Petrochina (America)




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      PFL Futures Limited
      PG&E California Gas Transmission
      Pilot Power Group, Inc.
      Pinnacle West Capital Corp
      Pioneer Community Energy
      Placer County Water Agency
      Portal Ridge Solar C, LLC
      Portland General Electric
      Portland TSA
      Potrero Hills Energy Producers, LLC
      Power Exchange Corporation - Wellhead
      Powerex
      Powerex Energy Corp.
      Prebon Energy Inc.
      Pricelock Inc.
      Pristine Power LLC
      Pristine Sun Fund 10 Fresno PGE LLC
      Pristine Sun Fund 2, LLC
      Pristine Sun Fund 5 LLC
      Pristine Sun Fund 6 Butte PGE LLC
      Pristine Sun Fund 6, LLC
      Pristine Sun Fund 7 San Luis Obispo PGE LLC
      Pristine Sun Fund 8 Sutter PGE LLC
      Pristine Sun Fund 8, LLC
      Pristine Sun, LLC
      Progressive Fuels Limited
      Public Service Company New Mexico
      Public Service Enterprise Group (PSEG)
      Public Utility District No. 1 of Klickitat County
      Puget Sound Energy, Inc.
      Puget TSA
      Putah Creek Solar Farms LLC
      PV Powerhouse
      Raven Solar Parent Company, LLC
      RDAF Energy Solutions, LLC
      RE Astoria LLC
      RE Gaskell West 3 LLC
      RE Gaskell West 4 LLC
      RE Gaskell West 5 LLC
      RE Kansas LLC
      RE Kent South LLC
      RE Old River One LLC
      Real Goods Trading Corp.
      Recurrent Energy
      Recurrent Energy Development Holdings LLC
      Red Bluff Union High School




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      Red Cedar Grp
      Redwood Food Packing Co
      Reliant Energy Services, Inc.
      Renewable Power Strategies, LLC
      Renewables Holdco I LLC
      Repsol Canada Energy
      Rice Solar Energy, LLC
      Richard E. Akin
      Rio Bravo
      Rising Tree Wind Farm II, LLC
      Risk Management Inc.
      Rival Power & Energy LLC
      River City Petroleum, Inc.
      Robert and Joyce Vieux
      Robert W. Lee
      Rock Creek Hydro, LLC
      Rock Creek L.P.
      Rock Creek Water District
      Rogers Renewables Projectco LLC
      Ronald Burrow
      Roy Sharp Jr.
      Royal Bank of Canada
      Royal Bank of Scotland, PLC
      RRI Energy Services
      RTR Global Investments
      Ruby Pipeline
      Ruby Pipeline, LLC
      Russell City Energy Company
      Sacramento Municipal Utility District
      Saint Agnes Med. Ctr.
      Saja Energy LLC
      Salinas River Cogen Co.
      Salmon Creek Hydroelectric Co.
      Salmon Creek Hydroelectric Company, LLC
      Salt River Project
      San Diego Gas and Electric
      San Jose Cogen
      San Jose Convention Center
      San Jose Water Company
      San Luis Obispo Wastewater Treatment Plant
      Sand Drag LLC
      Sand Hill Wind, LLC
      Santa Clara Valley Water Dist.
      Santa Cruz Cogen (Porter College)
      Santa Cruz County
      Santa Cruz WWTP




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      Sargent Canyon Cogeneration Company
      Satellite Senior Homes
      Schaads Hydro
      Scherz Renewables Projectco LLC
      SDG&E CO
      Sea West Energy
      Seattle City Light
      Sempra Energy
      Sempra Energy Trading Co.
      Sempra Gas & Power
      Sempra Gas and Power Marketing, LLC
      Sempra Generation
      Sempra Generation, LLC
      Sempra U.S. Gas & Power
      Sequent Energy
      Shadybrook
      Shafter Solar, LLC
      Shamrock Utilities (Cedar Flat)
      Shamrock Utilities (Clover Leaf)
      Shamrock Utilities, LLC
      Shasta Renewable Resources, LLC
      Shastaview Inc
      Sheila St. Germain
      Shell Energy
      Shell Energy CAN
      Shell Energy North America (US), L.P.
      Shell Energy US
      Shell Trading (US) Company
      Shell Western E & P
      Shiloh III Lessee, LLC
      Shiloh IV Lessee, LLC
      Shiloh Wind Project 1, LLC
      Shiloh Wind Project 2, LLC
      Sierra Energy
      Sierra Energy Storage, LLC
      Sierra Green Energy LLC
      Sierra Pacific Ind. (Susanville)
      Sierra Pacific Industries
      Sierra Power Corporation
      Silicon Valley Clean Energy Authority
      SilRay Inc.
      Sky Capital America Inc.
      Smotherman Renewables Projectco LLC
      SMUD
      Snow Mountain Hydro
      Snow Mountain Hydro LLC (cove)




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      Snow Mountain Hydro LLC (Lost Creek 1)
      Snow Mountain Hydro LLC (Lost Creek 2)
      Snow Mountain Hydro LLC (Ponderosa Bailey Creek)
      SO CAL EDISON
      SoCal GAS
      Soco Group
      Solano Irrigation District (SID)
      Solar Partners II, LLC
      Solar Partners VII, LLC
      Solar Partners VIII, LLC
      Solar Partners XII, LLC
      Solar Partners XIV, LLC
      Solar Partners XV, LLC
      Solar Partners XXII, LLC
      Solar Partners XXIII, LLC
      Solaren Corporation
      SolaRenewal LLC
      Sonoma Clean Power Authority
      Sonoma County Water Agency
      South Feather Water and Power Agency
      South San Joaquin Id (Frankenheimer)
      South San Joaquin Irrigation District (Woodward)
      South Sutter Water District
      Southern California Edison Company
      Southern Counties Oil Company (dba SC Fuels)
      Southern Energy Solution Group, LLC
      Southern Power
      Southwest Generation
      Spark Energy Gas
      Spinnaker Energy
      SPS Atwell Island, LLC
      SRI International
      Standard Pacific Gas Line Inc.
      Stanford Energy Group
      Stanislaus Waste Energy Company
      Stars Alliance LLC
      Starwood Energy Group Global LLC
      State of California - Department of Water Resources
      Statkraft US LLC
      Stem Energy Northern CA, LLC
      Sterling Planet, Inc.
      Steve & Bonnie Tetrick
      Steven Spellenberg Hydro
      Still Water Power LLC
      Stockton Cogen Co.
      Strategic Energy LLC




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      Stroing Renewables Projectco LLC
      STS HydroPower Kekawaka
      STS HydroPower Ltd.
      STS Hydropower Ltd. (Kekawaka)
      STS Hydropower, LLC
      STS HydroPower, Ltd.
      Sun City Project LLC
      Sun Harvest Solar, LLC
      Suncor Energy
      SunEdison Yieldco ACQ2, LLC
      Sunray Energy 2, LLC
      Sunrise Power Company, LLC
      Sunshine Gas Producers, LLC
      Sustainable Power Group (sPower)
      Swiss America
      T.V. Schuhart
      TA - Acacia, LLC
      Tacoma Power
      Tall Bear LLC
      Targa Gas Marketing Llc
      Targray Industries
      Td Energy Trading Inc.
      Tenaska Gas
      Tenaska Mktg
      Tenaska Mktg Can
      Tenaska Power Services Co.
      Tenaska Power Services Company
      Terzian Renewables Projectco LLC
      Tesoro Refining & Marketing Company LLC
      Tesoro Refining & Marketing Company, LLC
      Tesseron Vineyards, Inc.
      Texaco Exploration & Production, Inc. (fee A)
      Texaco Exploration & Production, Inc. (fee C)
      TFS Energy Futures LLC
      TFS Energy Futures, LLC
      TFS Energy, LLC
      TGP Coyote Canyon, LLC
      The Energy Authority, Inc.
      The Finerty Group, Inc.
      The Metropolitan Water District of Southern California
      The Regents of the University of California
      Thomas Frisbie
      Thomas S. Atkinson II
      Three Rocks Solar LLC
      Tiger
      TKO Power (South Bear Creek)




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      Tom Benninghoven
      Topaz Solar
      Topaz Solar Farms LLC
      Toro Energy of California - SLO, LLC
      Toronto Dominion Bank
      Total Gas
      Tourmaline Oil Marketing Co
      TransAlta Corporation
      TransAlta Energy Marketing (US) Inc.
      Transcanada Foothills
      TransCanada Foothills Pipe Lines
      Transcanada Gas Transmission NW
      Transcanada Nova
      Transwestern Pipeline Company, LLC
      Tres Vaqueros Wind Farms, LLC
      Tri-Dam Power Authority
      Tri-Dam Project
      Trikern Resources
      Tulare PV II LLC
      Tullet Liberty (NatSource)
      Tullet Prebon Americas Corp.
      Tullett Prebon Americas Corp.
      Tunnel Hill Hydro LLC
      Turlock Irrigation District
      Twin Eagle Res Mgmt, LLC.
      Twin Valley Hydro
      Twine gas and power
      U.S. Windpower 14
      UBS AG (Switzerland)
      UCSC Physical Plant
      UCSF
      UE-00101CA, LLC.
      Ultra Resources
      United Airlines (Cogen)
      United Energy
      United Gas & Power
      US Solar Holdings
      Utica Water and Power Authority
      Vaca Solar Millennium
      Van Der Kooi Dairy Power LLC
      Vantage Wind Energy LLC
      Vantage Wind Energy, LLC
      Vasco Winds, LLC
      Vecino Vineyards LLC
      Verdure Techonologies, Inc.
      Verliant Energy




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      Vintner Solar, LLC
      Visage Energy
      Visage Energy Corp.
      Vista Corporation
      Vistra Energy
      Vitol Inc.
      Volaire Energy LLC
      VPI Enterprises, Inc.
      Vulcan Power Company
      Wadham Energy Limited Partnership
      Wadham Energy LP
      Walden Energy
      Walden Energy LLC
      Wallace Canyon (aka Nugget Hydro)
      Waste Management, Inc.
      Water Wheel Ranch
      Wellhead Power, LLC
      Wells Fargo LLC
      Wendel Energy Operations I
      West Biofuels, LLC
      Western Antelope Blue Sky Ranch A, LLC
      Western Antelope Dry Ranch Addition LLC
      Western Area Power Administration
      Western GeoPower, Inc.
      Western Grid Development, LLC
      Western Power and Steam, Inc.
      Westlands Solar Farms LLC
      Westmoor High School
      Westside Solar, LLC
      WG Partners Acquisition, LLC
      WGL Energy Systems Inc.
      Wheelabrator Shasta Energy Company Inc.
      Wheelabrator Technologies Inc.
      Wild Goose Storage
      Wildwood Power
      William Shelton
      Williams Energy Power Company
      Williams Field Services
      Willow Creek
      Willow Springs Solar 3, LLC
      Windmaster Inc.
      Woodland Biomass Power, LTD
      WPX Energy Mktg.
      WSF PV2, LLC
      X-Elio Energy, S.L.
      Yolo County




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       Y olo C ou nty Flood & W C D
       Y ou ngRad io Inc.
       Y ou thwithaM ission/Springs of L ivingW aters
       Y u baC ity C ogen P artners,L .P .
       Y u baC ity Racqu etC lu b
       Y u baC ou nty W aterA gency
       Zero W aste E nergy D evelopmentC ompany L L C
       Zu ckerman-H eritage Inc.


D ebtors P rofessionals
       A ccentu re
       A lix P artners,L L P
       A P Services,L L C
       B erman and Tod d eru d L L P
       C larence D yer& C ohen
       C oblentz P atchD u ffy & B ass L L P
       C ompass L ex econ,L L C (A pplication withd rawn)
       C ravath,Swaine & M oore L L P
       D eloitte & Tou che L L P
       Groom L aw Grou pC hartered
       J enner& B lockL L P
       Keller& B envenu ttiL L P
       KP M G L L P
       L azard Frères & C o.L L C
       M orrison & FoersterL L P
       M cKinsey & C ompany Inc.
       M u nger,Tolles & O lson L L P
       P ricewaterhou seC oopers L L P angcravaax iomilb

       P rime C lerk
       W eil,Gotshal& M anges L L
       W illis Towers W atson US L L C
       W ilson Sonsini

C ou nselto the B oard of D irectors of E achof P G& E C orporation and P acific Gas and E lectric
        Simpson Thatcher& B artlettL L P


FormerO fficers and D irectors (since 20 0 8 )
      A llen,B arry S.
      A nd erson,B arry D .
      A nd rews,D avid R.
      A ngalaku d ati,M allikarju n
      A rnd t,W illiam D .
      A u stin,Karen A .




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      Barcon, Barbara L
      Basgal, Ophelia B
      Becker, James R.
      Bedwell, Edward T.
      Bell, Desmond A.
      Biller, Leslie S.
      Bottorff, Thomas E.
      Brinton, Elisabeth S.
      Burt, Helen A.
      Butler, Jeffrey D.
      Butler, Laura L.
      Cherry, Brian K.
      Cherry, Sara A.
      Conway, John T.
      Coulter, David A.
      Cox, C. Lee
      Darbee, Peter A.
      Earley, Jr., Anthony F.
      Fitzpatrick, Timothy
      Frizzell, Roger C.
      Garrett, Ezra C.
      Halpin, Edward D.
      Hapner, DeAnn
      Harper III, William H.
      Harris, Richard R.
      Hartman, Sanford L.
      Harvey, Kent M.
      Hayes, William D.
      Herringer, Maryellen C.
      Higgins, John C.
      Horner, Trina A.
      Howard, Robert T.
      Jacobs, Donna
      Jain, Charu
      Johns, Christopher P.
      Johnson, Jeh C.
      Johnson, M. Kirk
      Johnson, Mark S.
      Keenan, John S
      Kimmel, Roger H.
      Kiraly, Gregory K.
      Knapp, Kevin B.
      Kolassa, Sean P.
      Lawicki, Patricia M
      Livingston, Randal S.
      Martinez, Placido J.




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       McFadden, Nancy E
       Metz, Mary S.
       Morrow, William T.
       Orange, Kay M
       Peters, Kenneth J.
       Powell, G. Robert
       Pruett, Greg S.
       Rich, Brian F.
       Salas, Edward A
       Stavropoulos, Nickolas
       Suri, Anil K.
       Torres, Albert F.
       Whitcomb, Bradley E
       Williams, Barry Lawson
       Williams, Geisha
       Yura, Jane K.


Affiliations of Former Officers
        Alliance for Community Development
        California Minority Counsel Program (CMCP)
        Council of Korean Americans
        Meals on Wheels of San Francisco
        Meals on Wheels of San Francisco
        North Bay Leadership Council
        Nuclear Electric Insurance Limited (NEIL)
        San Francisco Ballet Association
        SF/Marin Food Bank
        The Alliance to Save Energy
        The Alliance to Save Energy
        The Commonwealth Club
        The Commonwealth Club

Affiliations of Former Directors
        ABM Industries Incorporated
        American Gas Association (AGA)
        American Gas Foundation (AGF)
        American Red Cross - Bay Area Chapter
        Associated Electric & Gas Insurance Services Limited (AEGIS)
        Association of Edison Illuminating Companies
        Bay Area Council
        California Academy of Sciences
        Center for Energy Workforce Development
        DCP Midstream Partners, LP;
        Edison Electric Institute
        Edison Electric Institute (EEI)




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       Edison Electric Institute; Electric Power Research Institute
       Edison Foundation Institute for Electric Innovation (IEI)
       Encana Corporation
       Exploratorium
       the First Tee of San Francisco
       Ford Motor Company
       Institute for Nuclear Power Operations
       Mills College
       Nuclear Energy Institute
       San Francisco Ballet
       San Francisco Museum of Modern Art;
       SF RBI
       Spectra Energy Partners, LP
       United Way of the Bay Area
       University of Miami
       Vassar College
       Western Energy Institute (WEI)

Insurance/Insurance Provider/Surety Bonds
       ACE American Insurance Company (Starr Tech)
       Ace Insurance Company
       AEGIS Consortium
       AEGIS Insurance Services, Inc. (Associated Electric & Gas Insurance Services Limited)
       Aetna
       Aetna International
       Allianz Global Corporate & Specialty SE (PDW)
       Allianz Global Risks
       Allianz Global Risks US Insurance Company
       Allied World Assurance Company Ltd
       Allied World Assurance Company Ltd. (AWAC)
       Alpha
       American Alternative Insurance Company (Munich Re U.S.)
       American International Reinsurance Company Ltd
       American Nuclear Insurance (ANI)
       Apollo (Lloyds Syndicate)
       Apollo Liability Consortium
       Arch Insurance (Bermuda)
       Arch Insurance Company (Europe) Limited
       Arch Reinsurance Ltd.
       Argo
       Argo Re Ltd
       Argonaut Insurance Company
       Aspen Insurance Company
       Aspen Specialty Insurance Company
       Associated Electric & Gas Insurance Services Limited
       Associated Electric & Gas Insurance Services Ltd. (Aegis U.S.)




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      ATL Casualty Consortium
      AXIS Insurance Company
      AXIS Specialty Limited (PDW)
      AXIS Surplus Insurance Company
      Beacon Health Options, Inc.
      Beazley Insurance Company
      Berkley Insurance Company
      Berkshire Hathaway International Insurance Limited (PDW)
      Blue Cross of California, Inc. d/b/a Anthem Blue Cross (“Anthem”)
      Cal Phoenix Re (Cat Bond)
      Chubb Bermuda
      Chubb Bermuda Insurance Ltd
      CIGNA Group Insurance
      Continental Casualty Company
      Employers Insurance Company of Wausau
      Employers Insurance Company of Wausau (Liberty Mutual)
      Endurance Risk Solutions Assurance Co.
      Energy Insurance Mutual
      Energy Insurance Mutual / NEIL
      Energy Insurance Mutual Limited
      Energy Insurance Mutual Limited (EIM)
      Energy Insurance Mutual Limited (NEIL)
      Energy Insurance Services, Inc. f/k/a/ Energy Insurance (Bermuda) Ltd.
      Energy Insurance Services
      European Mutual Association for Nuclear Insurance (EMANI)
      Everest Insurance
      Everest National Insurance Company
      Express Scripts Holding Company
      Federal Insurance Company
      Fidelis Underwriting Limited
      General Security Indemnity Company of Arizona
      General Security Indemnity Company of Arizona (Scor Re)
      Great American Insurance Company
      Great Lakes Insurance SE
      Great Lakes Insurance SE (Munich)
      Great Lakes Reinsurance (UK) PLC (Munich Re London)
      Great Lakes Reinsurance (UK) S.E.
      Hamilton Re
      Hamilton Re Ltd
      HCC / Tokio Marine
      HDI Global Insurance Company
      Helvetia Assurances S A
      Helvetia Schweizerische Versicherungsgesellsc haft Ag
      Houston Casualty Company
      InterHannover
      Interstate Fire & Casualty Company




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      Iron- Starr Excess Agency Ltd
      Ironshore Insurance Limited
      Kaiser Foundation Health Plan, Inc.
      Liberty Insurance Underwriters Inc.
      Liberty Mutual Fire Insurance Company
      Liberty Mutual Insurance Company
      Liberty Mutual Insurance Europe Limited
      Liberty Mutual Management (Bermuda) Ltd (PDW)
      Liberty Surplus Insurance Company
      Liberty Surplus Insurance Corporation
      Life Insurance Company of North America (CIGNA)
      Lloyd of London Barbican Syndicate
      Lloyds of London (various)
      Lloyds of London Hiscox (Alpha)
      Lloyds of London Munich Re
      Lloyd's of London Syndicates
      Magna Carta Insurance Ltd (PDW)
      MAPFRE Global Risks
      MS Amlin (Lloyds Synd)
      Munich Re
      National Fire & Marine Insurance Company
      National Fire & Marine Insurance Company (Berkshire Hathaway Specialty Insurance)
      National Fire and Marine Insurance Company
      Navigators Management Company, Inc. New York
      North American Specialty Insurance Company
      Nuclear Electric Insurance Limited (NEIL)
      Oil Casualty Insurance Limited (OCIL)
      Renaissance Reinsurance (Ren Re)
      RLI Insurance Company
      SAFECO Insurance Company of America
      Scor Channel Limited (PDW)
      Starr Indemnity & Liability Company
      Swiss Re International SE
      Swiss Re International SE (Swiss Re)
      The Marine Insurance Company Ltd. (Royal Sun Alliance - RSA)
      The Ohio Casualty Insurance Company
      Twin City Fire Insurance Company
      U.S. Specialty Insurance Company
      Underwriters at Lloyd's (AEGIS UK) Syndicate No. AES 1225
      Underwriters at Lloyd's (Freberg Environmental) Syndicate No. 1458 RNR
      Underwriters at Lloyd's (Talbot) Syndicate No. 1183 (Validus Underwriting Risk
      Services)
      Underwriters at Lloyd's (Travelers) Syndicate No. TRV 5000
      Underwriters at Lloyd's London (Towerstone)
      United States Aircraft Insurance Group (USAIG)
      US Aviation Insurance Group




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       Validus Reinsurance Limited
       Willis Towers Watson
       XL Insurance America, Inc.
       XL Insurance Company
       XL Specialty Insurance Company
       Zurich American Insurance Company
       Zurich Insurance Company


Surety Bonds
       Liberty Mutual Insurance Company
       Liberty Mutual Fire Insurance Company
       The Ohio Casualty Insurance Company
       SAFECO Insurance Company of America

Landlords and parties to leases
       101 NETLINK
       1415 Meridian Plaza LP
       2001 Taylor Family Trust
       2012 Fiber Optic Project Contact Neil Hattenburg
       2012 Fiber Optic Project Contractor Jeremy Stroup
       25th District Agricultural Assoc.
       3551 Pegasus Partners LP
       3900 West Lane Building Co
       7-Eleven, Inc.
       7-M CO
       851-853 Howard Street LLC
       A to Z Tree Nursery, Inc.
       Aaron Seandel
       Accountant
       Acer Landscape Materials
       Adam Fletcher
       Adrianna Gonzales
       Adrienne A Badaracco
       Afzao Chaudhry, General Manager
       Akins
       Al Evans
       Al Freedman
       Al Heer
       Al Smith
       Alan & Patti Anderson
       Alan Mac
       Alan Williams
       Alarid
       Albert Rose
       Alex Brice




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      Alexander B. Haedrich Revocable Trust
      Alexander McGeoch
      Alexander Walker
      Alfonso Gomar
      Alice Martinelli Special Trust
      Alice Rothlind
      Allan Dudding
      Allison Duncan (Insurance Agent)
      Almanor Family Retreat
      Almanor Fishing Association
      Almanor Lakefront LLC (Almanor Lakefront Village)
      Almanor Lakefront Village
      Almanor Lakeside LLC
      Almanor Lakeside Villas
      Almanor Lakeside Villas Owners Association
      Almestad
      Alpine County Sheriff's Dept.
      Amador County Sheriff's Dept.
      Amanda Green
      Amen, Grant (Ivar)
      Ametjian, Moses
      Amodei, Irene
      Andersen, Dorna L.,
      Anderson
      Anderson, Barbara & J. H.
      Anderson, Derek & Patricia
      Anderson, Eric Ian & Edward A, Jr.
      Anderson, Gary & Susan
      Anderson, Paul
      Andrade, Eugene & Gail
      Andreae, Jr., et al, Sherman P
      Andreini, John A.
      Andrew Everett
      Andrew Gessow
      Andrew Mesa (Insurance Agent)
      Andrew Phillips
      Andrew Protter
      Andrew Stewart
      Andrzej Bugajski
      Angela Bacon
      Angela Lazezzo
      Ann Williams
      Anne Benson/W Brown
      Anspach, Pres. Charles
      Anthony Bruno
      Anthony Scotch-V.P. Properties




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      Areias
      Arias, Ramon & Maria
      Arnison
      Arntz
      Arpaia Trust
      Arthur N Clemens Jr Trust
      Arton Investment
      AT&T Corp. - Lease Administration
      AT&T Corporate Real Estate
      Atherstone
      Atilla Mathe & Widmayer
      Atkins, Roy C
      Attinger, Richard; Ballard, Bruce; Ballard-Kogeler, Lynne
      Avery
      Aviation Consultants, Inc.
      AWE Trust
      Bader
      Baker Trust
      Ballard Lowery
      Banta
      Barbara Copeland
      Barbara Frey, President
      Barbara Neumann/Emery Daily
      Barbarick
      Barber, Pamela
      Bardin Bengard
      Bare Jr., Bruce
      Barker Family Trust
      Barnes Design Inc.
      Barnes, Michael Lee Jr. & Cecilia Marie
      Bartholf
      Bartley, Jack
      Bass Lake Enterprises, Inc. (The Forks Resort)
      Bass Lake Island View, LLC,
      Bass Lake LLC, a Delaware LLC
      Batson
      Baxter, Jean C.; Hoffman, T. J.; Hoffman, Frank; Hoffman, Laura
      Bay Area Air Quality Management District
      Bayles, Bonnie S.
      Beadle Trust
      Bear Valley Ski Company
      Beeler
      Behring
      Bellach, James D. & Jay
      Bender, Craig
      Benjamin Shaw




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      Benjamin, Michael
      Bennett, James R.;
      Benton
      Berg, Lisa J.
      Bergthold, Robert
      Berkelman
      Bert Reinsma
      Bertoluzza, Mike & Judy
      Bertrand
      Bettie Hixson
      Betty Compton
      Biagini Properties Inc.
      Big Deal LLC
      Big Properties of California
      Bigelow, Jon, trustee; Bordin, Edmond J.; Moss, Jere & Irene, trustees
      Biggs, Trustee, Richard K.
      Bilbo Trust
      Bill & Sausan Wickman
      Bill Guess
      Bill Homan
      Bill Lewis
      Bill Pahland
      Bill Phillips (Insurance Agent)
      Bill Reid
      Biondi Matt
      Blackburn, Ross & Julie
      Blackhart & Kline
      Blaine Wood
      Blair Stratford
      Blake
      Blanchard, Robert Jr.
      Blankenship
      Bless, Delbert W.
      Blue Sky Investment Holdings, LLC
      Bob Ruehl - Eureka Office
      Bobby Penland
      BOCCHI, Robert & Dagmar, Trustees
      Bolin Family Limited Partnership
      Bonner, Kenneth L. & Gerri
      Bonneville Power Administration (BPA)
      Bonnie Bell
      Bonnie Ericksen - Insurance Certificates
      Borba
      Borrows
      Boscovich, Brock & Jennifer
      Bossio




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      Boutonnet, Rosa
      Boyett Petroleum
      Bozek
      Brad Baker & Debra Pearson
      Brady, C. Jean
      BRANDON, Marva Ruth
      Brannon, Diane M.
      Bratty , Robert T.
      Braun
      Breen
      Brent Simor
      Brett Barker
      Brian Busch
      Brian Cavanaugh
      Brian Sweeney
      Bricker, Trustees, Steven M. & Jeanne S.
      Briscoe, James A.
      Brittney Rubio (Assistant)
      Britz, Inc.
      Brock, Kelly
      Brooke Quilici
      Brown, David M. Sec.-Tres.
      Brown, Gary & Sharon
      Brown, John K.
      Brownson
      Bruce Aldrich
      Bruce Garrett
      Bruce M. Simurda; Diana L. Simurda
      Bruce Norlie
      Bruce North
      Bruce Patterson
      Brumbaugh, Matt & Carrie
      Brunson Investments
      Bryan Daniels Almanor Trust
      Bryce Ruschhaupt
      Buckman, Donald R. and Mari Ann Lucena
      Bucks Creek Cabin Owners Association
      Bucks Lake 28 LLC
      Bucks Lake 29, LLC
      Bucks Lake Camp and RV Park
      Bucks Lake Marina, LLC
      Bucks Lake Permittee's and Homeowners Assoc.
      Bucks Lakeshore Resort, LLC
      Buckwalter
      Budget Storage Inc.
      Burchard, David




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      Burke, Tim
      Burks, Pres. Jeff
      Burnett, Sharon and Ian
      Burr Plumbing and Pumping Inc.
      Burrows, William & Sally
      Bursey, Gary
      Bushman, Carl E. and Denise L.
      Business Jet
      C & S Properties
      C William Johnson
      C. Quam & J. Ornelas c/o Kristen Shepard
      C. R. Gibson
      Cadenazz, Robert
      California Department of Fish & Game
      California Ice Properties, LLC
      California-Oregon Telephone Company
      CalPeak Power LLC
      Calpeak Powr - Vaca Dixon, LLC
      CalTrans
      Camacho
      Camp McCumber Corp.
      Camp Sunray
      Campbell, John R.
      Camper, Ronald
      Campion, Alison
      Capitol Wholesale Nursery
      Capurro
      Cardoza Livestock
      Caribou Crossroads Cafe' and RV Park
      Carl Bartlett
      Carl Blaha
      Carl Felts
      Carleton
      Carlsen trust
      Carlton Family Partnership
      Carman, Kurtis
      Carmela Santos, Risk Management
      Carolyn Lowery
      Carolyn Medici
      Carousel Broadcasting, Inc.
      Carpenter
      Carr, Lonne
      Carter Validus Operating
      Cartwright, Christopher; Jacuzzi, Daniel
      Cary, Patricia Ann
      Caryn Todd, Tresurer




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      Casa de Mas Suenos, LLC ,Rex E. & Aline Duhn
      Casci Family Trust
      Casella, Paul A. Jr., Connie M., Gary J.
      Casey Ashley
      Casey Safreno
      Casey, Charles R., co-trustee
      Casity Trust
      Cassvan
      Cattran
      CC&H Lands LLC
      Cecile Opsahl
      Central Valley Associates, L.P.
      Cesar Montoya (Insurance Agent)
      Chabrier
      Chaney Family Trust, The
      Chantland, William S.
      Chapin
      Chapman
      Charles & Sandra Sharrer
      Charles Carpenter
      Charles D. Reynolds
      Charles Green
      Charles H Sears
      Charles Hicks
      Charles L Sharrer
      Charles Laurenson
      Charles P Grimmer
      Charles Priddy
      Charles Shepardson
      Charles Virden
      Charter, Halbert & Amy
      Chase, Donald & Karol, and others
      Cheryl Finley
      Cheryl Soto
      Chester Sanitary District
      Chrisco, Ron & Eugenia; Chrisco, Mark & Susan
      Christensen Family 2005 Trust
      Christian Schwartz
      Christina Lukens (Insurance Agent)
      Christine Carson
      Christopher & Elizabeth Castello
      Christopher Corrigan Family Trust
      Christopher Earnest
      Christopher Lee
      Christopher Marx
      Christopher R. Mayer Family Trust




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      Christy Bax
      CHRYSLER
      Church of Jesus Christ, LDS (Property #513-3521)
      Ciano, Frank & Sandy
      Citigarden Hotel
      City and County of San Francisco
      City of American Canyon, Public Works
      City of Auburn
      City of Clovis
      City of Hollister
      City of Kingsburg
      City of Mill Valley Public Works Department
      City of Morro Bay
      City of Salinas
      City of San Jose
      City of San Ramon
      City of San Ramon - Parks & Community Services
      City of Santa Rosa
      City of Soledad
      City of South San Francisco
      Civic Center Square Inc.
      Claiborne, Pres. Doug
      Clark, Thomas D. and Denise E.
      Claudia Caramella
      Clauss, Michael & Sandra
      Clay LLC
      Cleon Hubbard
      Cline Cellars
      CLYDE E BREWTON JR.
      Cole, Christopher & Rita
      Colleen Ham (Insurance Agent)
      College of the Redwoods
      Collins
      Collins #2
      Collins Pines C.
      Commander, NTC
      Commercial Waste & Recycling
      Concord Jet Service, Inc.
      Conrad Viano Winery
      Contra Costa County
      Cooke, Ron Charles
      COONEY & ACKER
      Cooper, James
      Cornell Kurtz
      Corpus Christie School
      Correia, Tony F.




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      Correspondence to David T. Gayley Only
      Corrigan, Pat/Jill
      Cortopassi Family Trust
      Cory Avery
      Cote, Norman R.
      Country Club Resorts, a Nevada General Partnership
      Cowperthwaite, Peter
      Coy Johnson
      Coye, Trustee, R. Bruce
      Craig Conway
      Craig Lares
      Craig Muenter
      Craig or Steven Ward
      Craig Van Delist
      Craig Weiner
      Craig Wilson
      Crain, Harold
      Crane Valley Homeowners Association
      Crocker
      Crockett Cogeneration, a Calif Lmt. Partnership
      Crown Castle
      Crown Communications Inc.
      Crystal Dirks (Insurance Agent)
      Currier
      Curry
      Curtis Moran
      Curtis Vixie
      Cynthia Hayashi (Insurance Agent)
      Cynthia MacDermott
      Dagmar Derickson
      Dahleen Trust
      Dahlmeier (Insurance Agency)
      Dale Carlsen
      Dale Huss
      Dalecio Family Trust
      Dallaire, Cynthia Doty
      Dammeier, Jerry & Vivian
      Dan and Jeannie Borden
      Dan Foos
      Dan Saccani
      Dana Butcher, Receiver
      Daniel Bastian
      Daniel Marciel
      Daniel Van Elderen
      Daniel Vivoli
      Danny Lund




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      Darcy Channell
      Darden, Edwin S.
      Darrell Bash
      Darryl Petersen
      Dave Carrion
      Dave Carrion's Cell
      Dave Kathriner
      Dave Pugmire
      David Anderson
      David Bosso
      David Burger
      David Burke
      David Campbell (Insurance Agent)
      David DeRose
      David Douglas
      David Finkbeiner, General Manager
      David Fuller
      David Hoifjeld
      David King, Esq.
      David Koch
      David Little
      David Myers
      David Palmisano
      David Rice, et al
      David Stamm
      David T. Gayley
      David Theobald
      David Williams
      Davidson Family Trust
      Davies, Thomas W.
      Davis et al
      Davis Investment Company,
      Davis, Shirley
      De Franchisci, Et Al
      De Groot & Son, John
      De Silva, Joel & Vicki
      Dean Snyder
      Deanna Collins
      Debbie Masciorini
      Debbie Pacheco
      DeBernardi, Donald
      DeBevoise, Bruce and Marie
      Deborah L. Hanssen & Others
      Debrah Ingersoll
      Decoto
      Deeter




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      Del Re Trust
      Delagardelle, Jeani C.
      Delmont Mallan
      Demmer & Weller
      Denise Andrews, Operations Superintendent
      Dennis and Laura Tosti
      Dennis Broselle
      Dennis et al
      Dennis Gardemeyer/ Ed Zuckerman
      Dennis Glendenning
      Dennis O'leary
      Dennis Tosti (husband to Laura)
      Dennis Van Middlesworth
      Dennis, Bob. & Others
      Denton, Jay & Kandace
      Deputy Van Bogardus
      Derek Anderson
      Desert View Dairy-
      Devil Mountain Nursery
      Devoid
      Dewar, George C., Trustee & Others
      DGS - Real Estate Services Division/RPSS
      Diana Bellocchi
      Diane Rouse (Insurance Agent)
      Dick Shingler
      Diebert, Sec/Tres. Barbara
      Diedra
      Dieter H Ewald
      Dimick
      Dingel, Brent
      Discovery Land & Cattle Co
      Ditzler Ranch Trust; Benson, Curtis Loren
      Dolan, Glenn E.
      Dolezal Family Limited Partnership, The
      Dolores Silva
      DOMINIC V STOLO
      DON BEERS
      Don Bergen
      Don Browning
      Don Buzdon
      Don Franklin
      Don Lorenz
      Don Martin - Treasurer
      Don Schricker
      Donald & Debra Endsley
      Donald & Karol Chase




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      Donald Felt
      Donald Mayo
      Donald R Travers and Ella H
      Donaldson
      Donna Lauritsen
      Donna Lawler-Mashtare
      Dorado Inn, Inc
      Dore, Carol
      Doris Dyt, Trustee
      Dorman
      Dorothy A. Ford living Trust
      Dorothy Ford
      Dorothy Morse
      Dotson, Gary G.; LeBaron, Terry; Dotson, Bonnie R.
      Dotson, James P.
      Doug Davie
      Doug Merrill
      Doug Shaw
      Doug Zachary
      Douglas & Suzi Kinkle Revocable Trust
      Douglas Bui
      Douglas Enoch
      Douglas Kuznik
      Douglas Merrill
      Douglas Parking
      Doyle
      Doyle Springs Assn.
      Doyle, Dustin F; Richardson, Ryan
      Drennan
      Duane and Gina Goebel
      Duck Ranch LLC
      Dunn, Valerie
      Dupzyk, Roger, Trustee
      Durston Trust
      Duval
      DWR - Facilities Management
      Dyt, Richard and Patricia M., as Trustees.
      E. Lee Horton
      EAC Family Properties
      Eade, Timothy & Yvonne
      Eagan
      East Bay Municipal Utility District (Ebmud)
      Ed Crownholm
      Ed Wing
      Eddie Dove
      Edgar McConnell III




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      Edgar Meyer
      Edward Hatch
      Edward Kilby
      Edward Morse
      Edward Staudenmayer
      Edward Winkler
      Edwards, Mark
      Eileen Henderson
      Eimers
      Eldorado National Forest
      Elizabeth Gleghorn
      Elizabeth Nettles et al
      Elliott
      Elliott Tom Allen
      Ellis
      Ellis, Scott C.
      Elrod, Trustees. Rick G. & Diane M.
      Elvin Rentsch
      Elvis L Hazel
      Ely, Mary C.
      Emler, Rose Marie
      Endresen, Dan & Barbara
      Enea, Diana
      Enloe
      Erassarret, Jean M.
      Ergonis Land Co LP
      Eric & Liane Christensen
      Eric Erickson, Director of Finance and Human Resources
      Eric Thompson
      Ernst
      Espana
      Esslin
      Etchepare, Allen & Shiela
      Eugene Tenbrink
      Eulert, Trustee, Kenneth A.
      Evan Williams, Catherine Siemens
      Evangelho Vineyards, LLC
      Evanoff, Betty J.
      Evans Management
      Evans, Jr., Louis H.
      Everett, H. Parke
      Everett; Andrew M., Everett, Charles A.; Thompson, John W.; Scholten, Melinday Y.
      Evergreen Associates, Holiday Inn
      Ewing
      Faiferek
      Fairferek




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      Fairman
      Fales
      Fales, James and Judy
      Faley
      Fall River Ranch
      Farnkopf
      Farr, Ryan
      Farrell
      Fehlhaber
      Fehrman & McDowell
      Felix, John & Carol
      Fielder, William & Priscilla
      Figone
      Finch
      Finkbeiner
      First Hybrid Inc.
      First Independent Bank of NV
      Fish, Danny L. & Randa L.
      Flannery, Steven P.
      Fleming, Beverly A.
      Flores Family Investments, LLC
      Flournoy Family Trust, Elizabeth Flournoy, Trustee
      Floyd Damschen
      Floyd Powell
      Fogarty, Thomas; Holcomb, Dorothy; Smart, Gail; Fogarty, Susan; Zelina, William;
      Courtney, Katherine
      Fording
      Fording Richard A & Joanne
      Former Vallejo CSO (leased portion)
      Fortier Family Trust
      Foster Wheeler Martinez, Inc.
      Fox, Nancy
      Foxworthy Southern Baptist Church
      France Mc Gowan Hogan
      Franchetti, Carol
      Franich, John
      Frank Borgess & Others
      Frank Crain
      Frank Giorgi
      Frank Hajnik
      Frank Jensen
      Frank Lepori
      Frank Manner
      Frank Perez
      Frankie Appling
      Franz




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      Frazier, Jon & Janette
      Frazier, Terrance
      Fred Brown
      Fred Davis
      Fred Lowrey
      Free Family Trust
      French, Trustee, Patricia Mary
      Fresno County Horse Park
      Frey, David K. & Barbara L.
      Frey, Richard & Janis
      Fryer
      G & G Capital
      G&R Five, Inc.,
      G. Oberti and Sons, a California limited partnership
      Gabski Family Trust
      Gaines
      Gakle
      Gallager
      Gamelin
      Garcia, Roberto
      Gardner, Pres. Ronald E.
      Garrett Family Trust; Wilsey, Kirk; and Wilsey, Pauline
      Garrett, Robert and Marcia
      Garringer, William & Deborah
      Gary & Gretchen Jacobson
      Gary and Catherine Miller
      Gary Bobo
      Gary Casella
      Gary Doane
      Gary Kluge
      Gary Moore
      Gary Peterson
      Gary Staves- El Dorado Stake
      Gary Waldron
      Gary Walker
      Gas Garden Corporation
      Gaskin Trust
      Gateway Oaks Center LLC
      Gauger
      Gauthier, Paul A. & Stacy J., as Trustees.
      Gaylon Hansen-Caretaker
      Geer, Glenn; Voboril, Stephen Louis
      Gene Marinez
      Genevieve McKeon (Byrne), Trustee
      George and Barbara Gleghorn
      George and Dana Holland Farms, LLC




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      George Carpenter
      George Emmerson
      George Hormel
      George Protsman
      Gerald Evans
      Gerald Simpson
      Gerald Swimm
      Gerber, Verna F.
      Gerhard Plenert
      Geroge Barakat
      Getz
      Geweke Familiy Partnership
      GGK LLC A CA LLC
      Giaramita, Richard & Lisa
      Gibbons, Bryan & Kelly
      Gibson, Trustee, Alan F.
      Gilbert Reel
      Gilbert Sheffield
      Gimelli, Joseph A.
      Gimelli, Joseph A. & Deanna L., Trustees
      Gimelli, Kenneth D. & Jill.
      Ginochio, Lawrence & Jerri
      Gleghorn, George J. Jr. & Barbara M.
      Gobba
      Goerlich ("A" Dock), Pres. Scott
      Goerlich ("B" Dock), Pres. Scott
      Goerlich ("C" Dock), Pres. Scott
      Goerlich ("D" Dock), Pres. Scott
      Goerlich ("E" Dock), Pres. Scott
      Goerlich ("F" Dock), Pres. Scott
      Golden Empire Council - Boy Scouts of America
      Goodman
      Google for Invoice Issues
      Google, Inc.
      Gordon Ghiglione
      Gordon Johnson
      Gorman, Loree L.; Kent, Steven; Watson, Gordon & Elaine;
      Gould, Donna
      Gould, Pres. Jeff
      Goulet
      Gozdiff, Mike Alex, as successor trustee
      Granier, Frank & Laura
      Granite Creek Apartments Inc.
      Grant Donnelly
      Grant E. Donnelly
      Grant Holliday




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      Gray
      Green, Thomas
      Greenlaw Pines Investments LLC & Carmel Pines Investments LLC
      Greenville Rancheria
      Greenwood, Jr., Ron & Julie
      Greg Gaskin
      Gregory Novotny
      Gregory Maleski
      Gregory McCandless
      Gregory Webb
      Gretchen Nicholas-USFS
      Griggs
      Grissom, Susan
      Groppetti, Donald J. & Shelly K.
      Grosvenor Properties, Ltd.
      Grzanich
      Gudgel
      Gurr, Roger & Elsie
      Guzman Family Trust
      Gwynn
      Haase Living Trust
      Haedrich
      Hafterson
      Hagan Family Trust
      Haling, Gregory
      Hall
      Ham Branch POA
      Hamilton Branch Property Owners
      Hamilton, Donald J. & others
      Hamilton, James W. & Jane E.
      Hammack Family Trust
      Hamman, Howard & Florence K.
      Hamman, Larence D. & Joann A.
      Hann
      Hansen, Brian & Cynthia
      Hansen, Carol E.
      Harbor Village Mobile Home Park
      Hardisty, Loren G. & Joanne
      Hargrave, Keith
      Harness, Linda
      Harrison Williams
      Harry Broderick
      Harry P Digesti
      Harsch Investment Corporation
      Harter, Hayden; Harter, Amelia
      Hartman




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      Hassur
      Hat Creek Rifle & Pistol Club
      Hatch/Flanagan, Edward W., Trustee & W. Gerald Trustee
      Havelik K G
      Hawker, Chad & Ganeri, Courtney
      Hayward Area Recreation & Park
      HD Supply
      Healey, William & Mary J.
      Hebert Family Trust
      Heesuck M. Noh
      Heidman, Kris & Patricia (Trust)
      Heithecker
      Helen Koehnen
      Heller, Trustee, Dorella (Dee)
      Helmuth Jones
      Henderson, Gary; Cosper, Teri
      Hennigan, Robert N.
      Henry Schoenlein
      Henter LLC
      Heppler Family Trust
      Herold Sinclair
      Herrera, Alex & Margaret
      Hicks
      Higgins, William B.
      Hilda Hudson
      Hillcrest Properties
      Hillyard, Robert J.
      Hinman
      Hires, Jack & Judy
      Hitchen, Douglas & Karen M.
      Hobbs, Scott & Harmony
      Hoblit
      Hodges
      Hoffman, C. Chase
      Holcomb Diamond LLC
      Holly Baloran
      Holly Commerce Center LLC
      Holm, Robert A. & Corliss R.
      Holscher Robert
      Holt, Craig & Jamie
      Holve, William L.
      Hood
      Hope Lutheran Church
      Hotel Casino Management
      Houston
      Howe




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      Huckman
      Hudson, J. Robert, Pres.
      Hull, Dennis R.
      Humphreys, III, Miles
      Hunter, Robert & Diamond
      Ian Donnelly
      Imhoff
      Imran, Travelodge general manager
      Incline Holding Inc.
      Ingersoll, Debrah
      Ingvoldsen, Eric F. & Carl
      Ira Rogers
      Ireland
      J & L Rentals, LLC
      J. Ornelas & C. Quam
      Jack Cortis
      Jack Ellena
      Jack H Stansfield
      Jack Mariani
      Jackson Street LLC/Morrissey, Richard,
      Jackson, Curtis & Kathleen B.
      Jacobs, Richard & Jacque
      Jacobson, Norman & Diana
      Jacuzzi
      James
      James and Diana Gleghorn
      James Broyles
      James Carlsen
      James Culberson
      James Danielsen
      James E Obannon
      James R Lobitz
      James Stephenson
      James Toothman
      Jane Flynn
      Janette Frazier
      Janice M. Will
      Jared L. Moore Jr.
      Jarrett
      Jay Bechtel
      Jay Rosenlieb, co-trustee
      JCPSAC Properties LP
      Jean Sinn
      Jeff & Lori Olsen
      Jeff Burris
      Jeff Gough




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      Jeff Greening
      Jeff Mattherws
      Jeffrey Bumb
      Jennifer Jorda (Insurance Agent)
      Jennings, Walt & Jan
      Jeong
      Jerrold & Michelle Arnold
      Jerry Scolari
      Jerry Worth-Sprint Area Manager
      Jessen, John
      Jessica Abbott
      Jessica McCulloch (Insurance Agent)
      Jewett
      JHK Investment
      Jim Carbone
      Jim McGuire
      Jim Meyer
      Jim Regimbal, Sr.
      Joan McFadden
      Joan St Clair
      Joann Simpson
      JoAnne Battinelli (Insurance Agent)
      Joanne Masznicz Trust
      Joel Rondon
      John Burroughs
      John & Jane McCowan
      John & Kathleen Brownlie
      John and Wilma Souza
      John Bouyea - Sr Right of Way Agent
      John Christerson
      John Cowan
      John Fara
      John Goodnight
      John Green
      John Grizzle
      John H Leete II
      John Howe
      John Molea
      John Muir L and Trust
      John Nora
      John Pehrson
      John Pfister or Mary Pfister
      John Regh
      John Rollings
      John S Foggy
      John Solari




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      John Wilson
      John Womach
      Johni Santucci
      Johnny Steinert - Insurance Carrier
      Johns Manville
      Johnson
      Johnson, Ron
      Johnston, Pres. Sandy D.
      Johnstonville Properties LLC
      Jon Frazier
      Jon Mayer
      Jonathan, Dennis, President
      Jones, Aaron L. & Sharon L.
      Jones, David A.
      Jones, Dennis R.
      Jones, Gordon T. Trustee
      Jones, Pres. Art
      Jorgensen, Al V.
      Joseph
      Joseph (Jay) or Terri Thesken
      Joseph and Gayle Hensler
      Joseph Chiapella
      Joseph Diprinzio
      Joyce, Thomas & Rose Marie
      Juan B. Calderon, Trustee
      Juan Manuel Mata, MSG, USA
      Juan Reynoso
      Juan-Hwey Chen, Trustee
      Judith Carroll
      Julie Brister (Insurance Agent)
      Julie Deal
      Julina Colt
      June Williams
      Justin and Thea Baker
      Kaiser
      Karen Nelson
      Karen Zorbas
      Katherine Gordon (Insurance Agent)
      Katherine Soule
      Kathleen Compton (Insurance Agent)
      Kathleen Hollowell, General Counsel
      Kathleen Walsh (Insurance Agent)
      Kathy (Insurance Agent)
      Kauffman
      Kaylor, Betty; Durkee, Timothy,; Durkee, Tobin; Durkee, Hayden; Greathouse, Leslie
      Durkee




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      Keith A. Wilton Family Trust
      Keith Lee
      Keith Robertson
      Kelley & Ed Ferry
      Kelley, Robert & Marilyn
      Kelly, Shaun & Melissa
      Ken Bell
      Ken Henry
      Kendall Stratford-Barrera
      Kennedy
      Kenneth Ensey
      Kenneth Fitzgerald
      Kenneth Head
      Kenneth R Hansen
      Kenneth Rader
      Kent Ahlswede
      Kent Mellerstig
      Kevin Miller
      Kim Cacace-
      Kim O Dales
      Kim Tardini (Insurance Agent)
      Kim Tsumara
      Kimberly Tsumura
      Kincannon
      Kindig
      Kinkle
      Kirk Wilsey
      Kirkpatrick
      Kirshenblatt
      Kiviat
      Klein, Barbara
      Kluge
      Knapp, Arby
      KNK Investments LP
      Knotty Pine Resort
      Knudsen Family Trust
      Koehnen, Michael and Lori
      Konkin, Taylor and Rebecca
      KPR Properties/Poletti Realty
      Kraatz Family Trust
      Krause, Larry dba Wind River Honey Company
      KRE 1330 Broadway Venture LLC
      Kris and Patricia Heideman
      Kristi Bullock (Insurance Agent)
      Kruse
      Kuckowski




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      Kunitani, Kazuo & Suzu
      Kurtis Brock
      Kutz
      Kynett, Leslie and Joann
      LACC #21
      Lackey, Trustee, Clarence A.
      Lacretia
      Lagier
      Laguna on the Beach Properties LLC
      Laier & Kantock
      Lake Almanor Assoc
      Lake Almanor Associates LP
      Lake Almanor Country Club
      Lake Almanor Home Trust
      Lake Almanor Partners
      Lake Pillsbury Homesite Association
      Lake Pillsbury Resort, Inc.
      Lakehaven LLC
      Lakehouse Rentals (Lavoie)
      Lamar Advertising
      Lancaser
      Lancaster, Tommie Gerald and Janet
      Lance North Gimbal, Trustee
      Lance Tennis
      Landers, Bobbie
      Landry, Esq. Edward A.
      Larence Hamman
      LaRiviere, Robert and Theresa
      Larry Alford
      Larry Duccini
      Larry Prentke
      Larry Smith et al
      Larry Stephenson
      Larson
      Lauck
      Laura Deahl (Insurance Agent)
      Laura Tosti (daughter)
      Laurie Menzie Leathers
      Lawler, Michael B. & Pamela
      Lawler, Timothy and others
      Lawrence J. Thompson & Nancy A. Horton
      Lawrence Scott Skinner
      Lawrence, Robert I., Jr.
      Lazzerini, William K. Jr.
      LDS Recreation Properties LLC
      Leach, Elizabeth




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      Lebaron
      Lee, William
      Lee, Linda S.
      Leigh Hunt-Firestone
      Leland Armitage
      Lengsfelder
      Leo Gonzales
      Leon Donohue
      Leroy Leabman
      Lewandowski, Michael & Kristin
      Lhala, LLC
      Libenson, Trustee, Richard M. and Claudia C.
      Lieberman et al
      Limmex/ Kemp
      Linda Bowers
      Linda Yparraguirre
      Lingle, David & Donna
      Lisa Sipko
      Little
      Little Norway Partners
      Live Nation, c/o Matt Prieshoff
      Livesay, Michael and Susan
      Lodge, Mareka G.
      Lois Scott
      Lombard-Howe Trust
      Longerot, Keith E.
      Loomis, Richard S. & Waterman, Douglas L.
      Lopez, Raymond and Cinde Bryant
      Lopez, Robert A.
      Loree Gorman
      Loree Joses.
      Loren & Amy Nelson
      Lori Fetters, Community Manager
      Lori Martin
      Lorina Pisi
      Lorree Gorman
      Lotus Hospitality II, Inc. DBA Holiday Inn
      Louis Bonino
      Louis J Peterson
      Louise Camacho
      Loveless, Oscar W.
      Lowe, Orville A. & Bonnie A.
      Lowell F Steel
      Lowry, Suzanne E.
      Lucas, Iii
      Lujach Enterprises LLC




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      Luna
      Lusareta & De Young
      Lynch, John H & Gay O.
      Lynda Trowbridge
      Lynn Stewart
      Lysle Winchester
      M H Mills
      Mace, Kathryn S.
      Machabee, Gary and Mary Lynn
      Mackirdy
      Madelyn Mason
      Magan, Betty
      Magers
      Maggiora & Ghilotti, Inc.
      Malachi Mogoba
      Maleski, Karen
      Mallette, Miles T. & Eugene E.
      Mandy Fraser (Insurance Agent)
      Mangin, Gary
      Manning, Paul W.
      Mantle, Mark S. & Nancy W.
      Manuel Massa Jr.
      Marcum, Bert P., Jr. and Barbara B.
      Margaret aka "Peggy" Guyett
      Margie Talbot
      Margo Ormiston (Insurance)
      Mari Parino
      Maria Mojica (Insurance Agent)
      Marianna Love
      Maricela Reyes (Insurance Agent)
      Marie Kirchmeyer
      Marina View Heights Assn.
      Marja Miller
      Mark & Marilyn Burington
      Mark C Jones
      Mark Curry
      Mark E. Bron
      Mark Fechter
      Mark Johnson
      Mark Leinwander
      Mark Miller
      Mark Parsinen
      Mark Stewart
      Mark Webber
      Markland, Laurie Ann
      Marlene J Nix & Others




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      Marquart, Dennis
      Marshall Slocum
      Martella. Nicklus and Anna
      Martha Rush
      Martin, Don & Lani
      Martina McKay
      Marvin Crockett
      Marvin Reiche
      Mary Bell-Moudry
      Mary Conway
      Mary Sue O'Connell
      Marysville Group LLC
      Marzullo, Jr., Joseph J.
      Mashaun O’Malley (Insurance Agent)
      Mason, Madelyn C.
      Mason, Marvin
      Masonic Hall Associates of Colusa
      Massa, Manuel Jr., & Mary
      Massengill
      Masten, Christopher M.
      Mathis
      Matt and Carrie Brumbaugh
      Matt Bosco
      Matt McKeon
      Matthew Grimsley, State of CA - DGS
      Matthew Molitor
      Matthew Palade
      Matthew Southam
      Maudru
      Maurice St. Clair Family Trust,
      Max Benton
      Maynard, Tamera
      Mayra Anesetti (Insurance Agent)
      Mc Cartin, Judge Donald A.
      Mc Cartin, Mark J.
      McArthur Resource Management Association
      McCabe Landscaping
      McCarthy , Kevin
      McCreary
      McDowell
      McFadden, Eugene J.
      McGowan, Edward H.
      McGowan, Gail
      MCI Telecommunications Corp
      MCI Worldcom
      McIsaac, Teresa R.




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      McKay, Martina
      McKee Family Trust
      McKenna
      McKinnis, Steven & Lynne
      McLeod, Vincent
      McMillan, Daniel and Mary
      McMurtney, Gene R.
      McMurtrey, J. E.
      McNeil
      McNeill
      McSorley
      Mechanical & Irrigation Sol
      Meecham, Julie
      Mega Renewables
      Meissner John
      Melissa Scott
      Mello, William & Frank Jr.
      Mendo Lake Credit Union
      Menlo Park Fire Protection District
      Mercedes Hernandez (Insurance Agent)
      Meredith, Gary J.
      Meredith, Pres. Carole
      Meridian Farms Water Company
      Meyer
      Meyer Enterprises, LLC
      Meyer, Paula Ann
      Meyer, Robert C. & others
      Meyers Farming
      Michael Aldrich
      Michael JARRETT
      Michael Levy
      Michael Price
      Michael Rue
      Michele Curiel (Insurance Agent)
      Micheletti, Joseph & Monica
      Michelle Alvarado
      Mickael S Kyle
      Mignano, Julia
      Mike Bauccio
      Mike Beebe
      Mike Carbajal
      Mike domimick
      Mike Egbert
      Mike Kunitani (Son)
      Mike Tuttle
      Miles Mallette




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      Miles, Gary
      Millard Crain
      Millbrae Racquet Club
      Millbrae Raquet Club
      Miller Honey Farms Inc.
      Miller, John R. dba Miller Honey Farms Inc.
      Miller, Mike
      Miller, Tim and Tracey
      Miller's Landing Resort
      Millian
      Millikan
      Milton La Malfa
      Mintegue et al
      Miravalle
      Mispagel, Lawrence M.
      Moberly, F.B. & Caroline R.
      Moffett 259 LLC
      Monk, Tom
      Monpere, Dorothy J.
      Monroe
      Monson
      Montague, Charles F.
      Moore, James and Sherry
      Morelli Ranch, LLC
      Morris, James C. & Judy
      Morse / Karns
      Mount & Berg
      Mount Diablo Audubon
      Mount/Smith et al
      Mountain Community Center
      MRB Associates
      Ms. Dana Shigley, City Manager
      Mt Jackson Bldg Assoc.
      Mt. Lassen Trout Farm, Inc.
      Mullany, J. L. II
      Mulock, Chad
      Munro, Neil and Patricia
      Murphy
      My-Lien Neal (Insurance Agent)
      Nachtsheim
      Nancy Fanning
      Nancy Fox
      Nancy Huerta (Insurance Agent)
      Nancy Tao
      Natalia Shparber (Insurance/Law)
      Natonya Forbes




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      Neal Jern
      Neal Saunders
      Nearon Sunset LLC
      Neff
      Nell Tarantolo
      Nelson
      Nelson, Donald & Kay
      Nevada County Consolidated Fire District
      Nevada Irigation District
      Newlin, Marvin and Shirley
      Newman, Roberta
      Nicholau, William A.; Waite, Athena; Loew, Alexandra D.
      Nixon, Randall and Heather
      NMD Properties LLC
      NMSBPCSLDHB Partnership
      Noal Belkofer
      Norman Madsen
      Norman Sollid
      Norton, David & Sandra
      NTC & CO., FBO Louise Benton
      Nusser
      Oberti, Philip
      O'Connell (Trustee), Ursula Hart
      O'Connor, Daniel J. & Irene G.
      Ogle, Richard
      Ola Garrett/Kirk Wilsey
      O'Neill
      O'Neill, Mabel
      Opera Plaza LP
      OPSAHL
      Oribello, Glenn & Linda
      Oscar Donoian
      Osh Acquistion Corp
      Ottenwalter Trust
      Oxborrow
      P.R. FARMS, INC.
      Pabst
      Pac West Office Equities LP
      Pacific Service Employees Assn. (PSEA Concord)
      Pacific States Aviation, Inc.
      Palmisano, Dorothy G.
      Pamela J Cash
      Pass
      Passalacqua, C. Joseph & Arlen
      Patburg, Gary & Jeanette
      Patricia Flores




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      Patricia Rubino-Brunetti
      Patricia Smith
      Patricia Weber (Insurance Agent)
      Patterson Holdings, LLC
      Patterson, Robert
      Pattison
      Patty Lewis
      Paul Casella
      Paul Goodman
      Paul H Goodman
      Paul Lavoi
      Paul Liston
      Paul S. Lofgren
      Pedersen/Rogers, Raymond/Richard
      Peninsula Village
      Peninsula Village Homeowners Association
      Penman, Mike and Sheila
      Penny McCreary
      Pep Boys
      Pep Boys- Director of Facilities
      Pep Boys- Law
      Perry, Jeffrey
      Perry, Jim A.
      Perry, Lee
      Peter (Fremont Loc Mgr)
      Peter Aloo
      Peter Beck
      Peter Giampaoli
      Peter Grassi
      Peter Knight
      Peters
      Peters, Dr. Alfred G.
      Petersen
      Petersen, Steven
      Petrusha Enterprises
      Pezzullo
      PGE Starpoint LLC
      Phil Kleinheinz
      Phil Mackey
      Philip Ferris
      Philip Price
      Philip Springfield
      Phill Kelly
      Phillip J. Oberti
      Phillips
      Phyllis Castello




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      Pierre O. Paquelier
      Pierson/Waldrup, William J./Diane Elaine
      Pilegard, Cris
      Pinckney
      Pine Cone Resort
      Pinjuv
      Pitigliano, Trustees, Charles B. & Nancy S..
      Placer County Water Agency
      Plumas Audubon Society
      Plumas Bank, Inc.
      Plumas County Airports
      Plumb, Darryl and Carrie
      Pollak
      Pollard, Donald James and Pamela Diane
      Pollock, James M.
      Pomeroy, Susan
      Ponderosa Telephone Company
      Poole, Daniel Stephen and Lynn Murphy
      Potter
      PQ Properties (Peri)
      Pracilla Cooper
      Prattville Water District
      Pretel, Robert W. Trust
      Price
      Price, John & Diane
      Price, Lawrence A. & Kathleen L.
      Project 101 Associates
      Project Chief, U.S. Geological Survey
      Prologis LP
      Promontory San Luis Obispo
      Property Works
      Property Works- Rents
      Prosperi, Robert
      Pugliesi, Chris
      PW Fund B LP
      Pyle
      Quackenbush
      R & R Maher Construction Co.
      R. J. Cicchetti
      Radenbaugh, Trustee, Richard F.
      Rainbow Estates (Caruana)
      Rairdan, Todd and Christina
      Randall Jr., Walt
      Randy Berkheimer-Scout Leader
      Rasmusson
      Rathmann,Robert L.




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      Ratto
      Ray Crawford
      Ray Dutro
      Ray Johnston
      Realty Income Corporation
      Reed Hillard
      Regents of the University of California
      Regimbal, Jr.
      Rehermann
      Reid, Kathleen A.
      Reid,Victor M. III
      Renee Russell
      Repanich, Nicholas & Susan
      Retzloff, Lonny and Maryanne
      Rex Hoover
      Rex McBride
      Reynolds
      Reynolds,Pres. Rod
      Reynoso, Jaime
      Rhodes, Ronald & Joan
      Rhonda Kranick
      Rhyne Trust
      RICE
      Rice Airport Operations LLC
      Rice, Owen S.
      Richard Borello
      Richard Dalton
      Richard F Hathaway Jr.
      Richard Fields
      Richard Hardin
      Richard Hong (Rick)
      Richard Linam
      Richard Livesay
      Richard Mack
      Richard McNeil
      Richard Nelson
      Richard Rydell
      Richard S Tough
      Richard St. Peter
      Richard Wells
      Richardson, Thomas H.;
      Richburg, et.al., Brian K
      Rick Hatcher
      Rick Nielsen
      Rideout
      Rife, Jeff and Debbie




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      Riley, Warren
      Rion O'Connell
      Risse, Gregory and Michelle
      Ritts, William C. and Gayle
      Rob Dudugjian
      Rob Kautz
      Robert & Jean Fernandez
      Robert & Kathy Sutton
      Robert & Michelle Bozek 2017 Trust
      Robert Balkow
      Robert Berry
      Robert Bilotta
      Robert Bleyhl
      Robert Care
      Robert Carter
      Robert Feeney
      Robert Fernandez
      Robert Flint, Jr.
      Robert Gallagher
      Robert Gans
      Robert Grupczynski
      Robert Hanley
      Robert Klein
      Robert L. Smith
      Robert Lichti
      Robert M Hillyer
      Robert Romar
      Robert Roth
      Robert Schneider. Asst. Mgr.
      Robert Spooner
      Robert Wallace
      Robert Weber
      Robert Wolenik
      Roberts
      Roberts, Douglas & Colette
      Robin Peterson
      Robinson,Rob T. & Cynthia
      Rock Harbor
      Rod Roland, Gen. Mgr.
      Rodriguez
      Roger Sohnrey
      Rogers-Millhollin, Denna
      Roland & Kathleen Clapp
      Roland Ball Revocable Trust
      Roland Cole
      Rompal, Trustees, Larry S. & Shelly R.




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      Ron and Leslie Cox (Owners)
      Ron Carpenter
      Ron Chinn
      Ron Decoto
      Ronald Noblin
      Ronald Piethe
      Rose, Sean and Leslie
      Rosenberg, Saul A.
      Ross Erickson
      Ross Lynn D Succ
      Rothman, Harold B.
      Roweena Mangroo (Insurance Agent)
      Roxanne Mc Laughlin
      Roy Gullo Properties
      Royal Gorge Ski Touring
      Royce Friesen
      Rumberger, Dean and Tiffany Rene
      Russell, Laurie J. (Laurie Leathers Russell, as trustee of The Leathers Family Trust)
      Rydman
      SAAB Real Estate LLC,
      Safreno
      Sagie, Michael L.
      Sahm, Jennifer and Brenton
      Salas, Edward & Helen
      Salem Venture LLC
      Sally Krenn/Jim Blecha
      Sally Moyer
      Salvatore Rubino
      Sam Peracca
      Sam Taylor
      Samford, Ted
      San Jose Fire Department
      San Lorenzo Lumber Yard
      San Luis Obispo County
      San Luis Obispo Mental Health Association
      Sanchez / Petersen
      Sanchez, Trustee, John G.
      Sanders, Stanley/Steven
      Sanders, Trustee et al, Fahmie A.
      Sandridge Partners, a California Limited Partnership
      Sandy Lane Properties LLC
      Santich et al
      Santucci Livestock
      Sara Ann Dietzel
      Sarah Barton
      Sasha Shamszad




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      Savage
      SBC Services Inc.
      Schaeffer
      Schlagel, Pres. Don
      Schmeeckle
      Schmidt, John P. & Schmidt, Arron
      Schmitz, Frederic and Sheila
      Schnathorst, H.A.
      Schneider, Nicholas A.
      Schreck, Elaine
      Schuh, Curtis & Samantha
      Schuler, Elizabeth
      Schultz
      Schwabenland/Richardson, Lawrence/Evelyn
      Scott
      Scott Cooper
      Scott McNutt
      Sea Mist Farms, LLC
      Sears
      Sedlak, John and Lisa Mary
      Serrano, Avelio
      SFO Good-Nite Inn, LLC
      Shaffer/ Rogers
      Shahram Ameli (cell)
      Shallu Sharma
      Shannon Thwaite
      Shannon, Susan K.
      Sharp, Donald L.
      Sharp, Elsie Laverne, Trustee
      Shasta County
      Shasta County Fire (Big Bend)
      Shaw T & R Family Trust
      Shay, Victor W. & Laura L.
      Shelsta, Robert & Janet
      Shepard, Lawrence & Nancy
      Shephard
      Sheppard, Kenny R. & Anne Marie
      Sherri L Pettit
      Sherry, Timothy J.
      Shoreline Amphitheatre
      Sierra Alta Terra Inc. (Almanor Lakeside Resort)
      Sierra Alta terra Inc. (Kerns)
      Sierra Pacific Industries
      Sierra Pacific Properties Inc.
      Sig Hansen
      Silva & Kiesler




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      Silveria, Gary; Carol, Ronald & Lorette
      Simison
      Simkins
      Simpson Trust
      Simurda, Bruce M. & Diana L.
      Sinor
      Skaggs, Jeffrey and Shannon
      Sky Mtn. Christian Camp
      Slevcove, Jim John & Mary Ann
      Smades, Helen A.
      Smalling, Karl D.
      Smith, James and Sandra
      Smith, James C.
      Smyth, Donald
      Snyder, Andy
      Snyder, Mark and Pierrette
      Sobel, Trustee, Marc D.
      Solano County
      Solari, John A.
      Solaro, John P
      Sonia (Insurance Agent)
      Sonoma County Transit
      Sonoma Valley Center LLC
      Sortor, Donald and Emmy
      Soule, Randall and Kameron
      South Shore Association
      South Valley Apartments LLC
      Southam
      Southern California Edison Company
      Southern California Gas Co. & Southern Co. GA
      Souza Farming Co., LLC
      Spargo Family Living Trust
      Sparks
      Sparky Kirby
      Spectrum Properties Inc.
      Spongberg
      Spooner
      Sportshore Mutual Water Co
      Spring
      Springer
      Squeri
      Stacey Dolan
      Stacey Klajbor (Insurance Agent)
      STAFFORD, Trustees, Delbert T & Kimberly A.
      Stahl, Alan Kurt & Ruth Ellen
      Stai




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      Stan & Robin Dell'Orto
      Stan Braga
      Stanion, James C.
      Stanley Barth
      Stanley Cauwet
      State – Dept. of Justice
      State of CA - Dept. of Water Resources
      State of California
      State of California - CHP - Admin Services
      State of California - CHP - Telecom Unit
      State of California - Dept. Gen. Svc.
      State of California - Dept. of Fish & Game
      State of California - Dept. of Forestry & Fire Prot. (Mendocino)
      State of California - Dept. of Forestry & Fire Protection
      State of California - Dept. of Parks & Recreation
      State of California - DGS Real Estate Services
      State of California - DGS RESD for Telecom Div.
      State of California - DOT (CALTRANS)
      State of California - DOT (CALTRANS) - Maint. Prog.
      State of California Department
      State of California Dept. of General Services for Department of Justice
      State of California, Dept. of Water Resources
      Steigner, Clarissa
      Stemken Park
      Stepenson, Larry & Patricia
      Stephanie Coate
      Stephen Dyer, President
      Stephen Fuller
      Stephen Kurtela
      STEPHENS, John R. and Vicki J.
      Stephenson
      Sterling Hammack
      Stern Management Trust,
      Steve Essig
      Steve Kurtela
      Steve Randall
      Steven Carter
      Steven F Potter
      Steven R. Walker
      Stewart, Ross and Lori
      Stidham, Dewey Allen & Zona Ruth, Trustees
      Stockton City Center 16 LLC
      Stone, Shirley Blanche
      Stoneridge Westbridge Shopping Center LLC (c/o Potter - Taylor & Co)
      Storie-Crawford
      Stover, Tony & Megan




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      Straatsma, Derek
      Strain Trust
      Strathmore Swim Club
      Streeby, Kenneth L.
      Stringfellow, Linda
      Stroup, Robert and Dorothy
      Struthers, Pres. Roger
      STT Investments LLC
      Sue Carlson (wife)
      Sulprizio
      Sunriver Investments
      Sunseri, Philip & Leslie
      Sunset Building Company LLC
      Susan Bryner
      Susan Herzog (Insurance Agent)
      Susan J. Espana Separate Property Trust
      Susan Pomeroy
      Susan Stewart
      Susan Witherspoon
      Suzanne Flint
      SWETZ
      Swingle, Thomas and Carol
      Switzer, Goldau & Associates (Hemlock Property Management)
      Sylester Lucena
      Sylvester, Michael and Dana
      Syvertsen, Robert K. & Jeanne M.
      T W Dufour & Associates
      Tammy Dirker (Insurance Agent)
      Tammy Johnson (daughter)
      Tammy Johnson, Sec./PG&E Liaison
      Tandy Bozeman
      Taylor
      Taylor, Gayland S. & Nancy Ann
      Tedford, Jeffrey & Donna
      Tehama-Colusa Canal Authority
      Teri Blatter
      Terrell
      Terry Boatman
      Terry Remitz
      T-H Apiaries (Terry Holcomb)
      Tharp, Bobby and Judith
      Thayer
      The Donald A. Fryer and Marjorie E. Fryer Trust
      The Doyle 1999 Revocable Trust
      The Fairferek Living Trust
      The Finch Revocable Trust




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      The Kaiser Family Trust
      The Kennedy Family Trust
      The Stacey J. Siroonian Living Trust
      Theodore Towler
      Thomas & Karen Sullivan
      Thomas Agnew
      Thomas Clark - Supervisor
      Thomas Delapain
      Thomas Fullerton
      Thomas Ghidossi
      Thomas Green
      Thomas Halpin
      Thomas Hutchins
      Thomas Joaquin
      THOMAS M DAUTERMAN
      Thomas M. Stanton, trustee; Rodney Cook, trustee
      Thomas Mason
      THOMAS MILLAR
      Thomas, Trent & Jill; Thomas, Trevor & Tamra
      Thomma, Raymond R.
      Thompson, Stanley
      Thompson, William E.
      Three D Trust of 2003
      Tiffany Hilfer (Insurance Agent-Cust. Service)
      Tiffany Wilde (Insurance Agent)
      Tim Campbell
      Tim Cashman
      Tim Malone
      Tim Wellman
      Timmer, Douglas & Carmen, Trustees
      Timothy Durkee
      Timothy R Crowley
      Timothy S. Watson
      Timothy Southwick
      Timothy Strong
      Tina J. Van Breukelen, SR/WA
      Tjerrild et al, Robert J.
      T-Mobile
      Todd, Larry R.
      Tom Armstrong
      Tom Dolan
      Tom Goss (Insurance Agent)
      Tom Hinojosa
      Tom Mansperger (Insurance Agent)
      Tom Panages
      Tom Sawyer - for Insurance




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      Tom Tisch
      Tom Wilkins (Insurance Agent)
      Tomei, William J.
      Toor Village LLC
      Torres, Roberta A.
      TowerCo
      Trammell, Curtis and Jocelyn
      Trapschuh, Pres. Frank
      Travelodge
      TRC
      Tree Movers, Inc.
      Trees of California
      Trifolo et al
      Trimble Land Company LLC
      Troost, IV, Frank W.
      Trowbridge
      Troy Dawson
      Tugend
      Turner et al
      Tusker Corp
      Ty Thresher
      Tyler Marsh
      U.S. Army Corp of Engineers
      U.S. Bureau of Land Management (BLM Hollister
      U.S. DOT - Federal Aviation Admin. (FAA Los Angeles)
      U.S. Federal Bureau of Investigation (FBI San Francisco)
      U.S. Forest Service (Lassen National Forest)
      U.S. Forest Service, Forest Inventory & Analysis
      U.S. Forest Service/Sierra NF
      U.S. Geological Survey - Menlo Park
      U.S. Geological Survey (Pasadena)
      U.S. National Oceanic & Atmospheric Admin. (NOAA)
      U.S.F.S. Skylake Yosemite Camp,
      Uni-Kool Partners, The
      Union Pacific Railroad Company
      USGS Pasadena Office, GPS Network Coordinator
      USRPI REIT, Inc.
      Utility Tree Services, Inc.
      Vail
      Valerie Crutchfield (Insurance Agent)
      Valero Refining Company
      Van Dyke
      Van Elderen
      Van Nuys
      Vanella, Daryl
      Varian Arabians




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      Veady, Ralph and Cynthia
      Vergil Owen
      Vern G Ornbaun
      Vicent
      Victor Alvistur
      Victor Biasotti III-USFS
      Vierra
      Vincent Jr., John C.
      VINCENT, Darrell E, & Dene, Trustees
      Vincent, Holly (spouse)
      Vincent, Richard and Teresa
      Virgina Filter
      Vlahos
      Vugrenes Farms
      W D Weller
      W P Davies Oil Co
      W. A Carleton
      WACC
      Wallace
      Wallace, Barbara, Hicks, Jeffry C.; Hicks, Peter; Hicks, Brian; Garlland, Carol
      Walsh
      Walt Turner
      Walter Maynes
      Ward, Craig
      Warren & Karen Plaskett Trustee
      Warren Brusie
      Warren Steiner
      Watson Family Trust
      Weber, Gregory W. and Patricia L.
      Welch, Steve R.
      Werner, Timothy J. & Melinda C., as Trustees
      Wes Bradford Properties LLC
      Wescott Christian Center
      Wesley Anderson
      West
      West Almanor Community Club
      West, Michael P. and Janis F.
      Western Alliance Bancorp
      Western Area Power Administration
      Western States Microwave Trans.
      Westman, Verner
      Westover, Russell C. III; Westover, Garrett; Helms, Gail W.
      Westridge Homeowners
      Westshore Campers Assn
      Westwood Comm Svcs
      Wheeler




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      Wheeler-Smith, Nancy, co-trustee
      White
      White ,Pres. Betty Jean
      White, Thomas and Jill
      Whitehead, Pres. Robert
      Whiting/ Pickard
      Widmayer
      Wilbur H. Smith, III
      Wilburn
      Wilk, Linda D.
      Willam Hampton
      William Baber III
      William Donaldson
      William Ettlich
      William Klett
      William L. Joseph Family Trust
      William LeMaire
      WILLIAM LEWIS
      William S. Gaines and Ida Jeanne Gaines 2008 Revocable Trust
      Williams Communications, Inc.
      Wilma Stallins
      Wilson, Donald & Kvale, Gisela
      Wilson's Camp Pratville
      Wirick
      Wishon III Esq.,A. Emory
      Wishon Village, Inc.
      Witt, James
      Witt, Norman R. & Debra Lou
      Wittmeier
      Wittner
      Wolcott, Patrick
      Wolford, Richard E.
      Womack Family Trust
      Womack, Brett L. & Patricia
      Wood, Mary Lee
      Worrall
      Wraith, Saxon J; Loomis, Jane M.
      Wright, Robert dba Sierra Boulder
      YMCA of Superior
      Yosemite/Bass Lake Activities, Inc. (Sub-Lessee)
      Yosemite/Bass Lake Activities, Inc. (Sub-Licensee)
      Yount, Patrick and Deborah
      Zaballos Jr., Trustees,Resti/Deborah
      Zepher Mountain Family LP
      Zimmerman
      Zimmerman & Luft




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       Zimmerman, Roslyn
       Zinkin,Dewayne
       Zona Stidham, Vice President


Lenders (Prepetition and Proposed Postpetition to the extent not already listed)
      Bank of America, N.A.,
      Barclays Bank PLC and
      Citigroup Global Markets Inc.
      JPMorgan Chase Bank, N.A.,

Parties in 2019 Statements
Abrams Capital Management, LP, onbehalf of certain funds and accounts
Aegon Asset Management
Aggreko
Angelo, Gordon & Co., L.P.
Apollo Global Management LLC
Assurant Group of Carriers
        American Bankers Insurance Company
        American Bankers Insurance Company of Florida
        American Security Insurance Company
        Standard Guaranty Insurance Company
        Voyager Indemnity Insurance Company
Aurelius Capital Management, LP
BlueMountain Capital Management, LLC
CSS, LLC
Canyon Capital Advisors LLC
Capital Group
CarVal Investors
Caspian Capital LP
Castle Hook Partners LP
Centerbridge Partners LP
Citadel Advisors LLC
Citigroup Global Markets
Cyrus Capital Partners, L.P.
Davidson Kempner Capital Management
D.E. Shaw Galvanic Portfolios, L.L.C.,
D.E. Shaw Kalon Portfolios, L.L.C.
D.E. Shaw Orienteer Portfolios, L.L.C.,
Denenberg Tuffley, PLLC
Deutsche Bank Securities Inc.
Diameter Capital Partners LP
Elliott Management Corporation
Fidelity Management & Research Company
Fir Tree Partners
Farallon Capital Management, L.L.C.




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Lord, Abbett & Co. LLC
Meadowfin, L.L.C.
MCE Corporation
MSD Partners, L.P.,
MSD Capital, L.P.,
Meadowfin, L.L.C.
Monarch Alternative Capital LP,
Nor-Cal Pipeline Services
Nuveen Alternative Advisors, LLC
Oak Hill Advisors, L.P.
Oaktree Capital Management, L.P.
Och-Ziff Capital Management Group LLC
Owl Creek Asset Management, L.P.
P. Schoenfeld Asset Management LP
Pacific Life Insurance Company
Pacific Investment Management Company LLC
Roebbelen Contracting, Inc.
Sachem Head Capital Management LP
Sculptor Capital Invesments, LLC
Silver Rock Financial LP
Senator Investment Group LP
Serengeti Asset Management LP
SteelMill Master Fund LP c/o PointState Capital LP
Taconic Capital Advisors LP
The Bank of Tokyo-Mitsubishi UFJ, Ltd.
Third Point LLC
TPG Sixth Street Partners, LLC
U.S. Bank National Association
Varde Partners, Inc.
ACE American Insurance Company (collectively, the "Chubb Group").
Advent Underwriting Ltd.
AIG Europe Limited
Allstate Insurance Company and certain affiliates
Alternative Insurance Corporation
American General Insurance Company dba ANPAC General Insurance Company
Certain affiliates of American International Group, Inc. (“AIG”):
     AIG Europe Limited
     AIG Property Casualty Company
     AIG Specialty Insurance Company
     American Home Assurance Company
     Granite State Insurance Company
     The Insurance Company of the State of Pennsylvania
     Lexington Insurance Company
     National Union Fire Insurance Company of Pittsburgh, Pa.
     New Hampshire Insurance Company
American Modern Insurance Group




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American National Insurance Company
Amica Mutual Insurance Company
Arch Specialty Insurance Company
Armed Forces Insurance Exchange
Ascot Underwriting Limited
Aspen Specialty Insurance Company
Assurant Group of Carriers
         American Bankers Insurance Company
         American Bankers Insurance Company of Florida
         American Security Insurance Company
         Standard Guaranty Insurance Company
         Voyager Indemnity Insurance Company
The Baupost Group L.L.C.
Berkley National Insurance Company
Berkley Regional Insurance Company
Berkshire Hathaway Guard Ins.
Berkshire Hathaway Specialty Insurance Company
California Casualty Indemnity Exchange
California Mutual Insurance Company
Certain Underwriters at Lloyd’s.
Certain Underwriters of Lloyd’s of London Subscribing to Policy No. HTB-002381-002 c/o
Raphael and Associates
Chubb Custom Insurance Company
Chubb Group:
     Bankers Standard Insurance Company
     Chubb Custom Insurance Company
     Chubb Insurance Company of New Jersey
     Chubb National Insurance Company
     Federal Insurance Company
     Great Northern Insurance Company
     Illinois Union Insurance Company
     Indemnity Insurance Company of North America
     Pacific Indemnity Company;
     Vigilant Insurance Company
     Westchester Fire Insurance Company (Apa)
     ACE American Insurance Company (Chubb)
Church Mutual Insurance
Continental Casualty Company
Crestmont Insurance Company
CSS, LLC
United States Fire Insurance Company d/b/a Crum & Forster
Crusader Insurance Company
Electric Insurance Company
Employers Mutual Casualty Company
Endurance American Specialty Insurance Company
Endurance Specialty Insurance Company




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Essentia Ins. Co.
Everest Indemnity Insurance Company
Everest National Insurance Company
Certain Affiliates of Farmers Insurance Exchange
     Farmers Insurance Company of Oregon
     Farmers Insurance Company of Washington
     Farmers Insurance Exchange
     Farmers Specialty Insurance Company
     Fire Insurance Exchange
First American Insurance Company
First Specialty Insurance Corporation
General Security Indemnity Company of Arizona
Generali U.S. Branch
Global Indemnity Group
Grange Insurance Association
Great American Insurance Company and certain affiliates:
     Great American Alliance Insurance Company
     Great American Assurance Company
     Great American E&S Insurance Company.
     Great American Insurance Company
     Great American Insurance Company of New York
     Great American Spirit Insurance Company
Governmental Employees Insurance Company and certain affiliates
The Hanover Insurance Group
Hartford Accident & Indemnity Company and certain affiliates:
     Hartford Casualty Insurance Company
     Hartford Fire Insurance Company
     Hartford Underwriters Insurance Company
     HDI Global SE
     Property & Casualty Ins. Company of Hartford
     Sentinel Insurance Company Ltd.
     Trumbull Insurance Company
     Twin City Fire Insurance Company.
HDI Global SE
International Insurance Company of Hannover SE
Ironshore Insurance Ltd.
Ironshore Specialty Insurance Company
KBIC Insurance Company
Kemper Auto Alliance United
Knighthead Capital Management, LLC, on behalf of certain funds and accounts
Landmark American Insurance Company
Certain affiliates of Liberty Mutual Insurance Company (Liberty)
Liberty Mutual Insurance / Ironshore
Certain Underwriters of Lloyd’s of London, UK Subscribing to Certain Policies
Mapfre USA
Markel Service Incorporated




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     Evanston Insurance Company
     Markel American Insurance Company
     Markel Insurance Company
Maxum Indemnity Company
Mercury Insurance and certain affiliates
Metropolitan Direct Property & Casualty
National Fire & Marine Insurance Company
Nationwide Mutual Insurance Company and certain affiliates
Nautilus Insurance Company
Nonprofits Insurance Alliance
OneBeacon / Atlantic Specialty Ins. Co.
Pacific Specialty Insurance Co.
Philadelphia Indemnity Insurance Company
The Princeton Excess and Surplus Lines Insurance Company
ProSight Specialty Insurance
PURE
QBE Americas, Inc.
Rite Aid Corporation and Thrifty Payless, Inc.
RSUI Indemnity Company
Starr Surplus Lines Insurance Company
Starr Technical Risks
Stillwater Insurance Group
Sutter Insurance Company
Tokio Marine American Insurance Company
TOPA Insurance Co.
The Travelers Indemnity Company and certain of its property casualty insurance affiliates
     Travelers Casualty Insurance Company of America
     Travelers Commercial Insurance Company
     Travelers Indemnity Company of Connecticut
     Travelers Property Casualty Company of America
     Travelers Property Casualty Insurance Company
     The Travelers Home and Marine Insurance Company
     The Travelers Indemnity Company
     The Travelers Indemnity Company of America
     The Travelers Indemnity Company
     St Paul Fire and Marine
     The Standard Fire Insurance Company
     Fidelity and Guaranty Insurance Underwriters Inc.
     Northland Insurance
     The Northfield Insurance Company
     Constitution State Services, LLC
TWE Insurance Company Pte. Ltd.
United Fire & Casualty Financial Pacific
Certain Affiliates of United Services Automobile Association
     United Services Automobile Association
     USAA Casualty Insurance Company




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     USAA General Indemnity Company
     Garrison Property and Casualty Company, and affiliates companies
United Specialty Insurance Company
United States Liability Insurance Company
Tudor Insurance Company and certain affiliates
     Western World Insurance Company
Velocity Risk Underwriters, LLC
     United Specialty Insurance Company
     Interstate Fire and Casualty Company
     Certain Underwriters at Lloyd's
     Certain Underwriters of Lloyd’s of London
Wawanesa General Insurance Co.
XL America Insurance, Inc.
Zenith Insurance Company
Zurich American Insurance Company
683 Capital Partners, LP, on behalf of certain funds and accounts
Abrams Capital Management, LP, on behalf of certain funds and accounts
Allianz Global Corporate & Specialty
Allied World Assurance Company
American Reliable Insurance Company
AmTrust North America
AmTrust Syndicate 1206
Anchorage Capital Group, L.L.C., on behalf of certain funds and accounts
ArgoGlobal London
ASI Select Insurance Corp.
Aspen Insurance
Aspen Specialty Insurance Company
Assurant” Group of Carriers - American Bankers Insurance Company; American Bankers
Insurance Company of Florida; American Security Insurance Company; Standard Guaranty
Insurance Company; Voyager Indemnity Insurance Company.
Attestor Capital LLP
Azteca Partners LLC
Brit Global Specialty
California Fair Plan Association
California Insurance Guarantee Association
Caspian Capital LP, on behalf of certain funds and accounts
Centerbridge Partners, L.P., on behalf of certain funds and accounts
Century National
Certain Underwriters at Lloyd’s London Subscribing to Policy No. HTB-002381-002 c/o
Raphael and Associates
Certain Underwriters at Lloyds, London
Certain Underwriters of Lloyd’s of London, UK Subscribing to Certain Policies
CNA Insurance Company
D.E. Shaw Galvanic Portfolios,
D.E. Shaw Kalon Portfolios, L.L.C.,
D.E. Shaw Orienteer Portfolios, L.L.C.,




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Denenberg Tuffley, PLLC
Empyrean Capital Partners, LP, on behalf of certain funds and accounts
Federated Insurance
Fidelity Management & Research Company, on behalf of certain funds and accounts
First Pacific Advisors, LP, on behalf of certain funds and accounts
GCube Insurance Services, Inc.
Glendon Capital Management L.P., on behalf of certain funds and accounts3
Golden Tree Asset Management, LP
Governors Lane LP, on behalf of certain funds and accounts
GuideOne Insurance
HBK Master Fund L.P., c/o HBK Services LLC
HSBC Bank plc
Knighthead Capital Management, LLC, on behalf of certain funds and Accounts
Latigo Partners, LP, on behalf of certain funds and accounts
Lloyds of London Novae 2007 Syndicate
Marathon Asset Management
Maxum Specialty Insurance Group
Meadowfin, L.L.C.
Mesa Underwriters Specialty Insurance Company
MFN Partners, LP
Monarch Alternative Capital LP, on its own behalf and on behalf of its advisory clients
MSD Capital, L.P.,
MSD Partners, L.P on its own behalf and on behalf of its advisory clients
Newtyn Management, LLC, on behalf of certain funds and accounts
Nut Tree Master Fund, LP, by its investment advisor, Nut Tree Capital Management, LP
Owl Creek Asset Management, L.P., on behalf of certain funds and accounts
Palomino Master Ltd. (Appaloosa LP is the investment advisor to Azteca Partners LLC and
Palomino Master Ltd.)
Parathon Asset Management
Paulson & Co., Inc., on behalf of certain funds and accounts
Pentwater Capital Management LP, on behalf of certain funds and accounts
Pharmacists Mutual Insurance Company
PURE Insurance
Redwood Capital Management LLC, on behalf of certain funds and accounts
Sachem Head Capital Management LP, on behalf of certain funds and accounts
Selective Insurance Company of America;
Sentry Select Insurance Company
Serengeti Asset Management LP, on behalf of certain funds and
Serengeti Asset Management LP, on behalf of certain funds and accounts
Silver Point Capital, L.P.,
Silver Point Capital, L.P., on behalf of certain funds and accounts
Star Insurance Company
Steadfast Capital Management LP (“SCM”), on behalf of certain funds, whether advised directly
by SCM or an affiliate thereof
SteelMill Master Fund LP c/o PointState Capital LP
Stonehill Capital Management LLC, on behalf of certain funds




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The Dentists Insurance Company
The Progressive Corporation
TPG Sixth Street Partners, LLC
Warlander Asset Management, LP, on behalf of certain funds and accounts
York Capital Management Global Advisors, LLC, on behalf of certain funds and/or accounts
managed or advised by it or its affiliates
Zurich American Insurance Company
Owl Creek Asset Management, L.P.
Oak Hill Advisors, L.P.
Sculptor Capital Investments, LLC
Silver Rock Financial LP
D.E. Shaw Galvanic Portfolios, L.L.C.,
D.E. Shaw Kalon Portfolios, L.L.C.
D.E. Shaw Orienteer Portfolios, L.L.C.,
Fidelity Management & Research Company
Meadowfin, L.L.C.
Monarch Alternative Capital LP,
MSD Partners, L.P.,
MSD Capital, L.P.,
Sachem Head Capital Management LP,
Serengeti Asset Management LP
SteelMill Master Fund LP c/o PointState Capital LP
Aurelius Capital Management, LP
Canyon Capital Advisors LLC
Capital Group
Castle Hook Partners LP
Citigroup Global Markets
Fir Tree Partners
Pacific Life Insurance Company
Whitebox Advisors LLC
Olympus Peak Asset Management
Marble Ridge Capital
Citigroup Financial Products, Inc.
Citigroup Global Markets Inc. (“Citigroup”)
        County of Alameda
        County of Calaveras
        County of El Dorado
        County of El Dorado
        County of Fresno
        County of Madera
        County of Marin
        County of Mariposa
        County of Monterey
        County of San Benito
        County of San Joaquin
        County of San Luis Obispo




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      County of Santa Cruz
      County of Sonoma
      County of Stanislaus
      County of Tulare
      County of Tuolumne
      County of Yolo




Litigation Counterparties/Litigation Pending Lawsuits
        21 st Century Casualty Company
        AAA Northern California Nevada & Utah Insurance Exchange, as Subrogee of its
        Policyholders Affected by the Butte Fire
        Aaron Davis
        Aaron Harper
        Aaron Hattley
        Abigail Gee
        ACE American Insurance Company
        Ace Towers
        Adam (Barretto)
        Adam Ballejos
        Adam Balogh
        Adam Berry
        Adam Hargrave
        Adam Karlan
        Adam Kimball
        Adams, Adrienne Mary
        Addison Martin, minor through GAL Shannon Baird-Martin
        Adele Leard
        Adia Bartow
        Administrator and successor in interest of the Estate of Delores Silvas (Ashton)
        Adrian Bowers
        Adrian Gowins
        Adrian Maisonet
        Adventist Risk Management, Inc.
        Agasi-Horn, Cody Alan
        Agasi-Horn, The Estate Of Cody Alan
        AGCS Marine Insurance Company
        Agneta Stevens
        Agoncillo, Priscilla Ciubal
        Ahern, Edward Joseph Carl (A Minor, By & Through His Guardian Ad Litem Lauretta
        Ann Ahern)
        Ahern, Lauretta Ann
        AHRS Paradise LLC
        AIG Europe Limited



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      AIG Property Casualty Company
      AIX - Nova Casualty Company Program
      Akhtar, Jahan Z.
      Akram Elkhechen
      Al Rydell
      Alameda, Amadaeous (Minors, By and Through Their Guardian Ad Litem Erika
      Francine Rummerfield)
      Alan Pettit
      Albert Ahad
      Albert Bedrosian
      Albert Darby
      Albert Gurlue
      Albert Low
      Alberts, Nikolas Paul
      Alec Page
      Alex Davis
      Alexander, Daniel Benjamin
      Alexander, Irving David
      Alexandria Storm
      Alfonso Jesus Magdaleno
      Ali Stratta
      Alice Pastrano-Springs
      Alicia Blum
      Alicia Rogers
      Alina Brown
      Alisha Balentine
      Alisha Long
      Alissa Nutt
      Allen McCallum
      Allen Patrick Hart Jr
      Allen Patrick Hart Sr.
      Allene Lynn Moore
      Alliance Global Risks US Insurance Company
      Allianz Global Risks US Insurance Company
      Allied Property & Casualty Insurance Company
      Allied Property and Casualty Insurance Company, A Nationwide Company
      Allied World Assurance Company
      Allison Bazan
      Allison Klrin
      Allstate Insurance Company
      Allstate Insurance Company"
      Alma Williams
      Alonzo Lang, Jr.
      Alta Neal
      Alvaro Alvarez
      Alys Peck




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      Alysha Lane
      Alyssa Marcelling
      Amaji Fox
      Amanda Blankenship
      Amanda Larson
      Amanda Mcclarren
      Amanda Rogers
      Amanpreet Kaur
      Amber Lee
      Amber Mcerquiaga
      Amber Nayfeh
      Amber Toney
      AMCO Insurance Company
      Amco Insurance Company, A Nationwide Comp Any
      American Auto & Home Insurance
      American Automobile Insurance Company
      American Bankers Insurance Company
      American Bankers Insurance Company of Florida
      American Casualty Company
      American Family Home Insurance Company
      American Fire and Casualty Company
      American Guarantee & Liability Insurance Company
      American Home Assurance Company
      American Insurance Company
      American Modern Home Insurance Company
      American National Property and Casualty Company
      American Reliable Insurance Company
      American Security Insurance Company
      American Strategic Insurance Company
      American Zurich Insurance Company
      Amerman, Carol A.
      Amerman, William R.
      Amica Mutual Insurance Company
      Amie Myers
      Amlin Underwriting Limited
      Amtrust at Lloyd's
      Amtrust Syndicate 1206
      Amy Pivato
      Amy Richardson
      Ana Brodie
      Anabelle Vrismo
      Ancar, Brandie Lou-Ann
      Andersen, Edgar Fridtjov
      Anderson, Cody Eric
      Anderson, Kinsey Lee
      Anderson, Matthew Robert Rife




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      Anderson, Scott Lee
      Andrae Burton
      Andrea Brazell
      Andrea Cochran
      Andrea Kathleen Mccoslin
      Andrea M. Bruce
      Andrea Smith
      Andrew Armstrong;
      Andrew Boone
      Andrew Cook
      Andrew Garcia
      Andrew Palmquist
      Andrew Shaffner
      Andrew Smith
      Andrews, Richard
      Andries Bijstra
      Angela Coker
      Angela Gaitan
      Angela Loo
      Angela Welch
      Angelina Hung
      Angelina Kohler
      Angelina Murphy
      Angie Orrego-Razo
      Angulo, Addy (Joses)
      Angus Fisher
      Anita Anderson
      Anita Crandall
      Anita Freeman
      Anita Romano
      Ann Marie August
      Ann Martin
      Anna Janko
      Anna Spirlock
      Annamarie Haemmerle
      Anne R. Kamper
      Annette Estes
      Annette Peters
      Annie Brodie
      Annie Curtis;
      Antanas (Tony) Audronis
      Anthony Flores
      Anthony James Worthington
      Anthony Kang
      Anthony Medway
      Anthony Rudick




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      Anthony Tree
      Antonio Ray Olvera
      Arch Insurance Company
      Argo Global London
      Argo International Holdings Limited
      Arianna Brazell
      Armed Forces Insurance Company
      Armed Forces Insurance Exchange
      Armstrong, Arielle (Minors, By and Through Their Guardian Ad Litem, Miranda
      Clemons)
      Arndt, Ilona
      Arpad Fejes
      Arrie Elaine Marie Ludlow
      Asa Bartow
      Ascot Syndicate 1414
      Ascot Underwriting Limited
      Ashton, Julie Catherine
      Asi Select
      Aspen Insurance Company
      Aspen Specialty Insurance Company
      Associated Indemnity Corporation
      Atasha Bias
      Atlantic Specialty Insurance Company
      Atnip, Anthony Waco
      Atnip, Brynley Lynn (Minors, By and Through Their Guardian Ad Litem, Jeremiah
      Thomas Atnip)
      Atnip, Christie Lynn
      Atnip, Courtney Elaine
      Atnip, Hank Waco (Minors, By and Through Their Guardian Ad Litem, Jeremiah
      Thomas Atnip)
      Atnip, Jeremiah Thomas
      Atnip, Kayla Anne
      Attic Treasures
      Aubree Perkins
      Aurora Lorraine Ludlow
      Austin Elkins
      Auturo Cesena
      AV Solar Ranch 1, LLC
      Avery Garcia
      Avery Page
      Avila, Amanda Marie
      Avila, Dylan Marcanthony (Minors, By and Through Their Guardian Ad Litem Amanda
      Marie Avila)
      Avila, Kaylee Ann (Minors, By and Through Their Guardian Ad Litem Amanda Marie
      Avila)
      Avila, Marc Richard




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      Avila, Shayna Marie (Minors, by and Through Their Guardian Ad Litem Amanda Marie
      Avila)
      Axton Bartow
      Baartse, Chitten (Individually and As Trustee Of The Baartse Investment Trust)
      Bainard, Jamie D.
      Baird-Martin, Shannon
      Ballard, Gina
      Ballard, Jeff
      Bankers Standard Insurance Company
      Banttari, Joel
      Banttari, Monica, as trustees of the Banttari Trust dated January 28, 2004 (Ashton)
      Barbara Carlton
      Barbara Crisp
      Barbara Cruise
      Barbara Gyles
      Barbara Haddox
      Barbara J. Wright
      Barbara Kramer
      Barbara Lynne Battaglia
      Barbara Murray
      Barbara Robinson
      Barbara Smiley
      Barbara Van Deutekom
      Barbara West
      Barnett, Joshua
      Barretto, Lawrence S.
      Barretto, Lydia I.
      Barry Wenner
      Barton, Amber C.
      Barton, Paula K.
      Barton, Timothy T.
      Basford, Richard
      Baumler, Chris Joseph
      Beaufils, Elizabeth Michele (related to Parisah Jesus; Levi Gage and Amber Butler)
      Bechard, Melody
      Bechard. Macy C.
      Becker, James Allen
      Becky Christensen
      Bednarchik, Doug James
      Beekhuis, Christiaan William
      Belen Mendoza
      Belinda Roberson
      Bell, Douglas Alexander
      Bell, Maren
      Bella Clark
      Benjamin Baslow




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      Benjamin Greenwald
      Benjamin Hernandez
      Benjamin Moore
      Benjamin Neumann
      Bennett Parker
      Benscoter, Amos Theodore (By and Through His Power of Attorney Patricia Ann
      Williams)
      Bently Rose, minors by and Through Their Guardian Ad Litem, Joseph Louis Cambra
      Benton, Ed (Individually, And As Corporate Representatives of Housing Alternatives
      Inc.)
      Berkley National Insurance Company
      Berkley Regional Insurance Company
      Berkshire Hathaway AmGUARD Insurance Company
      Berliner, Daniel
      Berliner, Loan
      Bermingham, Johan Matthew (Minors, by and Through Their Guardian Ad Litem
      Desirae Alyse Smith)
      Bermingham, Netaleigh Rae (Minors, by and Through Their Guardian Ad Litem Desirae
      Alyse Smith)
      Bert Callis
      Berthiaume, Johnnie Sue
      Berthiaume, Zackary Michael (Minors, By and Through Their Guardian Ad Litem
      Johnnie Sue Berthiaume)
      Berton, Daviene Patricia
      Bertrand, Anthony Kadin (A Minor, By and Through His Guardian Ad Litem Kim Irene
      Landry)
      Bethany Havey
      Betsy Ann Cowley
      Bette Becker
      Bettencourt, Alyssa (a minor, by and through her guardian ad litem Sonia Bettencourt)
      Bettencourt, Andrew
      Bettencourt, Erica Marie
      Bettencourt, Jessica
      Bettencourt, Sonia
      Betty C. Kirkland
      Biggs-Adams, Carrie
      Bill Johnson
      Bill Myers
      Billy Fanning
      Billy Ray Thurman
      Birmingham, Brett J.
      Bj Taylor
      Blake Donald
      Bob Broman
      Bob Kozicki
      Bobbi Canter




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      Bobbi Ludlow
      Bobby Gee
      Bobby Rogers
      Bobijean Moore
      Bodhi Garcia
      Boitano, Amanda Lynn
      Bolint, Jeff
      Bonifield, Jeffrey Scott
      Bonnie Davies
      Boode, Aaron (Ashton)
      Boode, Arthur
      Boode, Arthur (Dba Superior Appliance Installations and Dba Well I'll Bee Apiaries)
      (Ashton)
      Boode, Marilu
      Bordon, Craig; Nick Panayotou; Mehrdad Varzendah; Genesis PVB, LLC (on the Wilcox
      complaint)
      Bowman, Diana
      Bowman, Kent
      Brad Brown
      Brad Lyon
      Brad Perry
      Bradford, Penni
      Bradford, Robert Ryan
      Bradley Dodge
      Bradley Keith
      Bradley Neal
      Bradley P. Baber
      Branch, Todd Philip
      Brandee Caldwell Habig
      Brandee Rippee
      Brandi Sutton
      Brandon Benson
      Brandon Hill
      Brandon Payne
      Brandon Perkins
      Brandon Raynor
      Brandy Otterson
      Brandy Powell
      Brayden Artero
      Breanna Kay Roberts
      Breanne Hutchinson
      Brenda Batey
      Brenda Coelho
      Brenda Howell
      Brenda Kountz
      Brenda McGregor




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      Brendan Foss
      Brent Carnegie
      Brent Ruby
      Brenton Strine
      Brenton Williams
      Bret Sandy
      Brett Ostrom
      Brian Bell
      Brian Bolton
      Brian Flaherty
      Brian Freitas,
      Brian Grahlman
      Brian Hill
      Brian Hillskemper
      Brian Larson
      Brian McAuliffe
      Brian Moffit
      Brian Taylor
      Briana Pierce
      Bridge Randall
      Briones, Lisa
      Briski, Gregory A.
      Brit Syndicate 2987
      Brittany Burger
      Brittany Gregory
      Brittany Morrow
      Brittney Morrison
      Brodie, Colleen (Individually, And As Doing Business As ABC Cleaning Service)
      Brogan, Shawn Lee
      Brook Clyde
      Brooke Casey
      Brotherton, Tabatha Sue
      Brown, Don Maurice
      Brown, Jill Colleen
      Bruce Hall
      Bruce Kleiner
      Bruce Muhlbaier
      Bruce Remington,
      Bruno, Angela, individually and dba Highway Metals
      Bryan Lisle
      Bryan Merritt
      Bryan Venaas
      Bryce Boston
      Bryson, Kenneth
      Buchalter, Elinita
      Buchalter, Jack




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      Bud Rigdon
      Buendia, Barbara L.
      Burgstrom, Mary Helen
      Burris, Sheila Kay
      Burriss, Cynthia
      Burriss, Robert and Cynthia
      Butler, Amber Shandi
      Cachuex, Jason
      Caires, Margaret
      Caitlin Fobert
      Caitlin Mederos
      Caitlin Mederos
      Caitlin Mederos, et al. v. Pacific Gas and Electric Company, et al., Case No. CGC-18-
      564641,
      Cal Fire
      Calaveras County Water District
      Calaveras Creek LLC
      Calderon, Amanda Michelle
      Caleb Jon-Keith (Barretto)
      California Automobile Insurance Company
      California Capital Insurance Company
      California Casualty Indemnity Exchange
      California Dept of Veterans Affairs
      California Fair Plan Association
      California Joint Powers Risk Management Authority
      Calpine Corporation
      Calvin (Amerman)
      Calvin Evans
      Calvin Gurule
      Calvin M. Perry III
      Camacho, Joann
      Camblin, Mark
      Cambra, Cayson Russell
      Cambra, Joseph Louis
      Cambra, Nicole
      Cameron (Amerman)
      Cameron Ray
      Cameryn Schulte
      Campbell, Anna & Gagnon, George
      Campbell, Tami Sue
      Canada, Charles W.
      Canada, Cynthia A.
      Candice King
      Candice Seals
      Candida Applebaum
      Canniff, Collin S.




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      Canniff, Galen M.
      Canniff, Keely H.
      Canniff, Mary M.
      Canniff, Michael L.
      Cannon Daniels
      Canopius Managing Agents Limited
      Canopius Syndicate 4444
      Cantine, Steven
      Capital Dynamics, Inc.
      Carie Lerner
      Carl Bender
      Carl Coleman
      Carleen Edwards
      Carlson, Steven
      Carlton Schreiner
      Carmel McCoshum
      Carmelita Sanchez
      Carmen Baca
      Carnella Marks
      Carol Amaya
      Carol Anderberg
      Carol Campbell
      Carol Hemphill
      Carol Ladrini
      Carol Manley
      Carol Peterson
      Carol Souza
      Carol Spears
      Carole Davis
      Carole Holley
      Carole Holley
      Carole Holley, et al. v. Pacific Gas and Electric Company, et al., Case No. CGC-18-
      563951;
      Caroline Cardoza
      Caroline Christofolis
      Carolyn Edie
      Carolyn Hill
      Carolyn Iott
      Carrillo, Tanya
      Carson Schulte
      Carson-Romano, Connie Jo (indiv and as trustee of The Connie Jo Romano 2012
      Revocable Trust, dated August 5, 2014
      Casha, Susan J.
      Casha, Thomas K.
      Caspary, Barbara
      Caspary, Nicholas




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      Caspary, Ricky
      Cassel, Bret Travis
      Cassel, Carol Lynn
      Castillo, Gerardo
      Casualty Insurance Company
      Catherine Dornan
      Catherine Tarbox
      Cathy Neste
      Cathy Okerlund
      Catrina Oberg
      Celestino Gencarell
      Celil Morris
      Cenco Management, LLC
      Century National Insurance Company
      Certain Underwriters at Lloyd's London
      Certain Underwriters at Lloyds of London Subscribing to Policy Number LMHO1044
      Certain Underwriters at Lloyds of London Subscribing to Policy Number LMHO01163
      Certain Underwriters at Lloyds of London Subscribing to Policy Number LSI102892
      Certain Underwriters at Lloyds of London Subscribing to Policy Number LSI101819-01
      Certain Underwriters at Lloyd's of London, UK Subscribing to Certificate No.
      B0507L16360-521
      Certain Underwriters at Lloyd's of London, UK Subscribing to Certificate No. LSU
      00402-05
      Certain Underwriters at Lloyd's of London, UK Subscribing to Certificate No.
      B1353DG1700356000
      Certain Underwriters at Lloyd's of London, UK Subscribing to Certificate No. LSU
      03618-01
      Certain Underwriters at Lloyd's of London, UK Subscribing to Policy No. Nl7NA10020
      Certain Underwriters at Lloyd's of London, UK Subscribing to Policy No.
      W1D52B160101
      Certain Underwriters at Lloyd's of London, UK Subscribing to Policy No. PN1600673
      Certain Underwriters at Lloyd's of London, UK Subscribing to Policy No.
      PRPNA1600667
      Certain Underwriters at Lloyd's of London, UK, Subscribing to Policy No.
      B1230AP56189A17
      Certain Underwriters at Lloyds, London
      Chacon, Adolfo Antonio
      Chad Bosnell
      Chantell Estess, individually and as trustee of the Michael Estess Living Trust
      Chapman, Barbara Joan
      Chardonnay Telly
      Chargin, Dennis Anthony
      Charis Raspi
      Charlene Perry
      Charles Brugger
      Charles Carroll




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      Charles F. Baldwin
      Charles Forquer
      Charles Liquori
      Charles Lomas
      Charles Lomas
      Charles Lomas, et al. v. Pacific Gas and Electric Company, et al., Case No. CGC-18-
      564647;
      Charles Sanchez
      Charles Thompson
      Charles Van Auken
      Charles Walters
      Charles Wright
      Charlie Moffatt
      Charlotte Brockman
      Charlotte Sweatt
      Charlsey Cartwright
      Chastain, Samuel Curtis (As an Individual, And As Trustee Of The Samuel Chastain
      Revocable Trust)
      Chaunce Thorburg
      Chavez, Adrian
      Chavez, Rachelle
      Chavez, Rosa Azevedo
      Chavez, Victor Gonzalez
      Chellsee Lende
      Chelsea Matz
      Chelsie Crisp Hart
      Chelyl Martin
      Cheri Ann Van Over (RiskMaster: Heavenly Ice)
      Cheri Brakensiek
      Cheri Haganey
      Cherie Burns
      Cherie Welch
      Cheryl Broman
      Cheryl Choate
      Cheryl Collier
      Cheryl Harrell
      Cheryl Larmore
      Cheryl Marie Lynch
      Cheryl Maynard
      Cheryl Mclain
      Cheryl Montellano,
      Cheryl Renwick
      Cheryl Rowney
      Cheyenne Reynders
      Chippewa Pest Control Inc.
      Chris Delorean




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      Chris Franklin
      Chris Griffith
      Chris Mangrum
      Chris Martin
      Chris Paul
      Chris Pickett'
      Chris Smith
      Christian (Amerman)
      Christie, Temperance (Minors, By and Through Their Guardian Ad Litem Amanda
      Hernandez)
      Christina Frieh Hauer
      Christina Mercy-Kemp
      Christina Wolfer
      Christine Curtis
      Christine Dew
      Christine Frances Maker
      Christine Nystrom
      Christine Palmer
      Christine Presson
      Christopher Aldred
      Christopher Crabtree
      Christopher David Jones
      Christopher Gavin Hinz
      Christopher Howard
      Christopher Nolan
      Christopher Nystrom
      Christopher Robinson
      Christopher Roseman
      Christopher Vorheis
      Christopher Wilson
      Christopher Yoakum
      Christopher, Steve
      Chubb Custom Insurance Company
      Chubb Insurance Company of New Jersey
      Chubb National Insurance Company
      Chun Chu
      Church, Cody Nathaniel
      Church, Katlyn Michelle
      Church, Mark Jay
      Church, Tammy Sue
      Cincinnati Insurance Company
      Cindy K. Row
      Cindy Lee Hoover
      Citation Insurance Company
      Citizens Insurance Company of America
      City of Santa Rosa




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      Civil Service Employees Insurance Company
      Claire Villanueva
      Clara Lakin Knaus
      Clarissa Perkins
      Clark Boucher
      Clark F. Bridgman
      Clark, Crystal A.
      Clark, Gregory Charles
      Clark, William R.
      Claudia Bijstra
      Claudia Gallentine
      Claudia I. Palmer
      Claudia Peck
      Claudia Reek
      Claudia Wright
      Clayton Schnurr
      Clemons, Miranda
      Clevenger, Kimberly Guerra
      Clevenger, Monte Alan
      Clifford Broman
      Clifford Garrison
      Clifton Brockman
      Clint Freedle
      Clint Garman
      Clinton Robertson
      Closs, Susan
      Clyde Macon, Jr. (As Individual, And As Trustee Of The Clyde M. Chapman Jr. Living
      Trust)
      CNA Insurance Company
      Coast National Insurance Company
      Cody Agost
      Cody Boston
      Cody Cloyd
      Cody Mackel
      Coit, James
      Coker, Thomas M.
      Colburn, Adam Gregory
      Colby Boston
      Colby Payne
      Collay, Michelle
      Colleen Bottini
      Colonial County Mutual Insurance Company
      Commerce West Insurance Company
      Company National General Insurance Company
      Company"
      Conatser, Jennifer Joy




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      Conder, Breanne
      Conder, Durise Ann
      Conder, Kenney
      Conder, Rodney Howard
      Conley, Robert Andrew
      Connie Danilov
      Connie Epperson
      Connie Roberts
      Conrad Wong
      Conrey, Anthony R.
      Consolidated Edison Development, Inc.
      Constantina Howard
      Constitution State Services, LLC
      Continental Casualty Company
      Continental Insurance Company
      Contreras, Eduardo
      Contreras, Hugo, a minor, by and through his Guardian ad litem, Susana Contreras
      Contreras, Susana
      Contreras, Violeta
      Cook, Benton
      Cook, Joshua M.
      Cook, Loretta
      Copeland, Robert
      Copello Square, LP
      Cora Kolacz
      Corcoran, Elizabeth
      Corcoran, William
      Corey Gurule
      Cortc. Schreiber
      Cory Farris
      Costa, Colt Ryan (A Minor, By and Through His Guardian Ad Litem Courtney Elaine
      Atnip)
      County of Sonoma
      County Right Inc.
      Coutnry Cliffs LLC
      Cowen, Michael Brian
      Cox, Haidyn Ray David (A Minor, By and Through Her Guardian Ad Litem Taylor
      Victoria Harris)
      Cox, Tim
      Cox, Tisha
      Cra Paradise Llc
      Craig Edwards
      Craig Montgomery, O.D.
      Craig Wenner




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          Craig, Amber Leann; Boitano, Amanda Lynn; Tucker, Jacqueline Leanne Craig; Rhodes,
          James Tyler; + minors Preslie Leann Tucker and Jordan Allen Tucker through GAL
          Jacqueline Leann Craig Tucker
          Craig, Carolann
          Crestbrook Insurance Company
          Cribbs, John
          Croft, Robert (Joses); Croft, Robert as trustee of the Goofey Trust UTD August 2012
          (Ashton)
          Crusader Insurance Company
          Crystal Alcover
          Crystal Grieg
          Crystal Record
          Crystal Tree
          CSAA Fire & Casualty Insurance Company
          CSAA General Insurance Company
          CSAA Insurance Exchange
          CSE Safeguard Insurance Company
          Cunha, Judy Lynn, Individually and As Trustees of The Cunha Family Trust
          Cunha, Mark Allen; Cunha, Judy Lynn, Individually and As Trustees of The Cunha
          Family Trust;
          Curtis Mcnamar
          Curtis Schnurr
          Cyndie Norman
          Cynthia Davis
          Cynthia Lassonde
          Cynthia Schierman
          Cynthia Skala
          Cynthia Smith
          Cynthia Spence
          Cyrena Brown
          Dacia Williams
          Daisy Davis
          Dakota Gurule
          Dale Eber
          Dale Hinerman
          Dale Miller
          Dale Thompson
          Dallas Kiser
          Dalton, Helen L.
          Damian Gonzales
          Dan Colliss
          Dana Gajda
          Dang, Tuyet Anh
          Daniel Aaron Jesus
          Daniel Alvarez
          Daniel Bennett




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          Daniel Canter
          Daniel Gallagher
          Daniel George
          Daniel Magana
          Daniel Mata
          Daniel Mcneill
          Daniel Poole
          Daniel S. Robbins
          Daniel Seibert
          Daniel Solors
          Daniel Springs
          Daniel Vujic
          Danielle Bottini
          Danielle Costa
          Danielle Gayton
          Danielle Hall
          Danielle Kingsley
          Danielle Sellers
          Dannette Marquez
          Danny Mathis
          Darcey Rudick
          Darla O'Shea
          Darlene Boston
          Darlene Kirby
          Darlene Williams
          Darrell Perkins
          Darren Gillespe
          Darriel Darden Jr.
          Darrin Stewart
          Darwin Crabtree
          Darwin Sager
          Darwin, Jeffrey Charles; Darwin, Tiffany Marie; Darwin, Kara Nicole (Minors, By and
          Through Their Guardian Ad Litem Jeffrey Charles Darwin); Darwin, Kilah Dae (Minors,
          By And Through Their Guardian Ad Litem Jeffrey Charles Darwin); Darwin, Lucas
          Charles (Minors, By And Through Their Guardian Ad Litem Jeffrey Charles Darwin)
          Darwin, Kara Nicole (Minors, By and Through Their Guardian Ad Litem Jeffrey Charles
          Darwin)
          Darwin, Kilah Dae (Minors, By and Through Their Guardian Ad Litem Jeffrey Charles
          Darwin)
          Darwin, Lucas Charles (Minors, By and Through Their Guardian Ad Litem Jeffrey
          Charles Darwin)
          Darwin, Tiffany Marie
          Daryl Butts
          Dave Turner
          Davi Ramey
          David Bernacett




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          David Bockman
          David Corson
          David Crane
          David Crenshaw
          David Cuen
          David Dickinson
          David Dimon
          David Ducommun
          David Foster Clemens Jr.
          David Gallentine
          David Hamilton
          David Herndon,
          David J. Gadja
          David K. Lakin
          David Lakin Knaus
          David Liles
          David Masarik
          David Peterson
          David Ricci
          David Rice
          David Robert Fisher III
          David Yates
          Davis Limbaugh
          Davis-Joyce, Elizabeth
          Dawn Cronin
          Dawn Garman
          Dawn Huddleston
          Dawn Muhlbaier
          Dawn Stevens
          Dawn Wright
          Dawson, Melissa
          Day, Timothy
          Dayid Coelho
          Daynielle Raynor
          De Posta, Janice
          Dean, Megan Rae
          Deanna Hermann
          Deanna Williams
          Debbie Boucher
          Debbie Waterman
          Debora A. Wines
          Deborah Glass
          Deborah Harless
          Deborah Jones
          Deborah Long
          Deborah Olexiewicz




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          Deborah Stearns
          Debra J. Berube
          Debra Lynn Roberts
          Debra Oxborough
          Deckman, Lisa Anne Gardina
          Deckman, Louis Albert
          Deckman, Melisa Ann Gardina
          Decriscio, Kimberly D.
          Dee Dee Mayhugh
          Deidre Bartow
          Delaney, Shaun
          Delijah Osbourn
          Delma O'Grady
          Delores Hamilton
          Dena Stewart
          Denise Hunt
          Denise Nelson
          Denise Quinn
          Dennis Glover
          Dennis Gyles
          Dennis Hughes
          Dennis Mark Wickes
          Denver Weaver
          Deova M. Lewis; (minor clmnts Mykala & Jackson)
          Depositors Insurance Comp Any, a Nationwide Company
          Derek Pierman
          Desiree Williams
          Destefano, Joann M., as trustee of Joann M. Destefano Revocable Trust
          Destefano, Joann Marie
          Devaney, Barbara A.
          Devaney, John R.
          Devin Gotterba
          Devin Witham
          Dewey Bunch
          Dezirae Goodrich
          Dhaliwal, Baldeep S.
          Dhaliwal, Balvir K. (Joses)
          Dhaliwal, Harwinter S., Kulwant K., Baldeep S., and Yubray S. (Norfolk); Dhaliwal,
          Tarlok S.; Dhaliwal, Balvir K. (Joses)
          Dhaliwal, Kulwant K.
          Dhaliwal, Tarlok S.
          Dhaliwal, Yubray S. (Norfolk)
          Diamond States Insurance Company
          Diana Dew
          Diana Machado
          Diana Moody




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          Diana Scharf
          Diana Tracy
          Diane Engelbrite
          Diane Langdon
          Diane Worsham
          Dianna Gartner
          Dianna Varnell
          Dickey, Denise R.
          Dickow, Teresa Marie
          Dillon Gaytan
          Dillon Hughes
          Dillon, Ann
          Dinah Coffman
          Directory Sales Management Inc.
          Dobrich & Sons Septic Service
          Dolly Buck
          Dolores Percostegui
          Dominguez, Adam W.
          Dominguez, Richard Douglas, Jr.; Douglas, Avery D. (not complaint)
          Dominguez, Victor Gonzalez
          Don Varnell
          Don Wilt
          Donald Bowman
          Donald Charles Poetker
          Donald Cummings
          Donald Dey
          Donald Drowty
          Donald E. Liddiard
          Donald Golble
          Donald Greene
          Donald Mansell, M.D.
          Donald Martin Geene
          Donald Newsom
          Donald R. Luft, Jr.
          Donatus Okhomina Jr.,
          Donna Brown
          Donna Carrell
          Donna Cassianos
          Donna Davidson
          Donna Gardner
          Donna Huntley
          Donna Padula
          Don's Saw & Mow
          Dorean Gould
          Doreen Zimmerman
          Doris Bailey




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          Doroud, Seyed Mohammed
          Dossue Thornton
          Doty, Betty Ann
          Doty, Robert Lloyd
          Dougherty, Katherine Idell
          Douglas Eagle
          Douglas Harner
          Douglas Newsom
          Douglas Ramey
          Douglas Shilling
          Douglas Sloan
          Douglas Vincent
          Doyle Curtis Mullins III
          Dr. Bradley Smith
          Druley, William R.
          Duane Awalt
          Duane D'Amico
          Duffina, Cody
          Duffina, David
          Duffina, Dustin
          Duffina, Vivian
          Durkay, Lawrence (now deceased)
          Dustan Bradley
          Dustie Inman
          Dustin Bradley
          Dustin Daisy
          Dwayne Little,
          Dyken, Cortez
          Dylan Loebel-Begelman
          Eagle West Insurance Company
          Earl Adams
          Earl Jensen
          Earl Johnston
          Earl, Brandon Leslie
          Earl, Marissa
          Earl, Robert M.
          Earl, Sonja K.
          Eastridge, Jean Rene Chipman (Joses)
          Eastridge, Paul L.
          Eastridge, Paul L. (Brundage)
          Ebbett, Denise (Amerman)
          Ebbett, Roger (Barretto)
          Ebbetts Pass Lumber Company, Inc.
          Ecklund, Matthew (Eckland on the complaint)
          Ed Brinson
          Eddie Candelieri




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          Eddit Delongfield
          Edgar Ornelas
          Edith Parkerson
          Edna Gleason
          Edna Valdez
          Edson, Clifford
          Edson, Silvia
          Eduar Medina
          Edward Antihony Wright
          Edward Atkins
          Edward Bothwell
          Edward Gibson
          Edward Hartman
          Edward Johnson
          Edward Lee Ricketts
          Edward Warren
          Edwin Zabel
          Eggers, Riley Grey (Minors, By and Through Their Guardian Ad Litem Johnnie Sue
          Berthiaume)
          Eileen Hollingsworth
          Elaine McSpaddens
          Elaine Smith
          Eldridge, Lori, individually and as trustee of the Darrell S. Eldridge and Lori J. Eldridge
          Family Trust
          Eleanor Southwick
          Elisa Bigham
          Elisha Sheridan
          Elissa Carne
          Elizabeth Anderson
          Elizabeth Gorman
          Elizabeth Hemphill
          Elizabeth J. Bartok-Klein
          Elizabeth Keen
          Elizabeth Long
          Elizabeth Solors
          Elizabeth Walliser
          Ella West
          Ellen Hamilton
          Ellen Mccaffrey
          Elsa Perry
          Elvia Bockman
          Emerson Gurule
          Emile Pratt
          Emilie Wilson
          Emily Clemens
          Emily M. Hubbs




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          Emily Munn
          Emily Reese Lee
          Emily Wilt
          Emmaline Rose (Minors, By and Through Their Guardian Ad Litem Celene Ann Taylor)
          Employers Mutual Casualty Company
          Enayatulla Ajmal
          Enayatullah Ajmal
          Encompass Insurance Company
          Endurance American Specialty Insurance Company
          Enel Green Power North America
          Enrique Guzman,
          Epifania Medina
          Eric Benjamin Gowins
          Eric Borders
          Eric Day
          Eric Lindberg
          Eric Montague
          Eric Richisen
          Eric Shoemake
          Eric Vollmer
          Erick Balowin
          Erick Sill
          Erik Berkenstock
          Erik Saevke
          Ernest Farinias
          Ernest Haleck
          Ervin, Kelly Ann
          Ervin, Ronald William
          Escalante, Ryan Nicholas
          Esparza, Roberta Haladein
          Esteban Armenta
          Estefania Miranda,
          Esther Pritchett
          Ethel Hobe
          Evan Genna
          Evan Ludington
          Evanston Insurance Company
          Evaristo Sotelo
          Everest Indemnity Insurance Company
          Everest National Insurance Company
          Eversole, Doris G. (DECEASED)
          Exelon Corporation
          Faith Harper
          Fall Harvest Exchange, LLC
          FAP&C
          Far West Returns, Inc.




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          Farmers Insurance Company of Oregon
          Farmers Insurance Company of Washington
          Farmers Insurance Exchange
          Farmers Specialty Insurance Company
          Farrell, James L.
          Farrell, Kaila D.
          Farrell, Kulani I. (A Minor, By And Through Her Guardian Ad Litem Tracilyn H.
          Farrell)
          Farrell, Tracilyn H.
          Federal Energy Regulatory Commission
          Federal Insurance Company
          Federated Mutual Insurance Company
          Federated Mutual Insurance Company as Subrogee of Joe's Services
          Felicia Fain
          Felix Berkhoudt
          Ferretti, Hattie Lucille (Joses)
          Ferrucci, Robin
          Fidel Tunno
          Fidelity & Deposit Company of Maryland
          Fidelity and Guaranty Insurance Underwriters Inc.
          Fiebich, John C., individually And as Trustee of The Sequoia Family Trust
          Fields, Bruce
          Figel, Sean M.
          Finch, Gregory M.
          Finesse Floor Covering, Inc.
          Fire Damage Plaintiffs
          Fire Insurance Exchange
          Fireman’s Fund Insurance Company
          First American Property & Casualty
          First American Specialty Insurance
          First National Insurance Company
          First National Insurance Company of America
          First Solar, Inc.
          First Specialty Insurance Company
          Fischer, Lisa Denise, as trustees of the Robert E. and Lisa D. Fischer Family Trust, dated
          January 8, 2018
          Fischer, Robert Emile
          Fishman, Jonathan N.
          Fishman, Kaya Tamara
          Flicker Oaks LLC (a California Limited Liability Company)
          Flint Nystrom
          Florists' Mutual Insurance Company
          Floyd, Susanne
          Flynn, Zebulun
          Foremost Insurance Company Grand Rapids, Michigan
          Foremost Property and Casualty Insurance Company




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          Foremost Signature Insurance Company
          Foust, Bonita Leona (Individually, And As Trustee of The Bonita Foust Trust)
          Francis Stabile
          Frank Bell
          Frank Dodini
          Frank Liuzza
          Frank Lombard
          Frank Medina
          Frank Moetto
          Frank Navarro
          Frank Peck
          Frank Sheehan
          Frank Solors
          Franklin, Alec William (Minors, By and Through Their Guardian Ad Litem Tanya May
          Franklin)
          Franklin, John Michael
          Franklin, Lily Ann (Minors, By and Through Their Guardian Ad Litem Tanya May
          Franklin)
          Franklin, Scott
          Franklin, Tanya May
          Fred Foss
          Fred Scharf
          Freedom Specialty Insurance Company
          Frieda L. Conoly
          FTP Power LLC
          Fulford, Corey Preston
          Fulton, Chris (Pargett)
          Funk, Christopher
          Gabbay, Abraham
          Gabriel Bellejos
          Gabriel Dekelaita
          Gabriel Senicero,
          Gabriela F. Tazzaridineen
          Gabriell Herndon,
          Gada Khechen
          Gage Osbourn
          Gage, Levi Aaron
          Gage, Nikolas Alexzander (Minors, By and Through Their Guardian Ad Litem, Levi
          Aaron Gage)
          Gage, Thomas Greyson (Minors, By and Through Their Guardian Ad Litem, Levi Aaron
          Gage)
          Gagnon, George
          Gail Carr
          Gail Leblanc
          Gail McCann
          Galen Capineri




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          Gallagher, Sheralee
          Garcia, Kelley Laine
          Garret Gilliland
          Garret Mallory
          Garrison Property and Casualty Insurance Company
          Garry Burt
          Gary Bringuel
          Gary Brown
          Gary Estenson
          Gary Hacker
          Gary Haskins
          Gary Kendall
          Gary Lambert
          Gary Lee Drummond
          Gary Mchargue
          Gary Postolka
          Gary Robertson
          Gary Tyler
          Gary Wells
          Gates, Gary Dean
          Gavin Curbow
          GCube Insurance Services, Inc.
          GCube Underwriting Limited
          Geico General Insurance Company
          Geico Indemnity Company
          Geln Mallory
          Gencon Insurance Company of Vermont
          Gene Engelbrite
          General Casualty Company of Wisconsin
          General Insurance Company of America
          General Security Indemnity Insurance Company of AZ
          Geneva Aguirre
          George D. Hanson
          George Fife
          George Godwin
          George Gold
          George McMaster
          George O'Shea
          George Potstada III
          George Snyder
          George W. Hopman
          George Weaver
          Georgiana Brooks
          Gerald Krusell
          Gerald Kuhn
          Gerald McClean




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          Gerald Smith
          Gerard Vanderleun
          Geyser, Robbi T.
          Ghost Ship Warehouse Plaintiffs
          Gibbons, Catherine
          Gibbons, Frederick, individually and as trustees of Frederick J. Gibbons and Catherine J.
          Gibbons 2002 Revocable Trust
          Gilbeau, Ariana Victoria
          Gilbeau, Erin Brooke
          Gilbreath, Jerry
          Gilbreath, Patricia
          Gilmore, Diane
          Gilmore, Gerald
          Gini Durand
          Giuseppe Carola
          Glenn Carlson
          Glenn, Marysa (Minors, By and Through Their Guardian Ad Litem Amanda Hernandez)
          Gloria Reyes
          Goble, Ethan Nickolas (Minors, By and Through Their Guardian Ad Litem Makalya Jean
          Wrede)
          Golden Eagle Insurance Corporation
          Gotham Insurance Company
          Gough, Glenn Gordon
          Goulart, Floy Sarah Salyer (Individually, And As Trustee of The Floy Sarah Salyer
          Living Trust)
          Government Employees Insurance Company
          Grace Corbin
          Grace Richardson
          Grange Insurance Association
          Granite State Insurance Company
          Grant, Brian (Individually, And As Corporate Representative/CEO/General Manager of
          Housing Alternatives Inc.)
          Grant, Daisy Verna (Joses); Grant, Gary And Pamela A. Grant, As Trustees Of The Grant
          2011 Family Estate Plan and The G&P Grant 2011 Family Trust (Ashton)
          Grant, Dave
          Grant, Elva
          Grant, Fernanado D.
          Grant, Gary Richard; Grant, Pamela Anne; Grant, Daisy Verna (Joses); Grant, Gary And
          Pamela A. Grant, As Trustees Of The Grant 2011 Family Estate Plan and The G&P Grant
          2011 Family Trust (Ashton)
          Grant, Pamela Anne
          Grap, Arthur Ray
          Grassi, Gloria Rose (Individually, And As Trustee of The Gloria R. Grassi Trust)
          Graves, Dawn
          Graves, Philip
          Gray, George Albert




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          Gray, Robert L.
          Great American Alliance Assurance Company
          Great American Alliance Insurance Company
          Great American E&S Insurance Company
          Great American Insurance Company
          Great American Insurance Company of New York
          Great Northern Insurance Company
          Green, Alyssa
          Green, Amanda Summer; Dominguez, Skyler Paige (A Minor, By and Through Her
          Guardian Ad Litem Amanda Summer Green) (Joses)
          Green, Camille Suzanne
          Greenlee, Izaiah Vincent Anthony (Minors, By and Through Their Guardian Ad Litem
          Krystal Greenlee)
          Greenlee, Krystal
          Greg Bujor
          Greg McAte Lynch
          Greg Montgomery Roberts
          Gregori Cassianos
          Gregory Dornan
          Gregory Hollingsworth
          Gregory Hughbanks
          Gregory, Robert K.
          Greta Louise Moranton-Colman
          Gretchen Franklin
          Grewal, Lakhmir
          Griffin, Donna Alice, individually and as Trustee of the Griffin Revocable Trust
          Griffin, Gracie Lee Ruth
          Grimes, Heather
          Grisez, Jay Michael
          Grisez, Jay Michael "Mike"
          Grow, Manuel Travis
          Guglielmetti, Bailey (A Minor, By and Through Her Guardian Ad Litem Leighann
          Guglielmetti Luddon)
          Guideone Mutual Insurance Company
          Guideone Specialty Mutual Insurance Company
          Guillemin, Joy
          Guillemin, Joy As Administrator And Successor In Interest To The Estate of Joey Ray
          Guillemin
          Guillemin, Kenneth Ra
          Guillemin, Samantha Kaitlyn
          Guliani M. Medina Flores
          Gunn, Emily
          Gunn, Karyn G.
          Gunn, Walter S.
          Gus Boston
          Guvdeep Maddan




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          Guy Bill
          Guyan, Lance
          Guyan, Owen, Individually and As Trustee of The Sierra Ridge Investment Trust
          Guyan, Sarah (not on demand)
          Gwen Dodini
          Hailey Gaytan
          Hal Smith
          Haley Bannister
          Haley, Edna (Individually and As Trustees of The Terry And Edna Haley Trust)
          Haley, Terry (Individually and As Trustees of The Terry And Edna Haley Trust)
          Hall, Rollin L.
          Halliday, Jean M.
          Halliday, Kurt R.
          Hallmark Specialty Insurance Company
          Ham, Tammy J. (Individually, And As Trustee of The Tammy J. Ham Revocable Trust
          2007)
          Hamann, Austin James
          Hamann, Erik Howard
          Hamann, Erik Jergen Otto Hamann, a minor, by and Through His Guardian Ad Litem,
          Erik Howard Hamann
          Hamann, Thor Cole Jerome (A Minor, By and Through His Guardian Ad Litem, Erik
          Howard Hamann)
          Hamann, Viktoria Kathleen
          Hammer, Billie Anne as Trustees of the Michael E. and Billie Anne Hammer Trust
          Hammer, Gerald
          Hammer, Michael as Trustees of the Michael E. and Billie Anne Hammer Trust
          Hammer, Nancy Kathleen, individually and as trustees of Jack and Marjory Tone
          Revocable Trust Dated March 2, 2001
          Hanh Nguyen
          Hankins, Darryl (Amerman)
          Hankins, Sandra (Ancar)
          Hannigan, Shannon Lea
          Hannigan, Stephen Edwards
          Hanover American Insurance Company
          Hanson Ranch Home Owner's Association
          Harding, Kathleen Ann (Individually, And As Trustee of The Living Trust Of Kathleen
          A. Harding)
          Harlow Mackel
          Harold Barnreiter
          Harold Hill
          Harold Stimson
          Harris, Dennisa Jo
          Harris, Kerry David
          Harris, Sarah Elizabeth (By and Through Her Guardian Ad Litem Dennisa Jo Harris)
          Harris, Taylor Victoria
          Harry Bellamy




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          Harry Coffey
          Harry F. Palmer
          Harry Mason
          Harry Whitlock
          Hartford Accident & Indemnity Company
          Hartford Casualty Insurance Company
          Hartford Fire Insurance Company
          Hartford Underwriters Insurance Company
          Hartsock, Estate of Carl M.
          Harvel Hart
          Harvey Santos
          Hasan, Nadeem
          Hassell, Paula
          Hathaway Holdings, LLC (as Doing Business as Joma's Artisan Ice Cream)
          Hauer, Jason Stanley
          Haviland, Burton
          Haviland, Viola Alice
          Hawkins, Alexander Martin (A Minor, By and Through His Guardian Ad Litem Joshua
          Robert Hawkins)
          Hawkins, Elizabeth Anne
          Hawkins, Joshua Robert
          HDI Global SE
          Heather Blowers
          Heidi Coppin
          Heidi Jolly
          Helen M. Lewis-Aris
          Helen Swagerty
          Helen Terry
          Helena Modell
          Helena Modell,
          Helene D. Stevens
          Heliotes, M. Scott (Individually, And As Trustees of The M. Scott and Phyllis Diane
          Heliotes Trust)
          Heliotes, Phyllis Diane (Individually, And As Trustees of The M. Scott and Phyllis Diane
          Heliotes Trust)
          Helwig, Randy Michael
          Hendrix, Jonathan (Ashton)
          Hendrix, Karen L.
          Henriette Hostoski
          Henriquez, Bonnie R.
          Henry Becker
          Henry Colt (A Minor, By and Through His Guardian Ad Litem Ariana Victoria Gilbeau)
          Henry Freimuth
          Hernandez, Amanda
          Hernandez, Joseph
          Hession, Terrence Scovil




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          Hewes, Deborah Jane
          Hill, Stewart McCune, III
          Hodson, Cecilia A., As Trustees of the Hodson TrustHodson, Cecilia A. (Individually,
          And As Trustees Of The Hodson Family Trust) (Joses)
          Hodson, Glenn and Hodson, Cecilia A., As Trustees of the Hodson Trust
          Hodson, Glenn As Trustees of the Hodson TrustHodson, Glenn (Individually, And As
          Trustees Of The Hodson Family Trust)
          Hodson, Joseph Byron
          Hodson, Sarah
          Hoekstra, Marguerite Lynn (As Trustees of The Bud and Maurie Hoekstra Living Trust)
          Hoekstra, Marguerite Lynn and Hoekstra, Walter Charles Hoekstra Dba Berryblest Farm
          Hoekstra, Walter Charles
          Hoekstra, Walter Charles (As Trustees of The Bud and Maurie Hoekstra Living Trust)
          Hoffman, Ronald W.
          Hoffmaster, William J.
          Holly Austin
          Holly Dalton
          Holly Haller
          Holly Knowles
          Holly Pitruzzello
          Holt, Vaughn
          Homesite Insurance Company of California
          Honey D. Olvera
          Hooker, Michele (As Trustee Of The 1999 Marhenke Family Trust) (Mike Marhenke is
          not on demand)
          Hopkins, Arthur
          Horacio Cisneros
          Housing Alternatives Inc.
          Howard Brown
          Howard Clewett
          Howard Garrison
          Howry, Tiffany (aka Tiffany Harris)
          Hugh Sutton
          Hugh W. Smith
          Hughes, David Bancroft
          Hughes, Douglas Keith, Jr.
          Hughes, Keith Raymond (A Minor, By and Through His Guardian Ad Litem Fatima
          Luceia Bonotan Pagtakhan)
          Hugo Sibrian
          Hunter Rutledge
          Hurst, Jason A.
          Hust, Kate Darlene
          Ian Mickey
          Ian Nelson
          Ian Rash
          IDS Property Casualty




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          IDS Property Casualty Insurance Company
          Illinois Union Insurance Company
          Immediate Care Medical Center
          Indemnity Insurance Company of North America
          Inderpal S. Rajput
          Ingols, Chris
          Inocencio, Cirilo
          Inocencio, Nerissa
          Insurance Company
          Integon National Insurance
          Integon National Insurance Company
          Iris Natividad
          Irma Enriquez
          Irma Torres,
          Ironshore
          Ironshore Indemnity Inc.
          Ironshore Indemnity Inc. a/s/o Charles M. Schulz Museum and Jean Schulz
          Irvine, James
          Isabella Boston
          Isabelle Mikolja
          Isabelle Rozycki
          Isla Hunt
          Ivanka Vujic
          Ivy Morrow
          Jacee Bates
          Jackie Easton
          Jackie Teal
          Jackson, Blair D.
          Jackson, Diane M.
          Jacob Ian Bates
          Jacob Joseph Jones
          Jacob Stewart
          Jacobb Bottini
          Jacquelene Liddiard
          Jacqueline Andujar
          Jaich, Melan William
          Jaime Barry
          Jaime Elliott
          Jaime Workman
          Jakob Eddie Mederios
          James (Jim) Sadegi (Adams)
          James Cassady
          James Cronin
          James Cumpston
          James Daryl Bonini
          James Dungan




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          James Elfers
          James Finn;
          James Gaebe
          James Hart
          James Hauenstein
          James Hemphill
          James Henson
          James L.Gore
          James Ladrini
          James Logan MD
          James Lowe
          James Marin
          James Nunn
          James Olexiewicz
          James Powell
          James R. Mckay III
          James R. Talevich
          James Redmond
          James Richardson Jr.
          James Seth Roberts
          James Shepard
          James Smiley Rose
          James Smith
          James Sweatt
          James Wells
          Jamie Muhlbaier
          Jan Black Greslie
          Jan Tally
          Jane Doe
          Jane E. Bode
          Janell Goupil
          Janet Baker
          Janet Kimmel
          Janet Lee Lucich
          Janet Postolka
          Janette Taylor
          Janice Bill
          Janice Bradford
          Janice Elaine Adair
          Janice Elaine Adair
          Janice Elaine Adair, et al. v. Pacific Gas and Electric Company, et al., 19CV00430;
          Janice Hillskemper
          Jansson, David Paul (Individually, And As Doing Business as Bonnie's Inn)
          Jared Baptist
          Jarratt, Patty W.
          Jarratt, Richard C.




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          Jarrell, Robert
          Jarren Brown
          Jarvie, Jens
          Jason Brazell
          Jason Eggleston
          Jason Gregory
          Jason Harbour
          Jason Hastain
          Jason Hornbuckle
          Jason Klump
          Jason Mciver
          Jason N. Wines
          Jason Van Eck
          Jason Vance MD
          Jason Vance, M.D.
          Jason Wagner
          Jaszleen Rose Nicole More
          Jay Harley
          Jay Kipp
          Jayden Brazell
          Jayeleen Radke
          Jayette Williams
          Jayln N. Smith
          JB McCoy
          JC Shaver
          Jeanine Cartwright
          Jeanine Moore
          Jean-Ive Swan
          Jedidiah Herndon,
          Jeff Ellis
          Jeff Horton
          Jeff Scarberry
          Jeff Scott
          Jeff, Mary (Owner)
          Jeffers, Joseph Robert; Rose Mary Jeffers; Kaylee Nevaeh Lynn Jeffers; Laycee Kae
          Avalon Jeffers
          Jeffery Button
          Jeffrey Crummy
          Jeffrey Funkhouser
          Jeffrey Garrison
          Jeffrey Merrill
          Jeffrey Smith
          Jeffrey Van Eck
          Jeffrey Young
          Jennah Penrod
          Jennifer Allbers




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          Jennifer An
          Jennifer Clement
          Jennifer Dew
          Jennifer Dickinson
          Jennifer Johnson
          Jennifer Makin
          Jennifer Nichols
          Jennifer Pompati
          Jennifer Risley
          Jennifer Saevke
          Jennifer Stearns
          Jennifer Stidham
          Jennifer Stringer
          Jennifer Weiler-Lindberg
          Jennings, Christopher E., Jennings, Roxanne E. Individually And As Trustees Of The
          Christopher E.
          Jenny Crabtree
          Jenny Gravage
          Jenny Hutton
          Jeremiah Reyes
          Jeremy Puckett
          Jeremy Virgil Peck
          Jeri Sadegi (Adams)
          Jerod Himmist
          Jerry Bright
          Jerry Engelbrite
          Jerry Frinzell
          Jerry Lee Boone dba CC Custom Auto Specialist
          Jerry M. Kirkland
          Jerry Mendez
          Jerry Mikolja
          Jerry Rozycki
          Jerry Zollo
          Jesamin Flores
          Jessamy Cartwright
          Jesse Arnold
          Jesse Connolly
          Jesse Connolly, et al. v. Pacific Gas and Electric Company, et al., Case No. CGC-18-
          563946;
          Jessica Amundson
          Jessica Ann Williams
          Jessica Bates
          Jessica Brinson
          Jessica Eckles
          Jessica Eggleston
          Jessica Garrett




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          Jessica Harris
          Jessica Marie Ulrich
          Jessica Olah
          Jessica Stevens
          Jessica Thompson
          Jessie Kay Hinerman
          Jessie McCallum
          Jessie Smith
          Jesus Mendoza,
          Jesus, Parisah Nichole
          Jetton, Tim Howard
          Jian Li Kun
          Jianhua Tian
          Jill Abbiati
          Jill Greslie
          Jill Spooner
          Jim Huddleston
          Jim Kain
          Jim Pitcock
          Jim Porter
          Jimmy Payne Jr.,
          Joan Baptist
          Joan Beeman
          Joan Etcheverry
          Joanne Carlson
          Joanne Hansen
          Joanne Lougaris
          Joanne Snyder
          Jocy Williams
          Jodi World
          Joel Felice
          Joel Sycks
          Joel Wylder
          Joey Palomar
          Johanna N. Sweigart
          John Barrie
          John Barry Ludlow
          John Eric Lozano
          John Fendley
          John Foster
          John Foutz
          John Guzman
          John Hawk
          John Jagger
          John Jenkins
          John Klepps




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          John Klingenfuss
          John Lozano
          John Machado
          John Mccord
          John Moran
          John P. Martin III
          John Peck
          John R. Baker
          John Robert Orr
          John Skotvold
          John Tammaro
          John Williams
          John Yates
          John, Dolly Katherine
          Johnnie Burns
          Johnny Duran
          Johnny Smith
          Johns, Patrick
          Johns, Sharon
          Johnson, Brian John (Packet is David Johnson, Administrator for the Estate of Brian J.
          Johnson)
          Johnson, Ken Evan
          Jon Reek
          Jon Williams
          Jonathan Bujor
          Jonathan Frankum
          Jonathan Hanasab
          Jonathan Reavis
          Jonathan Whittington-Brown
          Jones, Mary
          Jonni Dungan
          Jonnie Roberson
          Jordan Jolly
          Jordan Smoots
          Jose Amaya
          Jose Antonio Hernandez
          Jose Mario Avila
          Jose Mata
          Jose Orlando Arevalo Iraheta,
          Jose Silvestre Trejo
          Jose Torres
          Joseph Barnes
          Joseph Brolliar
          Joseph Cardoza
          Joseph Chandler
          Joseph Flores




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          Joseph Garfield
          Joseph Gu1Ffra
          Joseph Johnson
          Joseph Kimmel
          Joseph Miles Earley III
          Joseph Moralli
          Joseph Morgan Jr.
          Joseph Phillips
          Joseph Romano
          Josephine Abeyta
          Joses-Minehart, Leanne Kaye
          Josette Hoag
          Josh Van Eck
          Joshua Blumlein
          Joshua Chastain
          Joshua Murphy
          Joshua Pitruzzello
          Joshua Stillman, D.D.S.
          Joshua Trostle
          Jost, Neil
          Joy L. Klackle
          Joy L. Madrid
          Joyce Carver
          Joyce McClean
          Juan Gayton
          Juan Lopez
          Juan Zertuche
          Juarez, Berancio
          Judd Williams
          Judith A. Smith
          Judith Ann Ellwood
          Judith Coffey
          Judith Miller
          Judith Moran
          Judith Soto
          Judy Floyd
          Judy Kramer
          Judy Simmons
          Judy Weddle
          Julia Herndon,
          Julianne Fisher
          Julie Gonzalez
          Julie Holiter
          Julie Turner
          Julie Zabel
          June Schreiber




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          Justice Lamar Cowen
          Justin Desantis
          Justin Hunt MD
          Justin Hunt MD Inc.
          Justin Keillor
          Justin Liska
          Justin Petersen
          Justin Ueda
          Justin Wagner
          Justine Horning
          Kacie Coulombe
          Kaila Isaacson
          Kaitlyn Mason
          Kaleiqua Bornhill
          Kamryn A. Olvera
          Karen Audronis
          Karen Brown
          Karen Diane Konietzny, indiv. and on behalf of The Robin's Nest
          Karen Goldsmith individually and successor in interest to the Estate of Owen Goldsmith
          and, Stephanie Mathes, representative of the Estate of Owen Goldsmith
          Karen Gowins
          Karen Graham
          Karen Hordienko
          Karen Lee
          Karen Louise (Individually and Dba Wiebe Electric)
          Karen Mata
          Karen Moras
          Karen Neel
          Karen Pierce
          Karen Ricca
          Karen Roberds
          Karen S. Thurman
          Kariann Collins
          Karina Hordienko
          Karl Frenzel
          Karpathia Herzbrun
          Karr, Farnum
          Kate McDonald
          Kate Townsend
          Katharine Mclaughlin
          Katherine Joan Taylor
          Katherine Rodriguez
          Katherine Soudan
          Katherine Wells
          Kathleen Bruce
          Kathleen Carter




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          Kathleen Dysert
          Kathlena Schnurr
          Kathryn Orlando
          Kathy Tyler
          Katie Gillen
          Katie Lynn Castillo
          Katrina Hornbuckle
          Kaur, Birinder
          Kayla Greenleaf
          Kayla Simmons
          Kayla Snow
          Kaylee Nevaeh Lynn Jeffers
          Kaytee Griffis
          Kc Easter
          Keillor's Pest Solutions
          Keith Farris
          Keith Hall
          Keith O. Ancar
          Keith Rowley
          Keith Stoller
          Keith, Melton Ray, Jr.
          Kellie Roseman
          Kelly Brewer
          Kelly Cody-Mooney
          Kelly Jones
          Kelly Perkins
          Kelly, Debra
          Kemper Independence Insurance Company
          Ken Brow
          Ken Henderson
          Ken O'Neal
          Kenneth Boston
          Kenneth Dugan
          Kenneth Gillen
          Kenneth Mosby
          Kenneth Sevenns
          Kenneth Smith
          Kenneth Turner
          Kenneth Welker
          Kenneth Wolfe
          Kent Garcia
          Kerry Neufeld
          KES Kingsburg, L.P
          Kevin Burnett
          Kevin Hall
          Kevin Locke




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          Kevin Mckay
          Kevin Regan
          Kevin Sheridan
          Kevin Stein
          Kieley Ricker
          Killion, Electra L.
          KILN/RPS
          Kim Dennis
          Kim Hastain
          Kim Katherine Bonini
          Kim Potstada
          Kim Ream
          Kim Rose
          Kim Shaw
          Kimberly Bowden
          Kimberly Brolliar
          Kimberly Holbrook
          Kimberly Monhead
          Kimberly Stough
          Kimberly Wines
          Kirk Trostle
          Knaus, Paul D.; Clara Lakin Knaus; Nicholas Lakin Knaus; David Lakin Knaus
          Knowles, Barbara
          Knowles, Barbara Diane as trustee of the Barbara Knowles 2003 Separate Property Trust
          Kody Rodgers
          Konietzny, William J.
          Kopic, Cheryl A. As Successor In Interest To The Estate Of Jeanette L. Gwerder; As
          Trustee Of The Jeanette L. Gwerder Trust November 16, 2017
          Kora Dobson
          Korin B. Baber
          Kory Haymond
          Koshi Charvet
          Kovach, Carol Anne
          Kovach, John Alexander
          Kraig Michael Kemp
          Kristen Schreiber
          Kristi Ackley
          Kristin Marada
          Kristina Wuslich;
          Kristopher Kearns
          Krystle Young
          Kurt Klackle
          Kurt Mayer
          Kurt Stough
          Kyle (Amerman)
          Kyle Cowan




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          Kyle Crosley
          Kyle Gartner
          Kyle King
          Kyle Lopea
          Kyle Lopea, Jr.
          Kyle March
          Kylie Clarinda Strawn
          Laci Aileen Ping
          Lacy King
          Lames, Carlos
          Lance Gilpin
          Lance Ludington, M.D.
          Landavazo, Francisco, Jr. (Joses)
          Landavazo, Ricardo (Norfolk)
          Landmark American Insurance Company
          Landon Thomspon-Wright
          Landry, Kim Irene
          Lanelle Smith
          Lanette Perry
          Lang Giu Li
          Lara Balas
          Lara Hernandez
          Larry Correia
          Larry Harper
          Larry Stewart Jr.
          Larry Van Deutekem
          Larsen, Gregory
          Larsen, Jacqueline
          Latisha Liptrap
          Laura Elias-Calles
          Laura Gibson
          Laura McMaster
          Laura Powell Hanley
          Laura Smith
          Laura Sutfin
          Lauren Kenyon
          Lauren P. Funk
          Laurence Brown
          Lauretta White
          Lauri D. Snyder
          Lauri Miller
          Laurie E. Talevich
          Laurie Pillsbury
          Lavagnino, Shari
          Lavagnino, Shari L.
          Lavonne Marie (Ancar)




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          Lawrence Brown
          Lawrence Pring
          Lawrence Rudick
          Lawrence Townsend
          Lawson, Heidi L.
          Laycee Kae Avalon Jeffers
          Lazzeri, Richard
          Leah Rogers
          Leandro August
          Ledia Watkins
          Lee A. Fickes
          Lee Martin
          Lee, Janet H.
          Lefler, Sahara (through GAL Felicity Morton) (Coleman)
          Leigh Bailey
          Leininger, Chloe (Minors, By and Through Their Guardian Ad Litem Genesis Leininger)
          Leininger, Genesis
          Leininger, Steve
          Leininger, Steven (Minors, By and Through Their Guardian Ad Litem Genesis
          Leininger)
          Leland C. Dineen
          Lenay Lucier
          Leon Baptist
          Leona Skaggs
          Leonard Fallscheer
          Leroy Bolander
          Leroy Howard
          Leslie Bell
          Leslie Brian Mccoslin
          Leslie Bultema
          Leslie C. Kaulum
          Leslie Farinias
          Leslie Mead
          Leslie Moore
          Lessaos, Janet, individually and as successor in interest for Chris Fulton (Campbell)
          Lester Ball
          Lester Kramer
          Leticia Lopes
          Letticia Elam Robles
          Lewis, Dayton, (A Minor, By and Through His Guardian Ad Litem, Breanne Conder)
          Lewis, Timothy C., Sr.
          Lexington Insurance Company
          Li, Alvin
          Liam Thompson
          Liberty Insurance Corporation
          Liberty Mutual Fire Insurance Company




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          Liberty Mutual Insurance Company
          Lida Chase
          Lili Thompson
          Lilia Williams
          Liliana Gaytan
          Lilianna Wright
          Lillian Lazzeri;
          Lillian, Individually and Dba Lazzeri Family Vineyards
          Lilly Amunra
          Lily Frances Castillo
          Lily Rose Elizabeth Porto (related to Elizabeth Beaufils)
          Linda A. Goates
          Linda Ball
          Linda Day
          Linda Garrison
          Linda Haro
          Linda Ida Hart
          Linda J. Barton
          Linda Knowles
          Linda Lefebvre
          Linda McCann
          Linda Miller
          Linda Oaks
          Linda Sake
          Linda Schooling
          Linda Wolff
          Lindalee Hatch
          Lindsay Benson
          Lindsay Hidalgo
          Lindsey Venden
          Link, Kenneth W.
          Lisa Anne Bird
          Lisa Awalt
          Lisa Barnes
          Lisa Bennett
          Lisa Christine Ludlow
          Lisa Delaine Allain
          Lisa Franks
          Lisa Hohenthaner
          Lisa Pierman
          Lisa Reimer
          Lisa Van Norsdall,
          Lisa Vogel
          Lisa Yoshida
          Lisa Yoshida
          Lisa Yoshida




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          Liviu Bujor
          Liza Simms
          Locke, Kevin (Individually, And As Trustees of The Locke 2004 Revocable Trust and
          Representatives of Locke Vineyards)
          Locke, Theresa (Individually, And As Trustees of The Locke 2004 Revocable Trust and
          Representatives of Locke Vineyards)
          Logan Jolly
          Logan West
          Lonnie Walker
          Lonnie Walker, et al. v. Pacific Gas and Electric Company, et al., 18CV03992;
          Looney, Martha
          Lopez, Alejandro
          Lopez, Anthony Rene
          Lopez, Cynthia Ann
          Lopez, Joseph
          Lopez, Melissa Annemarie
          Lopez, Nayella Boe (A Minor, By and Through Her Guardian Ad Litem Anthony Rene
          Lopez)
          Lopez, Rebecca Rochelle
          Lora Ostrom
          Loran Kidd
          Lorenzo Jesus Molina
          Loretta Martin
          Lori D. Miller
          Lori Dugan
          Lori Lee Mccoslin
          Lori Loyd
          Lori Velasco
          Lorraine Faires
          Lorraine Marchant
          Lorraine Mcquilliams
          Lorraine Muhlbaier
          Lorraine Shy
          Lorrie Jordan
          Louis Balsamo III
          Louis Balsamo Jr.
          Louise Cambray-Kyle
          Louise Howell
          Lovecchio, Gianni Kingston Anthony (Minors, By and Through Their Guardian Ad
          Litem Krystal Greenlee)
          Lovecchio, Michael
          Low, Nikko
          Low, Reno
          Low, Savina
          Luanne Powell
          Lubich, Stephen




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          Lucich, Jacob
          Lucille Marshall
          Luddon, James
          Luddon, Leighann Guglielmetti
          Luddon, Riley (A Minor, By and Through His Guardian Ad Litem James Luddon)
          Luft, Carolyn Sue
          Luft, Christine
          Luke Bartow
          Luke Morrow
          Lutzi, Teri Marie (Individually, And As Trustee of The Lutzi 2011 Revocable Trust,
          Under Instrument Dated March 22, 2011)
          Lydia Schrader
          Lyle Hunt
          Lynda Chanel (A Minor, By and Through Her Guardian Ad Litem Rodney Howard
          Conder)
          Lynda Howell
          Lynda Matthews
          Lynda Otten
          Lyndi Kay Jones
          Lynn M. Johnson
          Lynn Wood
          Lynne Grauberger
          Lynne Keerans
          Lynnette March
          M. Aboui Nasser
          Madaline Beeman
          Maddux, Jeremy
          Maddux, Michelle
          Madison Bujor
          Madison Gillen
          Magar, Brandon
          Maili Gibson
          Main, Elizabeth Kay
          Malinallilzin Medina Ocadio
          Malorie Limbaugh
          Malta, Joseph Edward, Jr.
          Mandy Coons
          Mandy Douglas
          Manney, Gail (Renter)
          Manny Knowles
          MAPFRE Insurance Company
          Marc Alan Belon
          Marc Alan Belon
          Marc Alan Belon, et al. v. Pacific Gas and Electric Company, et al., CGC-17-562660;
          Marc D. Rezin
          Marc Thomas




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          Marcel Burns
          Marcel Orbea
          Marcella Velasquez
          Marcella Wilson
          Marcia Wilson
          Marcus Littlejohn
          Marcus Warford
          Marcussen, Della
          Marcussen, Lance Rozier
          Marecak, Scott A.
          Margaret Becker
          Margaret Dupree
          Margaret Estrada
          Margaret McMahon
          Margaret Muto
          Margarete Whitaker
          Margot Van Auken
          Marguerite Lynn Hoekstra
          Marguerite Sheffler
          Marhenke, Mike
          Maria Elena Diaz Doak
          Marianne Kuusisto
          Maribeth Waegner
          Marie Fickert
          Marie-Claire Starr
          Marilyn A. Smith
          Marilyn Barker
          Marilyn Litty
          Marilyn Smith-Tracy
          Marilynn Darlington
          Marionne M. Myers
          Marja Himmist
          Marjorie Maraviov
          Mark Bowman
          Mark Bowman
          Mark Bowman, et al. . Pacific Gas and Electric Company, et al., Case No. CGC-17-
          562661;
          Mark Brockman
          Mark Castelluci
          Mark Dew
          Mark Dolan
          Mark Dornan
          Mark Hansen
          Mark Hidalgo
          Mark Jenne
          Mark Light




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          Mark Manzella
          Mark Muhlbaier
          Mark Orlando
          Mark Presson
          Mark Scalese
          Mark Thompson
          Mark Turner
          Mark Velasquez
          Mark Williams
          Mark Wilson
          Markland, Dacia Renee
          Markland, Jenna Renee (Minors, By and Through Their Guardian Ad Litem Dacia Renee
          Markland)
          Markland, Joshua Ryan (Minors, By and Through Their Guardian Ad Litem Dacia Renee
          Markland)
          Markland, Richard Scott
          Marla Gibson
          Marla Steele
          Marla Steele, et al. v. Pacific Gas and Electric Company, et al., Case No. CGC-18-
          564640;
          Marlene Tuthill
          Marlyn Jenvey Baker Stark
          Marquez Greene
          Marsha Harlan
          Marshall, Judith
          Marshall, Nicoy M.
          Marshall, Robert
          Martha Besseghini
          Martha Lamberts
          Martha Low
          Martin Farrell-Araque,
          Martin, Amanda Rheanne
          Martin, Davie Allan
          Martin, Dustin Hervey
          Martin, George Merriell
          Martin, Michael
          Martin, Nadine Aderhold (Individually, And As Trustee of The Martin Family Trust,
          Dated 7-22-99, and As Representative Of The Estate Of Gene Douglas Martin)
          Martin, Nina Lavonne
          Martin, Robert G (related to Dalton, Helen and Shamberger, Ryan)
          Martinez, Anthony D., as trustees of The Martinez Family Trust
          Martinez, Jacob
          Martinez, Paul T. as trustee of The Martinez Family Trust
          Marwan Jaradah
          Mary Ann Christine Etter
          Mary Ball




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          Mary Bauer
          Mary Bauer, et al. v. Pacific Gas and Electric Company, et al., Case No. CGC-18-
          563953;
          Mary Brown
          Mary Denise Ancar
          Mary Edith Gowins
          Mary Gray
          Mary Jo Palmer
          Mary K. Morrison
          Mary K. Morrison, et al. v. Pacific Gas and Electric Company, et al., 18CV04083;
          Mary K. Riley
          Mary Kirk
          Mary Knowles
          Mary Nieland
          Mary Nordskog
          Mary Sharon Saunders
          Mary Turner
          Mary Walters
          Mary Whitlock
          Marybeth Guzman
          Mason A. Wood
          Mason, Ken
          Mason, Lynn
          Massachusetts Bay Insurance Company
          Mata, Corina Rose
          Mathes, Stephanie, individually and successor in interest to the Estate of Owen
          Goldsmith and, Stephanie Mathes, representative of the Estate of Owen Goldsmith
          Mathew Buxton
          Mathew H. Phillips
          Matt Paine
          Matthew Alcover
          Matthew Ball
          Matthew Becerril
          Matthew Bowden
          Matthew Chauvin
          Matthew Cookson
          Matthew Crummy
          Matthew Guerra
          Matthew John Plourd
          Matthew Lochner
          Matthew Pesqueira
          Matthew Rowney
          Matthews, Timothy
          Maureen Garcia
          Maureen Steward
          Mauro Reveles




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          Max M. Montellano,
          Maxine Christian
           Maxine Derington
          Maxine Wong
          Maxum Indemnity Company
          Mayra Acosta
          McBride, Kathleen
          McBride, Teresa
          McCarthy, Gregory
          McCartney, Brady Shea Thomas
          McCartney, Philip (As President and Representative of Mokelumne Hill Sanitary
          District)
          McCartney, Philip James
          McCartney, Rebecca Ann
          McClellan, Raven C.
          McCluskey, Erin Holmes
          McCluskey, Linda Holmes (Individually And As Trustee Of The Patrick Francis
          McCluskey And Linda Holmes McCluskey Truist, And Through Erin Holmes
          McCluskey, Their Power Of Attomey Dated January 13,2016)
          McCluskey, Patrick Francis (Individually And As Trustee Of The Patrick Francis
          McCluskey And Linda Holmes McCluskey Truist, And Through Erin Holmes
          McCluskey, Their Power Of Attomey Dated January 13,2016)
          McCombs, Michael Lee (Individually and As Trustee of The Mike And Patti McCombs
          2011 Revocable Trust)
          McCombs, Patricia Ann (Individually and As Trustee of The Mike And Patti McCombs
          2011 Revocable Trust)
          McCreery, Robert, individually and as trustees of the Robert and Susan McCreert Family
          Trust
          McCreery, Susan, individually and as trustees of the Robert and Susan McCreert Family
          Trust
          McCuen, Trenton
          McGrew, Shanda
          McKinney, Michael James (Individually, And As Agents of Flicker Oaks LLC and
          Flicker Oaks LLC, A California Limited Liability Company)
          McKinney, Stephanie Barshear (Individually, And As Agents of Flicker Oaks LLC and
          Flicker Oaks LLC, A California Limited Liability Company)
          McMillan, Michelle Lee
          McMillan, Troy Allen
          McMurtry, Judy Alison
          McSweeney, Anne Shirley
          Medina, Abel
          Mee Forbes
          Megan (Barretto)
          Megan Boone
          MEgan Brown
          Megan Heric




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          Megan Osbourn
          Megan Wise
          Mehrizi Properties LLC
          Meiring, Robert Lawrence
          Meiring, Roberta Ann
          Melanie Crook
          Melanie Richisen
          Melba Donnell
          Melissa Bujor
          Melissa Lucas
          Melissa Myers
          Mendocino County
          Mercado, Ernesto
          Mercury Casualty Company
          Merlin Hembel
          Metro Direct Property & Casualty Insurance Company
          Metropolitan Direct Property & Casualty Insurance Company
          Metropolitan Property and Casualty Insurance Company
          Mey Saechao
          Meyer, Frank H.
          Michael (Barretto)
          Michael Applebaum
          Michael B. Zachwieja
          Michael Barrett
          Michael Benedict
          Michael Bitker
          Michael Brooks
          Michael Brown
          Michael Buck
          Michael Caldwell
          Michael Charvel
          Michael Charvet
          Michael Clemens
          Michael D. Snyder
          Michael DeFrietas
          Michael Delzell
          Michael Erickson
          Michael Faires
          Michael Garcia
          Michael Genna
          Michael Graham
          Michael Hill
          Michael Hoaglund
          Michael Hohenthaner
          Michael Karol
          Michael Krzanich




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          Michael Lakin Knaus
          Michael Lamberts
          Michael Larmore
          Michael Lozano
          Michael Lunsford
          Michael Marroquin,
          Michael McCann
          Michael McDonald
          Michael Medeiros
          Michael Miller
          Michael Moody
          Michael Moore
          Michael Moretta
          Michael Olah
          Michael Osbourn
          Michael Pillsbury
          Michael Pulliam
          Michael Ramey
          Michael Ramey & Associates Inc.
          Michael Renwick
          Michael Ryan
          Michael Schulte
          Michael Silpan
          Michael Slightom
          Michael Southwick
          Michael Stipe
          Michael Thiede
          Michael Tipton
          Michael Tracy
          Michael Wildman
          Michael Wood
          Michele Aguilar
          Michele Aguilar v. Pacific Gas and Electric Company, et al., 19CV00332
          Michele Gremillion
          Michele Petit
          Michelle Becerril
          Michelle Cousino
          Michelle Digiordano
          Michelle Dupree
          Michelle Holmes
          Michelle Mcnamar
          Michelle Powers
          Michelle Rae Wilson
          Michelle Rose Nelson
          Michelle Springsteen
          Michelle Wine




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          Mid-Century Insurance Company
          Miguel Gallardo
          Miguel Haro
          Miguel Jimenez
          Mike Clement
          Mike Danilov
          Mike Kelly
          Mike Williams
          Mildred Jane Alexander
          Miles Berdache Lynk
          Miles Corbin
          Miles Eckart III
          Milet, Carol Jean
          Milet, Carol Jean As Trustee Of The Carolyn J. Milet Revocable Trust
          Miley Hutchinson
          Miley, Erin Gayle
          Miley, Norman Lafayette, Jr.
          Miller, Deborah Laurie (Individually, And As Agents Of Flicker Oaks LLC and Flicker
          Oaks LLC, A California Limited Liability Company)
          Miller, Gary Lee
          Miller, Joan Marie
          Miller, Mariah Sierra Theodora
          Miller, Marian Janeel
          Miller, Michael
          Miller, Patrick
          Millet, Carolyn J. (as trustee of the Carolyn J. Millet Revocable Trust)
          Mills, Tonja
          Milton Graham
          Minehart, Colton Matthew Joses (A Minor, By And Through His Guardian Ad Litem
          Leanne Kaye Joses-Minehart)
          Minehart, Courtney Matthew
          Minehart, Keifer Cole Joses
          Minor Jordan Allen Tucker through GAL Jacqueline Leann Craig Tucker
          Minor Preslie Leann Tucker through GAL Jacqueline Leann Craig Tucker
          Miranda Gaebel
          Miriah Williams
          Miroslav Vujic
          Misty Dalla-Thomas
          Misty Wadzeck
          Mitchell Manley
          Mitti Miller
          Mohammed, Amir
          Mojave Solar LLC
          Mokelumne Hill Sanitary District
          Moldovan, Richard
          Molly Morbeto




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          Monic Ilharreguy
          Monica Ballejos
          Monica Brinkman
          Monique Gurlue-Gallegos
          Monique Jaasma
          Monteith, Raymond
          Monteith, Roberta
          Monterey Insurance Company
          Moore, John Cody
          Morgan, Lynda Kathleen (As Administrator And Successor In Interest Of The Estate Of
          Gloria Louallen Morgan) (Ashton)
          Morgan, Lynda Kathleen (Joses)
          Moria Favors
          Morning Star Group Enterprises, LLC (As Doing Business As Hotel Leger)
          Morton, Felicity (Armstrong)
          Mountain Ranch Community Club, a California non-profit corporation
          Mullen, Scott
          Mullen, Stephanie
          Mundale, Pamela S. (As Trustees of The Peter F. Pamela S. Mundale Living Trust 2016)
          Mundale, Peter F. (As Trustees of The Peter F. Pamela S. Mundale Living Trust 2016)
          Murello, Christopher
          Murello, Evelyn
          Murissa Rogers
          Murray Creek Ranch Homeowners Association, Inc.
          Muschalek, Franklin H., Jr.
          Muschalek, Franklin H., Jr. (trustee)
          Mychel Jeffrey
          Myles Harland
          Naify, Jennifer Elizabeth
          Najat Medway
          Nanc Sawyer
          Nancy Castillo
          Nancy Ellis
          Nancy Hansen
          Nancy Hubbard
          Nancy Owens
          Nancy Seals
          Nancy Silvera
          Naomi Ballejos
          Napa County’
          Natale Lima
          Natalia Padilla
          Natalie Chupil
          Natalie Gaytan
          Natalie Wyatt
          Nate Garrison




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          Nathan Bravo
          Nathan Deal
          Nathan Nine
          Nathan Towers
          Nathan, Randall; Calaveras Creek LLC; Rosaire Properties, Inc.; Tap Wine Systems, Inc.
          (Norfolk); Weinstein, Sidney (Individually, And As A Representative Of Pauline's Pizza)
          (Joses)
          Nathaniel Risley
          National Casualty Company
          National Fire Insurance of Hartford
          National General Insurance Company
          National Surety Corporation
          National Union Fire Insurance Company of Pittsburgh, PA
          Nationwide Affinity Insurance Company
          Nationwide Agribusiness Insurance Company
          Nationwide Agribusiness Insurance-Naic
          Nationwide General Insurance Company
          Nationwide Indemnity Company
          Nationwide Insurance Comp Any Of America
          Nationwide Insurance Company of America
          Nationwide Joint Underwriting
          Nationwide Lloyds Insurance Company
          Nationwide Mutual Fire Insurance Company
          Nationwide Mutual Insurance Company
          Nationwide Property & Casualty Insurance Comp Any
          Nautilus Insurance Company
          Neatia Ducommun
          Nedra Dudkowski
          Nedra Vandergrift
          Needels, Nicole
          Nelson, Tonia Michele
          Nelson, Tonia Michele (As Trustee Of The Tonia M. Nelson Revocable Trust)
          Nessler Jr., Ronald Jacob (possible dup, or possible Jr./Sr.)
          Netta Berkenstock
          Neva Rodrigues
          Nevada Capital Insurance Company
          New Cingular Wireless PCS, LLC
          New Hampshire Insurance Company
          New York Marine & General Insurance company
          NextEra Energy, Inc.
          Nicholas Abeyta
          Nicholas Grimm
          Nicholas Grimm, et al. v. Pacific Gas and Electric Company, et al., Case No. CGC-18-
          563949;
          Nicholas Lakin Knaus
          Nicholas Sklenar-Brown




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          Nichole Barchus
          Nichole Jolly
          Nichole Shelton
          Nichols, Travis
          Nick Battaglia
          Nick Miniello (Plaintiff)
          Nicolas Robinson
          Nicole Aguilera
          Nicole Donato
          Nicole Greener
          Nicole Quesada
          Nicole Ritza
          Niebur, Chelsea M. (Individually, And As Trustee Of The Chris Niebur Trust Dated
          2011)
          Nielsen, Fletcher
          Nihal Hordagoda
          Nikita Bosnell
          Nikki Jo Smith
          Nikki Mae Roberts
          Noah Edwards
          Noble, William
          Noel Perez
          Nonprofits Insurance Alliance Of California
          Norcal Wireless, Inc.
          Norma Medina
          Norma V. Kast
          Norman, Bailey, minor, by and through their guardian ad litema Marissa Earl; Earl,
          Brandon Leslie
          Norman, Clay Daniel
          Norman, Grant
          Norman, Hudson Skylar, minors by and through (Minors, By And Through Their
          Guardian Ad Litem, Amanda Michelle Calderon)
          Norman, Kinsley, minor, by and through their guardian ad litema Marissa Earl; Earl,
          Brandon Leslie
          North Light Specialty Insurance Company
          Northland Insurance
          Norwood, Adam O'neal
          Norwood, Amanda Mary
          Norwood, David Betcher
          Norwood, Grace Lillian
          Norwood, Mary Crowley
          Nosanow, Todd Israel
          Novae 2007 Syndicate
          Nowhere Ranch Co
          Nunn, Edwin Lawrence




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          Nunn, Sheila Jane (Individually And As Trustees Of The Edwin Lawrence Nunn And
          Shelia Jane Nunn Revocable Trust)
          Ohio Security Insurance Company
          Oliver Conoly
          Olivia Bujor
          Olivia Dawn Chauvin
          Omar Elkhechen
          O'Neal, Brian Keith
          O'Neal, Janet Lynn
          Oney Carrell
          Ong, Rebecca Cherie
          Ora Elizabeth Weaver
          Oregon Mutual Insurance Company
          Orr, Cathie Childress
          Orr, Greta
          Orville Stephen Gray
          Oster, Katherine
          Oviatt, Marsha
          Oviatt, Nevin W.
          Pacific Bell Telephone Company
          Pacific Property and Casualty Company
          Pacific Specialty Insurance Company
          Paden, Marjorie
          Paden, Michael
          Page, Aaron Michael Carnahan (A Minor, By And Through His Guardian Ad Litem
          Michael Steven Page)
          Page, Michael Steven
          Pagtakhan, Fatima Luceia Bonotan
          Paige Jannett
          Pam Thronton
          Pamela Bailey
          Pamela Cox
          Pamela Garrison
          Pamela K. Muschalek
          Pamela K. Muschalek (trustee)
          Pamela Steed
          Pamela Watson
          Paradise Gas & Food Inc.
          Paradise Lens Lab LLC
          Paradise Medical Group Inc.
          Paradise Medical Group PC
          Paradise Moose Lodge
          Pares, Rylan Michael (Minors, By And Through Their Guardian Ad Litem, Kaitlyn
          Rochelle Ramirez)
          Pargett, Ronald
          Parker, Silas Daniel




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          Parker, Tracey
          Patricia Bradley
          Patricia Brewer
          Patricia Bright
          Patricia Davy
          Patricia Decker
          Patricia Garrison
          Patricia Gee
          Patricia J. Clark-Aris
          Patricia K. Sollars
          Patricia Kelley
          Patricia Q. Wickes
          Patricia Robinson
          Patricia Rold
          Patricia Smith
          Patricia Wenner
          Patrick Garrett
          Patrick Konzen
          Patrick McCann
          Patrick Mirabelli
          Patrick Moody
          Patsy Ueda
          Patty Humphrey
          Patty Littlejohn
          Paul Arnold
          Paul Bowen
          Paul Brackett
          Paul Farsai
          Paul Gloeden
          Paul Kemblowski
          Paul Opper
          Paul Stavish
          Paula Anne Lucas
          Paula Tyler
          Paulette Goupil
          Pauline Hohenthaner
          Pauline Pearson
          Paulsen, Linda Kim
          Paulson, Audrey
          Paulson, Bruce
          Peddy, Bruce V.
          Peek, Christopher, individually and as trustees of the Presley Peek Trust
          Peek, Estate of Presley
          Peerless Indemnity Insurance Company
          Peerless Insurance Company
          Peggy Ann Hall




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          Peggy Evanson
          Peggy Ricketts
          Pena, Martha
          Penny Darby
          Permanent General Assurance Corporation
          Perry, Grant
          Peter Gorniak
          Petersen, Joseph
          Petersen, Nancy
          Philadelphia Indemnity Insurance Company
          Phillip Torres
          Philpotts, Debra
          Phulps, Alan Covington
          Pierce, Isis
          Pieri, Jesse
          Pigeon, Monica S.
          Pisanelli, Elizabeth
          Piyawan Thompson
          Plunkett, Tim Joe
          Polk, Rick L.
          Polk, Terri L.
          Ponderosa Pest & Weed Control
          Porter, Alfiea
          Porto, Leon Michael
          Powers, Robert Wayne, II
          Prabhjot Singh, individually and dba Stop & Shop
          Praetorian Insurance Company
          Pratt, Andrew Macfarlane (Ashton)
          Pratt, Charles Fletcher
          Price, Chablee Nicole
          Priscilla A. White
          Privilege Underwriters Reciprocal Exchange
          Progressive Casualty Insurance Company
          Progressive Direct Insurance Company
          Progressive Express Insurance Company
          Progressive Select Insurance Company
          Progressive West Insurance Company
          Property & Casualty Ins. Company of Hartford
          Property and Casualty Insurance Company of Hartford
          Public Employees Retirement Association of New Mexico
          QBE European Operations
          QBE Insurance Corporation
          QBE Specialty Insurance Company
          Queen, Rosemarie
          Quiana Taylor
          Quiroz, Cecilia




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          Rachel Branch
          Rachel Robinson
          Rader, Lorita R.
          Raeann Baer
          Raeanna Butts-King
          Raini Maddan
          Ramirez, Benjamin Shane
          Ramirez, Draven Hunter
          Ramirez, Kaitlyn Rochelle
          Ramona Leavitt
          Ramona Maxwell
          Randal Ahlswede
          Randall Parkerson
          Randy Hall
          Ratha Wilson
          Ray Burton
          Ray LeLoup;
          Ray McCoshum
          Ray, Joe Robert (As Trustees Of The Life Estate Of Octavia Huntly)
          Ray, Joe Robert; Ray, Octavia; Ray, Stanley
          Ray, Laura J. (Amerman)
          Ray, Octavia
          Ray, Octavia Renee (As Trustees Of The Life Estate Of Octavia Huntly)
          Ray, Stanley
          Raymond Beeman
          Raymond Imbro
          Raymond Moreno Rios
          Raymond Semanisin
          Raymundo, Brendan
          Rayne, Ellory (minor claimant)
          Rayne, Jan
          Raz Shaffel
          RC Copiers
          Re, Armando Ruben
          Re, Michael Armand
          Rebeca Cobb
          Rebecca Anne Parker
          Rebecca Bausch
          Rebecca Bausch, et al. v. Pacific Gas and Electric Company, et al., 18CV03839;
          Rebecca Dodson
          Rebecca Guereque
          Rebecca Harvey-Rutz
          Rebecca Kennon
          Reeves, Anita(Individually And As Trustees Of The Loren And Anita Reeves Living
          Trust)
          Reeves, Loren




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          Regent Insurance Company
          Regie Elizabeth Greywolf
          Regina Pickett
          Regis Graham
          Renee Hall
          Renee Moore
          Rennels, Sue (Corey Danko filed adoption complaint)
          Rennels, Sue Denise
          Reno Besseghini
          Residence Mutual Insurance Company
          Reynosa, David
          Reynosa, Eve
          Rezentes, Lawrence Thomas
          Rhea Douville
          Rhodes, James Tyler
          Rhonda Roberts
          Rich Gulch Ranch Inc.
          Rich Soudan
          Richard Arthur Lucich
          Richard Berdache Lynk
          Richard Brinkman
          Richard Byer
          Richard Costa
          Richard Eckman
          Richard Foster
          Richard Heffern
          Richard Homem
          Richard Kolodziejczk
          Richard Kyle
          Richard L. Gowins
          Richard Seaton
          Richard Skala
          Richard Stark
          Richard Talley
          Richard Tally
          Richard Thorp, M.D.
          Richard Turner
          Richard V. Maule
          Richard Whitaker
          Richmond, Jack D. (Estate of) (Barretto)
          Richmond, Pamela, as Owner and Devisee of Jack Richmond, Deceased
          Richmond, Sharon (Ancar)
          Ricky Caspray
          Ricky Rodriguez
          Rita Bell
          Rita Morarji




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          Rita Serra
          Robert Beall
          Robert Becker
          Robert Bell
          Robert Bieghler
          Robert Brandenburg
          Robert Brereton
          Robert Brown
          Robert Broyles
          Robert Bucher
          Robert Bucher, et al. v. Pacific Gas and Electric Company, et al., Case No. CGC-18-
          564639;
          Robert C. Bruce
          Robert Carter
          Robert Castillo Harding
          Robert Charles Hooton
          Robert Choate
          Robert Collier
          Robert Cruz,
          Robert Davy
          Robert Dayne Adams
          Robert E. (Amerman)
          Robert Eldridge
          Robert F. Kast
          Robert Fickert
          Robert Forbes
          Robert Himmist
          Robert Horvatich
          Robert Kirby
          Robert Lowry
          Robert Mederos
          Robert Miller
          Robert Modell
          Robert Nichols
          Robert O'Hearn
          Robert Phillips
          Robert Postolka
          Robert Richardson
          Robert Rippner
          Robert Sheridan
          Robert Simmons
          Robert Skelton
          Robert Sweet
          Robert Taylor
          Robert Thompson
          Robert Wagoner




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          Robert Walsh
          Robert Williams
          Roberta Mcneill
          Roberto Sanchez Quintero
          Roberts, Elizabeth Anne
          Robertson, Cristy Noel
          Robertson, Heidi Yavone
          Robertson, James William
          Robertson, Lawrence William
          Robertson, Nadine Selma
          Robin Gurule
          Robin Moore
          Robin Muto
          Robin Reek
          Robinson, Benjamin
          Rock, Richard Lawrence (As Representatives Of The Murray Creek Homeowners
          Association)
          Rod Franchi
          Rodney Rold
          Rofkahr, Jaime E.
          Rofkahr, Kenneth R.
          Roger Martinez
          Roger Otten
          Roland R. Miller
          Romano, Michael Thomas Jr. as trustee of the Michael T. Romano Jr., dated August 5,
          2014
          Ron Harris
          Ron Moras
          Ron Vaillancourt
          Ronald Batin, M.D.
          Ronald Bottini
          Ronald Cunningham
          Ronald Hogan
          Ronald Lassonde
          Ronald Matz
          Ronald Parker
          Ronald Perry
          Ronald S. Batin, M.D., Inc.
          Ronald Shea
          Rory Benedict
          Rory Hall
          Rosaire Properties, Inc.
          Rosalie Hunter
          Rose Jacob
          Rose Mary Jeffers
          Rose Telucci-Skotvold




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          Rose, Julie
          Rose, Ronald
          Roseanna Ramirez
          Rosemary J. Redmond
          Ross Smith
          Roxane Criger
          Roxanne Doty
          Roxanne E. Jennings Family Trust Dated March 22, 2018
          Roy West
          Rozita Karimi
          RSUI Indemnity Company
          Ruby Foster
          Rufus Mazimillon Haywoo,
          Rummerfield, Eric Eugene, Sr.
          Rummerfield, Erika Francine
          Rummerfield, Harold (Minors, By And Through Their Guardian Ad Litem, Harold James
          Rummerfield)
          Rummerfield, Harold James
          Rummerfield, Joyce Louise
          Rummerfield, Raquel
          Rummerfield, Shanelle (Minors, By And Through Their Guardian Ad Litem, Harold
          James Rummerfield)
          Russell Wright III
          Russett, Kenneth
          Ruth Jensen
          Ruth Magin
          Ruth Yates
          Ruthrauff, Eric Marion
          Ruthrauff, Kimberley Jean
          Ruthrauff, Makayla Nicole
          Ruthrauff, Taylor Rives (A Minor, By And Through His Guardian Ad Litem, Kimberley
          Jean Ruthrauff)
          Ryan Backstrom
          Ryan Barnett
          Ryan McCann
          Ryan Nickel
          Ryan Petit
          Ryan Pine
          Ryan Worthington
          Saavedra, Luis
          Saavedra, Rosa
          Sabelberg, Lori
          Sabelberg, Steven
          Sabin, Loana
          Sabin, Raymond
          Sabrina Rose Pfenning




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          Sachs, Chelsea
          Sachs, Jonah
          Sadegi, Barry
          Sadegi, Barry (Barretto)
          Sadegi, James
          Sadegi, Jeri
          Sadek, Michael G. (Individually And As Trustee Of The Michael G. Sadek Trust)
          Sadler, Deborah C.
          Saeed Movehed
          Safeco Insurance Company of America
          Safeco Insurance Company Of Illinois
          Sakura Charvet
          Sally Thorp
          Saltzer, Samuel
          Sam Ahad
          Sam Colman
          Samantha Kleaver
          Samantha Storgaard
          Samuel Worsham
          Sanchez-Thom, Sandra (Joses)
          Sandoval, Cierra Jean (related to Ray, Joe)
          Sandoval, Daniel David
          Sandoval, Mayra
          Sandra Bennett
          Sandra Brugger
          Sandra Burdick
          Sandra Crabtree
          Sandra Dillard
          Sandra Hoff
          Sandra Kidd
          Sandra Lindberg
          Sanfilippo, Joel
          Santens, Brian
          Santens, James
          Santens, Mark William
          Sara Collins
          Sara Hill
          Sara Moore
          Sara Robinson
          Sarah Brockman
          Sarah Collins
          Sarah Evans
          Sarah Garcia
          Sarah Lakin Knaus
          Sarah Mcfarland
          Sarah Quinton




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          Satwant Kaur Malitotra
          Scarlett Marie Frankum
          Schaller, Martin John
          Schmidt, Kristine L.
          Schmidt, Kyle Hart
          Schubert, Ronald Gerhart (As Representatives Of The Murray Creek Homeowners
          Association)
          Schugart, John Raymond
          Schulz, Robert
          Schunzel, John Paul
          Schunzel, Tami Lynn
          Scobee, Craig
          Scott Gray
          Scott Muhlbaier
          Scott Norman
          Scott Petersen
          Scott Rippee
          Scott Shaw, individually and dba Scott Shaw Painting
          Scott Will
          Scott, Robert A.
          Scottsdale Indemnity Company
          Scottsdale Insurance Company
          Scottsdale Surplus Lines Insurance Company
          Sean Ballard
          Sean Beckett
          Sean Bowers
          Sean Hileman
          Sean McFarland
          Sean Reek
          Sean Turner
          Seay, Robert
          Security National Insurance Company
          Sedona Haymond
          Seikoh Newton
          Sentinel Insurance Company
          Sentinel Insurance Company, LTD.
          Sentry Insurance A Mutual Company
          Sentry Select Insurance Company Universal North America
          Sequoia Insurance Company
          Serena Hiticas
          Seronello, Michael co owner w separately named Borgedalen, Darren Shelley, Norma
          Seth Mallory
          Shada Cable
          Shamberger, Ryan D. (related to Martin, Robert)
          Shane Brecheisen
          Shane Knowles




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          Shane Lavigne
          Shannon Crosley
          Shannon Hill
          Shannon Kathleen Cowen
          Shannon Lairol
          Shannon Mccann
          Sharalyn Dee Armstrong
          Sharen Mcgowan
          Shari Bernacett
          Sharlene Potter
          Sharon Albaugh Pargett
          Sharon Barrett
          Sharon Britt
          Sharon Brown
          Sharon L. Jones
          Sharon Ward
          Sharon Williams
          Sharron Holinsworth
          Sharron Turner
          Shauna Goody
          Shavon Schmidt
          Shawn Martin
          Shawn Page
          Shawn Rippner
          Shawna Hudson-Strock
          Shawna Lopez
          Shawnee Hutton
          Shayna Spielman
          Sheila Leblanc
          Sheila Mccarthy
          Shelby Boston
          Shelby Thomas
          Shelley Woods-Peace
          Shelly White
          Sheri Darden
          Sherri Gardner
          Sherri Pena
          Sherri Quammen
          Sherrie M. Crawford
          Sherry Brown
          Sherry Edington
          Sherry Pritchett
          Sheryl Almburg
          Shin Lee Cobble As Attorney-In-Fact For Ok Ja Baek
          Shinkle, Robert L. (Ancar)
          Shinkle, Shelley G. (Amerman)




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          Shirlena Dobrich
          Shirley Baumann
          Shirley Bothwell
          Shirley Tubolin
          Shona Smith
          Shortal, Joseph Dean
          Shusuke Bender
          Sieck, David Gwynne
          Sieretas, Cheyanne
          Sierra Cascade Properties LLC
          Sierra Rowney
          Sierra Williams
          Silvas, Leonard James (Joses)
          Singer, Daniel W. (Individually, And As Trustee of The Daniel W. Singer 2004 Separate
          Property Trust
          Singh, Baljit (A Minor, By And Through His Guardian Ad Litem, Surjit Singh)
          Singh, Charanjit
          Singh, Surjit
          Singleton Law Firm fire victim claimants
          Skyler Ann Dawn Bell
          Slayter, Cordelia Rose
          Slayter, David Lee
          Small, Richard H. (Individually and As Trustee Of The Cordova Small Family Trust)
          Smiley, Tabbetha Jean
          Smith, Barbara (Bobbie)
          Smith, Debra
          Smith, Desirae Alyse
          Smith, Gerald (Larry)
          Smith, Glenn Maurice
          Smith, Jay R.
          Smith, Kimberly Ann
          Smith, Paula Ray
          Smith, Scott Ryan
          Soares, Arthur E., Jr.
          Soares, Dianne
          Solar, Joseph
          Solinsky, Peter; individually and as trustees of the Solinsky Family Trust
          Solinsky, Virginia; individually and as trustees of the Solinsky Family Trust
          Solski, Judy M. (Individually And As Trustees Of The Ronald W. Solski And Judy M.
          Solski 1999 Revocable Trust)
          Solski, Ronald W.
          Sonoma County Agricultural Preservation and Open Space District
          Sonoma County Community Development Commission
          Sonoma County Water Agency
          Sonoma Valley County Sanitation District
          Sophia Lopez




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          Soracco, Genelle M. (Joses)
          Soracco, Sam L.
          Soracco, Vinnie Samuel, (A Minor, By And Through His Guardian Ad Litem, Gennelle
          M. Soracco) (Ashton)
          Southern Exposure Wellness (CA Corp)
          Sparks, Kevin
          Sparks, Marni
          Sparks, Spencer
          Sprayberry, Sangchan
          Squires, Courtney
          Squires, Karson T. (A Minor, By And Through His Guardian Ad Litem Courtney
          Squires)
          St Paul Fire And Marine
          Staaterman, Robert Alan;
          Staaterman, Robyn Susan
          Stacy B. Phillips
          Stacy DeFrietas
          Stafford, William Samuel (Norfolk)
          Standard Guaranty Insurance Company
          Stanley Curtis
          Stanley Miller
          Starr Surplus Lines Insurance Company
          State Farm General Insurance Company
          State Farm Mutual Automible Insurance Company
          Steadfast Insurance Company
          Steck, Paul
          Steck, Paul R.
          Steck, Trinia R.(As Trustee Of The Steck Trust)
          Stephani Thompson
          Stephanie A. McCoy
          Stephanie Cockrell
          Stephanie Dillard dba CC Custom Auto Specialist
          Stephanie Hargrave
          Stephanie Johnson
          Stephanie Mccary
          Stephanie Modena
          Stephanie Uuzza
          Stephanie Van Eck
          Stephanie Waggener
          Stephanie Wilt
          Stephen Clifford
          Stephen Gentile
          Stephen Marada
          Stephen McArthur
          Stephen Vergara
          Steve Cherma




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          Steve Deuble
          Steve Lambach
          Steve Matthews
          Steve Thomson
          Steve Waterman
          Steve Wilson
          Steven A, minors, by and through their Guardian ad litem(guardian not listed on
          complaint)
          Steven Anglin
          Steven Cox
          Steven Dobrich
          Steven Karlin
          Steven Lee
          Steven Mcfarland
          Steven Moore
          Steven Wiener
          Stevens, Eva
          Stevens, Magdalena Nichole
          Stevens, Richard Paul (Individually, And As Trustees Of The Richard Paul Stevens
          Living Trust Utd 7-28-08)
          Stevens, Richard Paul, Jr. (Individually, And As Trustees Of The Richard Paul Stevens
          Living Trust Utd 7-28-08)
          Stewart, Jolene
          Stewart, Karen Ann
          Steyer, Gregory Carl
          Stillwater Insurance Company
          Stillwater Property & Casualty Insurance Company
          Stollenwerk, Brett Paul
          Stollenwerk, Franchesca Elizabeth
          Stone, Daren Mitchell
          Stone, Kathie
          Stoney King
          Stoughton, Carlos (Individually, And As Trustees Of The John and Maria Stoughton
          Family Trust)
          Stoughton, John (Individually, And As Trustees Of The John and Maria Stoughton
          Family Trust)
          Stoughton, Maria Cleofas (Individually, And As Trustees Of The John and Maria
          Stoughton Family Trust)
          Stover, Lyndyn (Minors, By And Through Their Guardian Ad Litem, Miranda Clemons)
          Strickland, Andrew (Minors, By And Through Their Guardian Ad Litem Erika Francine
          Rummerfield)
          Stuart Bannister
          Stuart Glass
          Stuart Langford




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          Stump, Donald Wayne (Individually, And As Trustees of The Stump 1993 Revocable
          Trust and Representatives of Hathaway Holdings, LLC as Doing Business As Joma's
          Artisan Ice Cream)
          Stump, Joann (Individually, And As Trustees of The Stump 1993 Revocable Trust and
          Representatives of Hathaway Holdings, LLC as Doing Business As Joma's Artisan Ice
          Cream)
          Sue Ann Iott
          Suffle, Jennie
          Sui King Fong
          Sullivan Ellis
          Sullivan, Serene Star
          Summer Harley
          Sunshine Hang
          Susan Charvel
          Susan Coulombe
          Susan Fife
          Susan Hauptman
          Susan Huge
          Susan Jane Delacruz
          Susan Lang
          Susan Mallory
          Susan McDaniel
          Susan Miller
          Susan Moeckel
          Susan Moeckel
          Susan Moeckel, et al. v. Pacific Gas and Electric Company, et al., Case No. CGC-18-
          564643
          Susan Shirley
          Susan Smith
          Susan Spencer
          Susan Thomas;
          Susan Wolheim
          Sutton, Krista Corinne
          Suzanne Cramton
          Suzanne Frank
          Suzanne Hauptman
          Suzanne M. Carrington
          Suzanne Reeves
          Suzanne Winchester
          Suzie Dukes
          Sweet Corn Properties LLC
          Sweet Corn Properties, LLC (Ancar)
          Swift-Franklin, Kathy Sue
          Sybil E. Cody
          Sydney Zimmerman
          Sylvia Arnott




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          Sylvia Clevenger
          Sylvia Kay
          T & L Automotive Enterprises, LLC
          Takara, Darrell (Ashton)
          Takara, Tari (Joses)
          Talley, Michael
          Tallia, Jack
          Tallia, Jack (As Doing Business as Sunset Automotive)
          Tallia, Jason
          Tamara Buckles
          Tamara Ludington
          Tamara Lynch
          Tamara Roberts
          Tamara Smith
          Tambra Van Dyke
          Tamera Harrah
          Tami Coleman
          Tamika Jones
          Tammy Foutz
          Tammy Parker
          Tammy Spirlock
          Tamra Gray
          Tamra Medley
          Tamra South
          Tana Russell
          Tanessa Egan
          Tanforan Industrial Park, LLC,
          Tanya Jenkins
          Tanya Swearinger- Duarte
          Tap Wine Systems, Inc. (Norfolk)
          Tarbat, Christopher James
          Taunya Shilling
          Taylor, Abigail Neveah (Minors, By And Through Their Guardian Ad Litem Celene Ann
          Taylor)
          Taylor, Celene Ann
          Taylor, Charlotte Adele (A Minor, By And Through Her Guardian Ad Litem Erica Marie
          Bettencourt)
          Teal Mangrum
          Technology Insurance Company, Inc.
          Ted Hingst
          Teela Baker
          Teresa Cronin
          Teresa Medina
          Terese Bellamy
          Teri Lee Hoenig
          Terrence Korton




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          Terri Brooks
          Terri King
          Terrie Bannister
          Terrie Wolfe
          Terry Moore
          Terry Olwell
          Terry Rhine
          Testa Environmental Corporation, a California corporation (Bayer)
          Testa, Lydia
          Testa, Stephen (Armstrong)
          The Annie Sierra Curtis Trust
          The Brown Revocable Trust, With Donald M. Brown
          The Brown Revocable Trust, With Jill C. Brown, Trustee
          The Dentists Insurance Company
          The North River Insurance
          The Northfield Insurance Co.
          The Ohio Casualty Insurance Company
          The Outhouse Collection, LLC
          The Standard Fire Insurance Company
          The Travelers Home And Marine Insurance Company
          The Travelers Indemnity Company
          The Travelers Indemnity Company Of America
          Theis, Keeli
          Theresa Kereazis-Page
          Theresa Rivera
          Thiago Orozco
          Thom, Alyssa (Ashton)
          Thom, Carol
          Thom, Rebecca
          Thom, Wallace V.
          Thomas A. McCoy
          Thomas Atkinson
          Thomas Bernard Oliver
          Thomas Castro
          Thomas Cremer
          Thomas Frank
          Thomas Gardner
          Thomas L. Decker
          Thomas Morris
          Thomas Nalley
          Thomas Solors
          Thomas Taylor
          Thomas Vandergrift
          Thomas, Becky Lynn
          Thomas, Julie (through GAL Marc Thomas) (Coleman)




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          Thomas, Julie Ann (A Minor, By And Through Her Guardian Ad Litem, Marc Michael
          Thomas)
          Thomas, Marc M.
          Thomas, Marc Michael
          Thomas, Shirley
          Thomas, Susan K. (Rush)
          Thomas, Susan Kirby
          Thomas, Thomas Robert
          Thompson, James A. & Joanne H.
          Thompson, Joanne H.
          Thorne, Martin Brenia
          Thornton, Cherill (Norfolk)
          Thornton, Ross Labar (Joses)
          Those Certain Underwriters Subscribing To Policy No. 16K71094D As Subrogee Of
          Charlotte Mize Lee
          Those Certain Underwriters Subscribing To Policy No. Amr-5293702 As Subrogee Of
          Thayer Lodging Group
          Those Certain Underwriters Subscribing To Policy No. B1230Ap01428A17-20197 As
          Subrogee Of Stephen D. Peat/Janesco Ent.
          Those Certain Underwriters Subscribing To Policy No. B1230Ap01428A17-
          31424/916775 As Subrogee Of Denise S. Hamm
          Those Certain Underwriters Subscribing To Policy No. Buhv02036 As Subrogee Of Paul
          Machle, Kathleen Jordan, James Cummings, and Julia Jordan
          Those Certain Underwriters Subscribing To Policy No. Cbb654517 As Subrogee Of Joan
          Fausett And Edith Perez
          Those Certain Underwriters Subscribing To Policy No. Csn0000995 As Subrogee Of
          Hudson Vineyards/Hudson Wines LLC
          Those Certain Underwriters Subscribing To Policy No. Hvh11164 As Subrogee Of John
          And Kimberly Zopfi
          Those Certain Underwriters Subscribing To Policy No. Hvh11180 As Subrogee Of Ali
          And Sharon Khadjeh
          Those Certain Underwriters Subscribing To Policy No. Hvh11201 As Subrogee Of
          Eugenia G And Michael R Carter
          Those Certain Underwriters Subscribing To Policy No. Hvh11206 As Subrogee Of James
          And Linda Yust
          Those Certain Underwriters Subscribing To Policy No. Hvh11294 As Subrogee Of
          Raymond And Emily Conway
          Those Certain Underwriters Subscribing To Policy No. Hvh11330 As Subrogee Of David
          Traversi
          Those Certain Underwriters Subscribing To Policy No. Hvh11374 As Subrogee Of James
          Caldwell And Jan E. Mcfarland
          Those Certain Underwriters Subscribing To Policy No. Hvh11413 As Subrogee Of Henry
          Kane
          Those Certain Underwriters Subscribing To Policy No. Pc900-155395 As Subrogee Of
          Gary And Nancy Trippeer




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          Those Certain Underwriters Subscribing To Policy No. Pc900-155620 As Subrogee Of
          Robert And Karla Gitlin, and Julia MacNeil
          Those Certain Underwriters Subscribing To Policy No. Pha034S16Aa As Subrogee Of
          Marissa L. Bartalotti
          Those Certain Underwriters Subscribing To Policy No. Pha034S17Aa As Subrogee Of
          Mark Smith
          Those Certain Underwriters Subscribing To Policy No. Pj1700047Ab As Subrogee Of
          California Joint Powers Risk Management Authority (City Of Santa Rosa)
          Those Certain Underwriters Subscribing To Policy No. Pj1700047Ac As Subrogee Of
          California Joint Powers Risk Management Authority (City Of Vallejo)
          Those Certain Underwriters Subscribing To Policy No. Prpna1701248 As Subrogee Of
          Starwood Capital Group Lp
          Those Certain Underwriters Subscribing To Policy No. Ptnam1701313/010 As Subrogee
          Of Ashford Inc.
          Those Certain Underwriters Subscribing To Policy No. Rpsf23067 As Subrogee Of
          Comeragh LLC
          Those Certain Underwriters Subscribing To Policy No. Rpsf23127 As Subrogee Of
          Richard Sutherland
          Those Certain Underwriters Subscribing To Policy No. Rpsf56389 As Subrogee Of
          Debora Davis
          Those Certain Underwriters Subscribing To Policy No. Rpsf56456 As Subrogee Of
          Nancy Fae Sideris And Nancy Sideris Living Trust
          Those Certain Underwriters Subscribing To Policy No. Rpsf56570 As Subrogee Of Ali
          And Sharon Khadjeh
          Those Certain Underwriters Subscribing To Policy No. Rpsf57020 As Subrogee Of Peter
          And Janice Lucia
          Those Certain Underwriters Subscribing To Policy No. Vb0464554Rs As Subrogee Of
          Martha Simon And Joe Marino
          Those Certain Underwriters Subscribing To Policy No. Vb0465075R4 As Subrogee Of
          Victor Thay 2009 Revocable Trust
          Those Certain Underwriters Subscribing To Policy No. Vbx616918 As Subrogee Of Nils
          Welin
          Those Certain Underwriters Subscribing To Policy No.Prpna1701498 As Subrogee Of
          Atrium Holding Company/Sonoma Hilton
          Those Certain Underwriters Subscribing To Policy SO174466801
          Tiffany Elizabath Fassett
          Tiffany Garrison
          Tiffany Keyes
          Tiffany Pagtulingan,
          Tiffany Slightom
          Tiffany Sloan
          Tiger Natural Gas, Inc.,
          Tim Harper
          Tim Shurtliff
          Timm, Gerald
          Timm, Shelly (Joses 1st Amended)




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          Timm, Travis (Underhill)
          Timothy Arnott
          Timothy C. Morrison
          Timothy Depuy
          Timothy Wilkinson
          Tina Smith
          Tison Gray
          Todd Boyd
          Todd Dailey
          Todd Swagerty
          Tokio Marine Kiln, London
          Tom Coffee
          Tom Okerlund
          Tom Reinert
          Tommy D. Barrett
          Tommy Wehe
          Tone, Lottie
          Tonja Genna
          Tony Candelieri
          Tony Dover
          Tony Magree
          Tonya Calhoon
          Tonya Hays
          Topa Insurance Company
          Torri Jones
          Tosha Adams
          Tower Select Insurance Company
          Tracy James
          Tracy Petit
          Tracy Riffel
          Tramel, James Ellison (Adams)
          Transportation Insurance Company
          Travelers Casualty Insurance Company of America
          Travelers Commercial Insurance Company
          Travelers Indemnity Company of Connecticut
          Travelers Indemnity of CT
          Travelers Insurance Company of America
          Travelers Property Casualty Company of America
          Travelers Property Casualty Insurance Company
          Travis Gee
          Travis Grosse
          Travis Martin, minor through GAL Shannon Baird-Martin
          Travis Quinton
          Trent Schuckman
          Trevor Brolliar
          Trevor Hughes




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          Trevor Mcwilliams
          Trevor Nixon
          Tri-Flame Propane Inc.
          Trimble, Tyler Austin (Minors, By And Through Their Guardian Ad Litem Dacia Renee
          Markland)
          Trina Bowers
          Trinity Sky Cronin
          Trisha Floyd
          Triston Brewer
          Troy Dodson
          Troy Hobden
          Truck Insurance Exchange
          Trueman, Darren (Burriss)
          Trumbull Insurance Company
          Tuck, Jane Lenore
          Tuck, Jerry Neal
          Tucker, Jacqueline Leanne Craig
          Tudor Insurance Company
          Turinni, Karen
          Twin City Fire Insurance Company
          Tyler Johnson
          Tyler West
          Tyler, Richard
          Tyson M. Bode
          U.S. Attorneys - Office San Francisco
          Ubrun, Elizabeth Ann
          Ubrun, Paul Henry
          Unigard Insurance Company
          United Financial Casualty Company
          United Fire & Casualty Company
          United National Insurance Company
          United Services Automobile Association
          Untied States Fire Insurance Company
          Upstart Publishing Inc.
          USAA Casualty Insurance Company
          USAA General Indemnity Company and Garrison Property
          Val.Erie Bishop
          Valarie Susnow
          Valdez, Shaina Eveningstar
          Valerie Pring
          Vallery, Van & Mercedes (Emilio Emebrad)
          Valley Forge Insurance Company
          Valyanda Goble
          Van Au Duong
          Van Kimmell Hauer
          Van Over, Cheryl Ann




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          Vance Marquez
          Vance, John Leroy (Vance not included in demand)
          Vanessa Smith
          Vanessa Stark
          Vanessa Stewart
          Vang, Mai
          Vanover, Gilbert J.
          Vantage Wind Energy LLC
          Vasconcellos, Steven
          Velez, Rande
          Velvet Knowles
          Vera Kay Pearson
          Vicki Davis
          Vicki Will
          Vickie Perez
          Vickie Redmond
          Vickie VanScyoc
          Victor Pugh
          Victor Rodriguez
          Victoria Borders
          Victoria Fowler
          Victoria I. Heishman
          Victoria Insurance Company
          Victoria Laub
          Victoria Rose
          Victoria Vorpagel
          Vidal Cisneros
          Vigilant Insurance Company
          Vikki Tuck
          Viloria, Cristina
          Vincent Lucich
          Vincent Ramirez
          Violet Ahad
          Violet Rose
          Virginia Bruns
          Virginia Gibbons
          Virginia McAlister-Vaillancourt
          Vishal Mahindru
          Vivian Warren
          Vollmer's Home Repair
          Voss, Rebecca Ann
          Voyager Indemnity Insurance Company
          Vrismo, Casey
          Wagner, Tamara Jan
          Walker, Allyson (Amerman)
          Walker, James W. (Adams)




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          Wallace, Belinda J.
          Wallace, Vicki
          Walls, Cheryl L.
          Walter Charles Hoekstra Dba Berryblest Farm Dba Berryblest Organic Farm
          Walter Gallentine
          Walter Heard
          Walter Mentz
          Walters, Brian
          Warren Kayser
          Warren's Expert Spa Repair
          Wawanesa General Insurance
          Wawanesa General Insurance Company
          Wayne Brown
          Wayne Charvel
          Wayne Medley
          Wayne Reek
          Wayne Smith
          Wayne Ward
          Webb, Charles Benjamin
          Weinstein, Sidney (As A Representative Of Pauline's Pizza) (Joses)
          Weinstein, Sidney (Individually)
          Weldy, Dennis James
          Wendy Cromwell
          Wendy Le Master
          Wendy Limbaugh
          Wendy Lozano
          Wenger, Michael Doug
          Wesco Insurance Company
          Wesley Bentley
          Wesley Wagoner
          West American Insurance Company
          Westchester Fire Insurance Company
          Westchester Surplus Lines Insurance Company
          Western Heritage Insurance Company
          Western Mutual Insurance Company
          Western World Insurance Company
          Westfell, John
          Weston Kohler
          Westport Insurance Corporation
          Whiskey Slide Investment Group, LLC
          White, Thomas
          Whitfield, George
          Wick, Richard George (Individually And As Trustee Of The Richard George Wick
          Revocable Trust)
          Wiebe, Mark Jason and Boyd
          Wiegel, Debra Lee




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          Willcox, Peggy Lee
          William (Bill) Leonard Craig
          William A. Cody
          William Blevins
          William Butler
          William Crossley
          William Dreyer
          William E. Stevens
          William Flores
          William Hopper
          William Hunt
          William James Wingo
          William Kirk
          William Klump
          William Lakin Knaus
          William Lee
          William Lewin
          William M. Morrison
          William Martin
          William Mcspadden
          William Michael Peoples
          William Moore
          William Mowrey
          William Tronson
          William Yarletz
          Williams, Bonnie Sue
          Williams, Dean Lee
          Williams, Patricia Ann
          Williams, Richard Allen
          Williams, Timothy
          Willow Springs Solar 3, LLC
          Wilma "Sue" Scoggin
          Wilson, Jonathan
          Wilson, Marianne
          Wilson, Rosemary
          Wilson, Wesley Scott
          Wingard, Kimberly
          Wingo, Rhonda
          Winkler, Charlene (Individually, and As Trustee of the Charlene Winkler Family Trust)
          Winn, Don (Individually, and As Trustees of the Winn Family Trust Dated 6-2-99)
          Winn, Linda (Individually, and As Trustees of the Winn Family Trust Dated 6-2-99)
          WLM Construction, Inc.
          Wnorowski, Jonathan W.
          Wolters, John Gilbert
          Wong, Hing Chung Alerxander
          Wong, Sau Chun Ida




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          Wrede, Kyle Vincent
          Wrede, Makalya Jean
          Wrede, Vincent James (Minors, by and through Their Guardian Ad Litem Makalya Jean
          Wrede) (Makayla and Ethan Goble not on Demand)
          Wuslich, Kristina
          Wuslich, Kristina Anne
          Xiong, Macy Yang
          Xiong, Maila
          Xiong, Mike
          XL Insurance America, Inc.
          Yan Chu
          Yancy Beratlis
          Yang Zhang
          Yang-Fei Zhang
          Yasmin Hauenstein
          Yetter, Eula Jane (related to Joe Robert Ray)
          Yi Ya
          Yong Sook Kim (Amerman)
          Young, David
          Young, Marilyn
          Youngblood, Allen Scott
          Youngblood, Larry Blake
          Yuki Bender
          Yvonne Capineri
          Zachary Boston
          Zachary Havey
          Zachary Rodgers
          Zachary Sciacca
          Zahniser, Albert
          Zenaida Villarin
          Zenith Insurance Company
          Zhong Huang
          Ziegler, Sonya Rose
          Zollo, Anthony
          Zurich American Insurance Company

Ad Hoc Committee of Unsecured Tort Claimant Creditors – Professionals and Members
      Baker & Hostetler LLP
      Development Specialists, Inc.
      DLA Piper LLP (US)
      Lincoln Partners Advisors LLC
      Angeion Group, LLC

Ad Hoc Committee of Holders of Trade Claims
      Gibson, Dunn & Crutcher LLP

Ad Hoc California Public Entites Commieett (updated by ECF 4570)



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          Lamb & Kawakami LLP
          County of Alameda
          County of Calaveras
          County of El Dorado
          County of El Dorado
          County of Fresno
          County of Madera
          County of Marin
          County of Mariposa
          County of Monterey
          County of San Benito
          County of San Joaquin
          County of San Luis Obispo
          County of Santa Cruz
          County of Sonoma
          County of Stanislaus
          County of Tulare
          County of Tuolumne
          County of Yolo




Fee Examiner and Professionals
      Bruce A. Markell, the duly appointed Fee Examiner
      Scott H. McNutt


          Tort Claimants Members
          Agajanian, Inc. c/o Gary Agajanian
          Angela Loo
          GER Hospitality, LLC
          Gregory Wilson
          Karen K. Gowins
          Karen Lockhart
          Kirk Trostle
          Richard Heffern
          Samuel Maxwell
          Susan Slocum
          Wagner Family Wines-Caymus Vineyards c/o Michael T. Carlson
          Tommy Wehe

Non-Debtors Professionals
      3D-Forensic
      Adam Kochanski
      Analytic Focus LLC



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          Atmospheric Data Solutions LLC
          B. Don Russell Consulting Engineer, LLC
          Bartholomew Associates, Inc.
          Business Intelligence Solutions LLC (dba BI Solutions, LLC)
          Capitol Advocacy, LLC
          Cardno, Inc.
          Clarence Dyer & Cohen LLP
          Complete Discovery Source Inc
          Economic Research Services, Inc. (dba ERS Group)
          Evergreen Arborists Consultants, Inc.
          Exponent, Inc.
          Fire Cause Analysis
          FTI Consulting, Inc.
          Iron Mountain
          J. Frank Associates, LLC (dba Joele Frank, Wilkinson Brimmer Katcher)
          John Ashford (dba The Hawthorn Group)
          Kineticorp
          Latham & Watkins LLP
          Lighthouse Public Affairs, LLC
          M J Bradley & Associates LLC
          MacNair & Associates
          McDermott, Will & Emery LLP
          Milbak Tweed Hadley & McCloy LLP (Milbank LLP)
          Nielsen, Merksamer, Parrinello, Gross & Leoni, LLP
          Parker Fire Services
          Pasich LLP
          Paul, Weiss, Rifkind, Wharton & Garrison LLP
          Pavement Engineering Inc.
          PricewaterhouseCoopers LLP
          Proskauer Rose LLP
          Quanta Technology
          Richard T. Nagaoka
          Ropes & Gray LLP
          Rothschild
          Russo Miller & Associates (dba Miller Strategies LLC)
          S2C Pacific LLC
          SCN Public Relations (dba SCN Strategies)
          Simpson Thacher & Bartlett
          Steven Maviglio (dba Forza Communications LLC)
          Storefront Political Media
          Stroock & Stroock & Lavan LLP
          TeamBuilders, Inc (dba Aerial Services)
          The Stanton Park Group
          Veritext Corp (dba Sarnoff Court Reporters or Western Regional Headquarters)
          Washington Forestry Consultants, Inc.
          Wilmer Hale




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          Wilson Sonsini Goodrich & Rosati, P.C.
          Akin, Gump, Strauss Hauer & Feld LLP
          Perella Weinberg


Official Committee of Unsecured Creditors Committee – Professionals and Members
        Axiom Advisors
        BOKF, as indenture trustee under the unsecured notes indentures
        Centerview Partners LLC's
        Deutsche Bank National Trust Company and
        Deutsche Bank Trust Company Americas
        Epiq Corporate Restructuring, LLC
        FTI Consulting
        G4S Secure Solutions (USA) Inc. and G4S Secure Integration LLC
        International Brotherhood of Electrical Workers, Local 1245
        Milbank, Tweed, Hadley & McCloy LLP (Milbank LLP)
        NextEra Energy
        Pension Benefit Guaranty Corporation
        Roebbelen Contracting
        The Davey Tree Expert Company, Davey Tree Surgery Company, and DRG, Inc.
        Western Asset Management Company

Retiree Claimants
       Agerter, Linda
       Alexander, Beverly
       Anderson, Barry David
       Angalakutai, Mallikarjun
       Austin, Karen
       Baker, Chris
       Bar-Lev, Joshua
       Basgal, Ophelia
       Becker, James Richard
       Bedwell, Ed
       Bhattacharya, Shankar (Shan)
       Boren, Thomas Garner
       Bottorff, Thomas Edward
       Brennan, Jean Frances
       Burt, Helen
       Butler, Jeff
       Callaway III, Lee
       Campbell, Walter Lee
       Carter, Glen E.
       Clare, David
       Clark, John
       Clifton, George F. Jr.
       Conway, John T.




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          Corippo, Peter
          Crossley, Shawn
          Cunningham, Russell H.
          Dasso, Kevin John
          Draeger, Anita Loree
          Earley, Anthony F. Jr.
          Everett, Leslie Hart
          Fitzpatrick, Tim
          Flynn, Roger James
          Fong, Katheryn M.
          Fujimoto, Warren H.
          Garcia, Ronald Craig
          Gibson, Daniel Eugene
          Golden, Patrick G.
          Golub, Howard V.
          Hapner, DeAnn (go by Dede)
          Harper, William H. III
          Harris, Robert L.
          Hartman, Sanford L.
          Harvey, Jeanne Walker
          Harvey, Kent Michael
          Hayes, Kathleen
          Hayes, William D.
          Higa, Patricia
          Hinds, Jacqueline Rene
          Howard, Robert T.
          Howe, James
          Jackson, Russell M. (Russ)
          Janis, Megan Smith
          Jenkins-Stark, John
          Jeung, Garrett (Gary)
          Johnson, Manly Kirk
          Johnson, Mark S.
          Jonas, Junona A.
          Katz, Michael
          Keenan, John S.
          Kennady, Donald L.
          Keyser, John Charles
          King, Thomas B.
          Klimczak, Rickard L.
          Kline, Steven L.
          Knapp, Kevin
          LaRue, R Jack Jr.
          Lee, Evelyn Ching
          Lipscomb, Robert Cyrus
          Lipson, Merek Evan




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          Livingston, Randal S
          Long, Thomas C.
          Macias, Edward (Jim) James
          Martinez, Placido J.
          Mayekawa, Douglas W.
          Meko, Michael D.
          Moller, David W.
          Morrow, William Thomas
          Oatley, David Herbert
          Peters , Roger James
          Pope, James Henry
          Pruett, Greg S.
          Randolph, James Kay
          Rayburn, Stephen
          Regan, Frank
          Risser, Roland Jonathan
          Rueger, Gregory Michael
          Salas, Edward A.
          Shiffer, Esther
          Shiffer, Margaret
          Skinner, Stanley T.
          Smith, Gordon Ray
          Stanley, Brent
          Stavropoulos, Nickolas
          Steel, Brian
          Togneri, Gabe
          Torres, Albert Frank
          Townsend, Martha J.
          Wallace, William Henry
          Whelan, Steven
          Williams, Joseph T.
          Willrich, Mason
          Womack, Lawrence
          Worthington, Bruce Robert
          Yura, Jane K.

Counsel to Ad Hoc Group of Subrogation Claim Holders
      Diemer & Wei, LLP
      Willkie Farr & Gallagher LLP

Subrogation Claimants
ACE American Insurance Company (collectively, the "Chubb Group").
Advent Underwriting Ltd.
AIG Europe Limited
Allianz Global Corporate & Specialty
Allied World Assurance Company
Allstate Insurance Company and certain affiliates



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Alternative Insurance Corporation
American General Insurance Company dba ANPAC General Insurance Company
Certain affiliates of American International Group, Inc. (“AIG”):
     AIG Europe Limited
     AIG Property Casualty Company
     AIG Specialty Insurance Company
     American Home Assurance Company
     Granite State Insurance Company
     The Insurance Company of the State of Pennsylvania
     Lexington Insurance Company
     National Union Fire Insurance Company of Pittsburgh, Pa.
     New Hampshire Insurance Company
American Modern Insurance Group
American National Insurance Company
Amica Mutual Insurance Company
AmTrust North America
AmTrust Syndicate 1206
Arch Specialty Insurance Company
ArgoGlobal London
Armed Forces Insurance Exchange
ASI Select Insurance Corp.
Ascot Underwriting Limited
Aspen Insurance
Aspen Specialty Insurance Company
Assurant Group of Carriers
       American Bankers Insurance Company
       American Bankers Insurance Company of Florida
       American Security Insurance Company
       Standard Guaranty Insurance Company
       Voyager Indemnity Insurance Company
Attestor Capital LLP
The Baupost Group L.L.C.
Berkley National Insurance Company
Berkley Regional Insurance Company
Berkshire Hathaway Guard Ins.
Berkshire Hathaway Specialty Insurance Company
Brit Global Specialty
California Casualty Indemnity Exchange
California Fair Plan Association
California Insurance Guarantee Association
California Mutual Insurance Company
Century National
Certain Underwriters at Lloyd’s.
Certain Underwriters of Lloyd’s of London Subscribing to Policy No. HTB-002381-002 c/o
Raphael and Associates
Chubb Custom Insurance Company




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Chubb Group:
     Bankers Standard Insurance Company
     Chubb Custom Insurance Company
     Chubb Insurance Company of New Jersey
     Chubb National Insurance Company
     Federal Insurance Company
     Great Northern Insurance Company
     Illinois Union Insurance Company
     Indemnity Insurance Company of North America
     Pacific Indemnity Company;
     Vigilant Insurance Company
     Westchester Fire Insurance Company (Apa)
     ACE American Insurance Company (Chubb)
Church Mutual Insurance
CAN Insurance Company
Continental Casualty Company
Crestmont Insurance Company
United States Fire Insurance Company d/b/a Crum & Forster
Crusader Insurance Company
The Dentists Insurance Company
Electric Insurance Company
Employers Mutual Casualty Company
Endurance American Specialty Insurance Company
Endurance Specialty Insurance Company
Essentia Ins. Co.
Everest Indemnity Insurance Company
Everest National Insurance Company
Certain Affiliates of Farmers Insurance Exchange
Federated Insurance
First American Insurance Company
First Specialty Insurance Corporation
GCube Insurance Services, Inc.
General Security Indemnity Company of Arizona
Generali U.S. Branch
Global Indemnity Group
Grange Insurance Association
Great American Insurance Company and certain affiliates:
     Great American Alliance Insurance Company
     Great American Assurance Company
     Great American E&S Insurance Company.
     Great American Insurance Company
     Great American Insurance Company of New York
     Great American Spirit Insurance Company
Governmental Employees Insurance Company and certain affiliates
GuideOne Insurance
The Hanover Insurance Group




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Hartford Accident & Indemnity Company and certain affiliates:
     Hartford Casualty Insurance Company
     Hartford Fire Insurance Company
     Hartford Underwriters Insurance Company
     HDI Global SE
     Property & Casualty Ins. Company of Hartford
     Sentinel Insurance Company Ltd.
     Trumbull Insurance Company
     Twin City Fire Insurance Company.
HDI Global SE
International Insurance Company of Hannover SE
Ironshore Insurance Ltd.
Ironshore Specialty Insurance Company
KBIC Insurance Company
Kemper Auto Alliance United
Landmark American Insurance Company
Certain affiliates of Liberty Mutual Insurance Company (Liberty)
Liberty Mutual Insurance / Ironshore
Certain Underwriters of Lloyd’s of London, UK Subscribing to Certain Policies
Certain Underwriters of Lloyd’s of London Subscribing to Policy No. HTB-002381-002 c/o
Raphael and Associates
Lloyd’s of London Novae 2007 Syndicate
Mapfre USA
Markel Service Incorporated
     Evanston Insurance Company
     Markel American Insurance Company
     Markel Insurance Company
Maxum Indemnity Company
Maxum Specialty Insurance Group
Mercury Insurance and certain affiliates
Mesa Underwriters Speicialty Insurance Company
Metropolitan Direct Property & Casualty
National Fire & Marine Insurance Company
Nationwide Mutual Insurance Company and certain affiliates
Nautilus Insurance Company
Nonprofits Insurance Alliance
OneBeacon / Atlantic Specialty Ins. Co.
Pacific Specialty Insurance Co.
Pharmacists Mutual Insurance Company
Philadelphia Indemnity Insurance Company
The Princeton Excess and Surplus Lines Insurance Company
The Progressive Corporation
ProSight Specialty Insurance
PURE
PURE Insurance
QBE Americas, Inc.




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Rite Aid Corporation and Thrifty Payless, Inc.
RSUI Group, Inc.
RSUI Indemnity Company
Selective Insurance Company of America
Sentry Select Insurance Company
Star Insurance Company
Starr Insurance Company
Starr Surplus Lines Insurance Company
Starr Technical Risks
State Farm General Insurance Company
State Farm Fire and Casualty Company
State Farm County Mutual Insurance Company of Texas
State Farm Mutual Automobile Insurance Company
Stillwater Insurance Group
Sutter Insurance Company
TLFI Investments, LLC
Tokio Marine American Insurance Company
TOPA Insurance Co.
TPG Sixth Street Partners, LLC
The Travelers Indemnity Company and certain of its property casualty insurance affiliates
     Travelers Casualty Insurance Company of America
     Travelers Commercial Insurance Company
     Travelers Indemnity Company of Connecticut
     Travelers Property Casualty Company of America
     Travelers Property Casualty Insurance Company
     The Travelers Home and Marine Insurance Company
     The Travelers Indemnity Company
     The Travelers Indemnity Company of America
     The Travelers Indemnity Company
     St Paul Fire and Marine
     The Standard Fire Insurance Company
     Fidelity and Guaranty Insurance Underwriters Inc.
     Northland Insurance
     The Northfield Insurance Company
     Constitution State Services, LLC
TWE Insurance Company Pte. Ltd.
United Fire & Casualty Financial Pacific
Certain Affiliates of United Services Automobile Association
     United Services Automobile Association
     USAA Casualty Insurance Company
     USAA General Indemnity Company
     Garrison Property and Casualty Company, and affiliates companies
United Specialty Insurance Company
United States Liability Insurance Company
Tudor Insurance Company and certain affiliates
     Western World Insurance Company




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Velocity Risk Underwriters, LLC
     United Specialty Insurance Company
     Interstate Fire and Casualty Company
     Certain Underwriters at Lloyd's
     Certain Underwriters of Lloyd’s of London
Wawanesa General Insurance Co.
XL America Insurance, Inc.
Zenith American Insurance Company
Zenith Insurance Company
Fairfax Co
Riverstone
Horace Mann Insurance
RSA Insurance Co PLC
Strategic Value Parnters, LLC, acting as agent on behalf of its managed funds and accounts

Counsel to the Ad Hoc Committee of Senior Unsecured Noteholders
      Akin Gump Strauss Hauer & Feld LLP
      Perella Weinberg


Counsel to the Ad Hoc Group of Institutional Par Bondholders
      Proskauer Rose LLP


Claims Representative for Unfiled Fire Claimants
       Wendel Rosen LLP
       Michael G. Kasolas

Ordinary Course Professionals
       Aldrich & Bonnefin, PLC
       Allen Glaessner
       Allen Matkings
       Allen Matkins Leck Gamble Mallory & Natsis LLP
       Alvaradosmith, APC
       Alvardo Smith
       Amanda C. Lewis, Attorney at Law, Inc.
       Archer Norris
       Armbruster Goldsmith & Delvac LLP
       Barg Coffin
       Barg Coffin Lewis & Trapp, LLP
       Boersch Shapiro
       Boersch Shapiro LLP
       Brown Rudnick LLP
       Burke, Williams & Sorenson, LLP
       Castellon & Funderburk, LLP
       Chou Law Group (f/k/a Nakamoto Chou)
       CJG Legal



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          Clarence Dyer & Cohen LLP
          Coblentz Patch
          Coleman, Chavez & Associates LLP
          Cooley
          Cox Castle & Nicholson, LLP
          Danning, Gill, Diamond & Kollitz
          David A. Repka
          Davis Polk & Wardwell LLP
          Day Carter & Murphy LLP
          Dodge
          Ebbin, Moser & Skaggs LLP
          Egoscue Law Group, Inc.
          Ericksen, Arbuthnot, Kilduff, Day & Lindstrom
          Eversheds - Sutherland
          Eversheds Sutherland (US), LLP
          Farella Braun + Martel LLP
          Flesher Schaff & Schroeder, Inc.
          Friedman & Springwater LLP
          Gordon-Creed, Kelley, Holl & Sugerman, LLP
          Gough & Hancock LLP
          Greenberg Traurig, LLP
          Groom Law
          Hanna, Brophy, MacLean, McAleer & Jensen
          Hanson Bridgett LLP
          Harris Wiltshire & Grannis LLP
          Hawke McKeon & Sniscak LLP
          Helena S. Younossi (dba Younossi Law)
          Horvitz & Levy LLP
          Hunton Andrews Kurth LLP
          Hwang Law Group
          J. Drew Page
          Jackson Lewis P.C.
          Jenner & Block LLP
          Jennie Lee
          Jennifer L. Dodge
          Jo Lynn Lambert (dba Lambert Law)
          John H. Kenney
          King & Spalding LP
          Kollitz & Kollitz
          Kronenberg Law, P.C.
          Lambert Law
          Latham & Watkins
          Latham & Watkins LLP
          Law Office of John H. Kenney
          Law Office of Mario A. Moya
          Law Offices of J. Drew Page




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          Law Offices of Jennie L. Lee
          Law Offices of Jennifer L. Dodge Inc.
          Law Offices of Kollitz & Kollitz, LLP
          Law Offices of Lindsey How-Downing
          Law Offices of Lucinda L. Storm, Esq.
          Law Offices of Martha J. Simon
          Law Offices of Michael L. Gallo
          Law Offices of Tamara Gabel
          Lee Law Offices
          Levine, Blaszak, Block & Boothby, LLP
          LimNexus LLP
          Lindsey How-Downing
          Lisa Nicol
          Littler Mendelson, P.C.
          Lucinda L. Storm
          Manatt Phelps
          Martha J. Simon
          Mayer Brown LLP
          McClellan & Corren
          Miller & Chevalier
          Miller Chevalier
          Miller Starr Regalia
          Moya
          Munger Tolles
          Nair & Levin, P.C.
          Nakamoto Chou
          Nielsen Merksamer
          Nielsen Merksamer Parrinello Gross & Leoni LLP
          Nixon Peabody
          Noland, Hamerly, Etienne & Hoss
          Norton RoseFulbright US LLP
          Nossaman LLP
          Opterra Law, Inc.
          Paragon
          Pasich LLP
          Paul Hastings LLP
          Perkins Coie LLP
          Peters, Habib, McKenna, Juhl-Rhodes & Cardoza, LLP
          Pillsbury
          Pillsbury Winthrop Shaw Pittman LLP
          PricewaterhouseCoopers (PWC)
          Quinn & Kronlund, LLP (dba Daniel F. Quinn and Michael C. Kronlund)
          Ralls, Gruber & Niece LLP
          Redgrave
          Redgrave LLP
          Regulatory Law Chambers




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          Rochelle McCullough LLP
          Rovens Lamb LLP
          Roy J. Park, a Professional Law Corporation
          Ryan Mau
          Samuelsen, Gonzalez, Valenzuela & Brown LLP
          Sanchez & Amador LLP
          Sedgwick
          Sheppard, Mullin, Richter & Hampton LLP
          Sidley Austin
          Singer & Watts
          Sinnott, Puebla, Campagne & Curet, APLC
          Stander, Reubens, Thomas, and Kinsey
          Steptoe & Johnson LLP
          Tamara J. Gabel
          Troutman Sanders
          Urrabazo Law, P.C.
          Van Ness Feldman
          Vedder Price P.C.
          Wai & Connor, LLP
          Walsworth WFBM, LLP
          White & Case
          Wilmer Hale
          Wilson Elser Moskowitz Edelman & Dicker LLP
          Winston & Strawn LLP
          Work/Environment Law Group
          Younossi Law
          King & Spalding LLP
          NortonRoseFulbright US LLP
          Perkins Coie LLP
          Rochelle McCullough LLP



Letters of Credit
        California Department of Fish and Game
        California Department of Fish and Wildlife
        CAISO - California Independent System Operator (CAISO)
        California Public Utilities Commission
        California State Water Resources Control
        California Department of Fish and WildLife
        City of Oakland
        Department of Labor
        Natural Gas Exchange
        Port of Oakland
        Port of San Francisco
        San Francisco Port Commission
        Shasta County



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          State Water Resources Control Board

Regulatory and Government
       Alameda County District Attorney - Nancy E. O'Malley
       Alpine County District Attorney - Michael Atwell
       Amador County District Attorney - Todd D. Riebe
       Attorney General for the State of California (Xavier Becerra)
       Butte County District Attorney - Amanda Hopper
       Calaveras County District Attorney - Barbara Yook
       California Air Resources Board
       California Department of Forestry and Fire Protection
       California Department of Insurance
       California Energy Resources Conservation and Development Commission
       California Independent System Operator (CAISO)
       California Public Utilities Commission
       California State Water Resources Control Board
       California Water Board
       Central Coast Board Central Coast Regional Water Quality Control Board
       Central Coast Regional Water Quality Control Board
       City of Santa Rosa
       Colusa County District Attorney - Matthew R. Beauchamp
       Community Choice Aggregator
       Contra Costa County District Attorney - Diana Becton
       Del Norte County District Attorney - Katherine Micks
       Department of Toxic Substances Control
       El Dorado County District Attorney - Vern Pierson
       Environmental Protection Agency
       European Mutual Association for Nuclear Insurance
       Federal Energy Regulatory
       Federal Energy Regulatory Commission (FERC)
       Fresno County District Attorney - Lisa A. Smittcamp
       Glenn County District Attorney - Dwayne R. Stewart
       Humboldt County District Attorney - Maggie Fleming
       Imperial County District Attorney - Gilbert Otero
       Internal Revenue Service
       Inyo County District Attorney - Thomas L. Hardy
       Kern County District Attorney - Lisa Green
       Kings County District Attorney - Keith Fagundes
       Lake County District Attorney - Don A. Anderson
       Lassen County District Attorney - Stacey Montgomery
       Los Angeles County District Attorney - Jackie Lacey
       Madera County District Attorney - David A. Linn
       Marin County District Attorney - Edward Berberian
       Mariposa County District Attorney - Thomas K. Cooke
       Mark Filip, Third Party Monitor
       Mendocino County District Attorney - C. David Eyster




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          Merced County District Attorney - Larry D. Morse
          Modoc County District Attorney - Jordan Funk
          Mono County District Attorney - Tim Kendall
          Monterey County District Attorney - Dean Flippo
          Napa County District Attorney - Allison Haley
          National Transportation Safety Board (NTSB)
          Nevada County District Attorney - Clifford Newell
          Nuclear Decommissioning Cost Triennial Proceeding
          Nuclear Electric Insurance Limited
          Nuclear Regulatory Commission
          Nuclear Regulatory Commission (NRC)
          Orange County District Attorney - Tony Rackauckas
          Pipelines and Hazardous Materials Safety Administrations (part of DOT)
          Placer County District Attorney - R. Scott Owens
          Plumas County District Attorney - David D. Hollister
          Riverside County District Attorney - Mike Hestrin
          Sacramento County District Attorney -Anne Marie Schubert
          Safety and Enforcement Division of the CPUC
          San Benito County District Attorney - Candice Hooper-Mancino
          San Bernardino County District Attorney - Michael A. Ramos
          San Diego County District Attorney - Summer Stephan
          San Francisco County District Attorney - George Gascón
          San Joaquin County District Attorney - Tori Verber Salazar
          San Luis Obispo County District Attorney - Dan Dow
          San Mateo County District Attorney - Stephen M. Wagstaffe
          Santa Barbara County District Attorney - Joyce Dudley
          Santa Clara County District Attorney - Jeffrey F. Rosen
          Santa Cruz County District Attorney - Jeffrey S. Rosell
          Shasta County District Attorney - Stephen S. Carlton
          Sierra County District Attorney - Lawrence Allen
          Siskiyou County District Attorney - J. Kirk Andrus
          Solano County District Attorney - Krishna A. Abrams
          Sonoma County District Attorney - Jill Ravitch
          Stanislaus County District Attorney - Birgit Fladager
          State of California Office of Emergency Services
          Sutter County District Attorney - Amanda L. Hopper
          Tehama County District Attorney - Gregg Cohen
          Trinity County District Attorney - Eric L. Heryford
          Tulare County District Attorney - Tim Ward
          Tuolumne County District Attorney - Laura Krieg
          U.S. Attorney California, Northern - Alex G. Tse
          U.S. Department of Energy
          U.S. Department of the Interior
          U.S. Department of Transportation
          U.S. District Attorney California, Central- Nicola T. Hanna
          U.S. District Attorney California, Eastern- McGregor W. Scott




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          U.S. District Attorney California, Southern- Adam L. Braverman
          U.S. Environmental Protection Agency
          U.S. Securities and Exchange Commission
          United States of America
          US Nuclear Regulatory Commission
          US Nuclear Regulatory Commission
          US Securities and Exchange Commission
          Ventura County District Attorney - Gregory Totten
          Yolo County District Attorney - Jeff Reisig
          Yuba County District Attorney - Patrick McGrath

DIP Lenders
      Apollo Global Management LLC
      Bank of America, N.A.,
      Barclays Bank PLC and
      Caspian Capital LP
      Centerbridge Partners LP
      Citadel Advisors LLC
      Citigroup Global Markets Inc.
      Davidson Kempner Capital Management
      Diameter Capital Partners LP
      Farallon Capital Management, L.L.C.
      JPMorgan Chase Bank, N.A.
      Lord, Abbett & Co. LLC
      Oaktree Capital Management, L.P.
      Pacific Investment Management Company LLC
      The Bank of Tokyo-Mitsubishi UFJ, Ltd.
      TPG Sixth Street Partners, LLC
      U.S. Bank National Association

Significant Competitors
        San Diego Gas & Electric Company’
        Southern California Edison Company

Significant Shareholders (more than 5% of equity)
        BlackRock, Inc.
        T. Rowe Price Associates, Inc.
        The Vanguard Group, Inc.

Significant holder of voting securities
        Baupost GroupSSgA Funds Management (The)
        BlackRock Fund Advisors
        Blue Mountain Capital Management LLC
        Elliott Management
        T. Rowe Price Associates, Inc.
        The Vanguard Group, Inc.




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Taxing Authorities
       Alameda County Tax Collector
       Alpine County Tax Collector
       Amador County Tax Collector
       Butte County Tax Collector
       Calaveras County Tax Collector
       California Board of Equalization
       California Department of Finance
       California Department of Tax and Fee Administration
       California Department of the Treasury
       California Franchise Tax Board
       California Public Utilities Commission
       City and County of San Francisco
       Colusa County Tax Collector
       Contra Costa County Treasurer-Tax Collector
       County of Nevada
       County of Santa Barbara
       County of San Diego
       County of Santa Clara Department of Tax and Collections
       Department of Tax and Collections
       El Dorado County Tax Collector
       Fresno County Tax Collector
       Glenn County Tax Collector Department of Finance
       Humboldt County Tax Collector
       Internal Revenue Services (Department of the Treasury)
       Kern County Tax Collector
       Kings County Tax Collector
       Lake County Tax Collector
       Lassen County Tax Collector
       Madera County Tax Collector
       Marin County Tax Collector
       Mariposa County Tax Collector
       Mendocino County Tax Collector
       Merced County Tax Collector
       Modoc County Tax Collector
       Monterey County Tax Collector
       Napa County Tax Collector
       Nevada County
       Placer County Tax Collector
       Plumas County Tax Collector
       Sacramento County
       San Benito County Treasurer-Tax Collector
       San Bernardino County Tax Collector
       San Cruz County Tax Collector
       San Francisco Tax Collector




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          San Joaquin County Tax Collector
          San Luis Obispo County Tax Collector
          San Mateo County Tax Collector
          Santa Barbara County
          Santa Clara County
          Santa Cruz County
          SDCTTC
          Shasta County Tax Collector
          Sierra County Tax Collector
          Siskiyou County Tax Collector
          Solano County Treasurer
          Sonoma County Tax Collector
          Stanislaus County Tax Collector
          Sutter County Tax Collector
          Tehama Tax Collector
          Treasurer-Tax Collector
          Trinity County
          Trinity Tax Collector
          Tulare County Treasurer-Tax Collector
          Tuolumne County
          Tuolumne Tax Collector
          Yolo County Tax Collector
          Yuba County Tax Collector

Top Unsecured Creditors

          Agile Sourcing Partners Inc.
          Agua Caliente Solar LLC
          AJ Excavation Inc.
          ARB Inc.
          AV Solar Ranch 1 LLC
          Bank of America
          Bank of New York Mellon
          Barnard Pipeline Inc.
          Bay Area Concrete LLC
          Black & Veatch Construction, Inc.
          BP Energy Co.
          California Dept. of Water Resources
          California ISO
          Calpine King City Cogen LLC
          Calpine Los Esteros
          Ch2m Hill Engineers Inc.
          Chevron Power Holding Inc.
          Citibank, N.A.
          Cognizant Worldwide Limited
          Crockett Cogeneration LP




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          Cupertino Electric Inc.
          DDB Worldwide Communications Group
          Desert Sunlight Investment Holdings
          Deutsche Bank
          DTE Energy Services
          Edf Trading North America LLC
          Energy Systems Group LLC
          ERM-West Inc.
          Exelon Corporation
          Genesis Solar LLC
          Genon Marsh Landing LLC
          Geysers Power Company LLC
          High Plain Ranch II LLLC
          ICE NGX Canada Inc.
          Jeff Abel
          Jonah Energy LLC
          Louisiana Energy Services LP
          Macquarie Energy LLC
          McKinsey & Company Inc. - U S
          Meter Readings Holding LLC
          MGE Underground Inc.
          Mizuho
          MRO Integrated Solutions LLC
          Mt. Poso Cogeneration Company
          MUFG
          Myers Power Products Inc.
          Occidental Energy Marketing Inc.
          Onesource Supply Solutions LLC
          Oracle America Inc.
          Panoche Energy Center LLC
          Phillips and Jordan
          Pivot Interiors Inc.
          Quanta Energy Services LLC
          Roebbelen Contracting Inc.
          Russell City Energy Company LLC
          Seegert Construction
          Siemens Industry Inc.
          Singleton-Adler Butte Fire
          Southwire Company
          TATA America International Corp.
          The Bank of New York Mellon
          The Okonite Company, Inc.
          Topaz Solar Farms LLC
          Turner Construction Company
          Ultra Petroleum Corp
          Urenco Limited




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          Wells Fargo
          Westinghouse Electric Co. LLC
          World Wide Technology Inc.
          Zones Corporate Solutions

Unsecured Notes
      Aegon Asset Management
      Allstate Insurance Company and certain affiliates
      Angelo, Gordon & Co., L.P.
      Apollo Global Management LLC
      Bank of America Merrill Lynch
      Bank of America, N.A.
      Bank of New York Mellon
      Barclays Bank PLC
      Barclays Capital Inc.
      Barclays Global
      Blaylock
      BNP Paribas
      California Infrastructure and Economic Development Bank
      California Pollution Control Financing Authority
      Canadian Imperial Bank of Commerce
      Canadian Imperial Bank of Commerce, NY Agency
      CarVal Investors
      Caspian Capital LP
      CastleOak
      Centerbridge Partners LP
      Citadel Advisors LLC
      Citi
      Citibank, N.A.
      Citigroup Global Markets Inc.
      Cyrus Capital Partners, L.P.
      Davidson Kempner Capital Management
      Deutsche Bank
      Deutsche Bank Securities Inc.
      Diameter Capital Partners LP
      Elliott Management Corporation
      Farallon Capital Management, L.L.C.
      Goldman Sachs
      Goldman Sachs Bank USA
      J.P. Morgan Securities LLC
      JPMorgan Chase Bank, N.A.
      Lehman Brothers
      Loop
      Lord, Abbett & Co. LLC
      Mellon Bank Boston
      Merrill Lynch, Pierce, Fenner & Smith Incorporated




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          Mizuho Bank, Ltd.
          Mizuho Corporate Bank, Ltd.
          Morgan Stanley Bank
          Morgan Stanley Bank/ Morgan Stanley Senior Funding
          Morgan Stanley Senior Funding
          MUFG Union Bank, N.A.
          Nuveen Alternative Advisors, LLC
          Oaktree Capital Management, L.P.
          Och-Ziff Capital Management Group LLC
          P. Schoenfeld Asset Management LP
          Pacific Investment Management Company LLC
          Ramirez
          Royal Bank of Canada (RBC)
          Royal Bank of Scotland (“RBS”)
          Senator Investment Group LP
          Taconic Capital Advisors LO
          TD Bank, N.A.
          TD Securities
          The Bank of New York Mellon, N.A.
          The Bank of New York Trust Company, N.A.
          The Bank of Tokyo-Mitsubishi UFJ, Ltd.
          Third Point LLC
          TPG Sixth Street Partners, LLC
          U.S. Bank National Association
          UBS Investment Bank
          UBS Securities
          US Bank
          Varde Partners, Inc.
          Wells Fargo Bank, N.A.
          Wells Fargo Bank, National Association
          Wells Fargo Securities LLC
          Williams Capital

UCC Lien Holders
     Accurate Air Engineering
     Altec Capital Services, LLC
     BBH Financial Services
     Canon Solutions America, Inc.
     Christopher J. Summers
     Cynthia Davisknotts
     Dell Financial Services L.L.C.
     Dell Financial Services, L.P.
     Dominion Federal Corporation
     Employment Development Department
     Gelco Corporation d//b/a GE Fleet Services
     Graphic Savings Group LLC




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          Graylift, Inc.
          Great West Life and Annuity Insurance Company
          Internal Revenue Service (“IRS”)
          IRS /Ohio – says termination on summary
          Kelley Leasing Partners, LLC
          Kevin Woodruff, Executor
          Key Government Finance, Inc.
          MassMutual Asset Finance LLC
          Natural Gas Exchange Inc.
          Nick Miniello
          OCE Bruning Inc.
          Pitney Bowes Global Financial Services LLC
          Production Mail Solutions Financing
          RDO Equipment Co.
          State of California
          State of California – Taxation
          Sterling National Bank
          Storage Technology Corp.
          Sunflower Bank, National Association
          U.S Bank Equipment Finance, a division of U.S. Bank National Association
          United Financial of Illinois Inc.
          Wells Fargo Bank
          Wells Fargo Bank Northwest, National Association, as Trustee Mac: U1228-051

Unions
     Engineers and Scientists of California
     International Brotherhood of Electrical Workers
     International Brotherhood of Electrical Workers Local 1245
     Service Employees International

Office of the United States Trustee for Region 17
      Alison S. Manning
      Allen C. Massey
      Anabel Abad-Santos
      Ankey To
      Avis J. Haynes
      Cameron Gulden
      Carla K. Cordero
      D A Clarke Finneran
      Donna S. Tamanaha
      Edward M. McDonald
      Gregory Powell
      Ianthe V. Del Rosario
      Irma H. Garcia
      Jared A. Day
      Jason Blumberg




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        Joan C. Caskey
        JoAnne David
        Kimberly Massey-Flores
        Kristin McAbee
        Kristine Kinne
        Laurie Brugger
        Lisa M. Grootendorst
        Lynette C. Kelly
        Lynne C. Knight
        Margaret H. McGee
        Marta Villacorta
        Melinda R. Davis
        Michael O. Sorgaard
        Michelle Forrest
        Monette Semana
        N. Bryan Green
        Nathalie Brumfield-Brown
        Nicholas Strozza
        Patricia Vargas
        Robbin D. Little
        Robert S. Gordon
        Robin Tubesing
        Sue Wolny
        Teresa B. Field
        Terri Didion
        Timothy S. Laffredi
        Tina Spyksma
        Tracy Hope Davis
        Trevor Fehr
        Yung Nor Wong

Utility Providers
       Aces Waste Services
       Alameda County Water
       Alameda Municipal Power
       Alpine PCS
       Amador Valley Industries
       Amador Water Agency
       American Messaging Services LLC
       American Water Services
       Amerigas Propane
       Arcata, City of
       AT&T
       AT&T Corp.
       AT&T Mobility II LLC
       AT&T Network




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        AT&T PCS Wireless Services
        Atascadero Mutual Water
        Atlas Waste Management
        Basin Properties
        Bella Vista Water
        Bertolotti Disposal
        Bertolotti Newman Disposal
        Bright House Networks LLC
        Burney Disposal
        Burney Water District
        Calaveras Telephone Co
        California American Water
        California Waste Recovery
        California Water Service
        California Water Service Bakersfield
        Carmel Marina Corporation
        Central (VIA Wireless LLC)
        Central Valley Waste
        Charter Communications
        Chico & Hamilton
        Citizens Telecommunications
        City of Angels
        City of Antioch
        City of Bakersfield
        City of Buellton
        City of Clovis
        City of Coalinga
        City of Colusa
        City of Concord
        City of Corning
        City of Daly City
        City of Davis
        City of Dinuba
        City of Eureka
        City of Folsom
        City of Fort Bragg
        City of Fortuna
        City of Fresno
        City of Gilroy
        City of Grass Valley
        City of Hollister
        City of Jackson
        City of Lakeport
        City of Lenmoore
        City of Live Oak
        City of Livermore




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        City of Lodi
        City of Lompoc
        City of Los Banos
        City of Madera
        City of Manteca
        City of Menlo Park
        City of Merced
        City of Millbrae
        City of Morgan Hill
        City of Mountain View
        City of Napa
        City of Newman
        City of Oakdale
        City of Orland
        City of Parlier
        City of Petaluma
        City of Pismo Beach
        City of Placerville
        City of Red Bluff
        City of Redding
        City of Redwood
        City of Roseville
        City of Sacramento
        City of San Bruno
        City of San Luis Obispo
        City of Santa Maria
        City of Santa Rosa
        City of Stockton
        City of Taft
        City of Tracy
        City of Turlock
        City of Vacaville
        City of Vallejo
        City of Wasco
        City of Watsonville
        City of West Sacramento
        City of Willits
        City of Winters
        City of Woodland
        Civic Center Square
        Clearlake Waste Solutions
        Clearwire
        Coastside County Water District
        Comcast
        Concord Disposal Service
        Consolidated Utilities




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        Conterra Wireless Broadband LLC
        Contra Costa Water District
        County of Nevada Dept of Sanitation
        County of Shasta
        County of Yuba (Yuba County Community)
        Cox PCS - Sprint Spectrum
        Crown Castle
        Cupertino
        CVIN LLC
        Davis Waste Removal
        Dept of Industrial Relations (State of California)
        Dixon
        Downieville Public Utility Dist
        East Bay Municipal Utility Dist
        Edge Wireless
        Eel River Disposal
        El Dorado Disposal
        El Dorado Irrigation Dist
        Emadco Disposal Service
        Equinix Inc.
        Extenet System
        Fairfield Municipal Utilities
        Fremont
        Fresno Fire Department
        Frontier Communications
        Frontier Communications of America
        Garberville Sanitary District
        Geyersville Water Works/Harry K. Bosworth
        Gilton Solid Waste Management
        Globalstar USA
        Golden State Towers
        Grass Valley, City of
        Great Oaks Water Co
        Greenwaste of Tehama
        Greenwaste Recovery
        Hayward Water System
        Health Sanitation Service
        Highlands Water Company
        Hornitos Telephone Co.
        Humboldt Community Service
        Humboldt Sanitation
        Indian Wells Valley Water Dist
        Industrial Waste & Salvage
        Integra Telecom
        Intermountain Disposal
        IPN Networks, Inc.




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        Jaroth Inc.
        Joe Cover & Sons
        Kerman Telephone Co.
        Kern County Waste Management
        King City
        Lake Alpine Water Company
        Lake County Special District
        Lakeport Disposal
        Level 3 Communications LLC
        Linden County Water District
        Livermore
        Livermore Sanitation
        MarBorg Industries
        Marin Municipal Water District
        Marin Sanitary Service
        Mariposa Public Utility District
        Marysville
        Mediacom Communications Corp
        Mendo Pacific Reuse
        Metricom, PCS
        Metro, PCS California LLC
        Mid Valley Disposal
        Mid-Peninsula Water District
        Midstate Solid Waste & Recycling
        Millview County Water District
        Miramonte Sanitation
        Modesto Irrigation Dist - MID
        Modesto Irrigation District
        Monterey City Disposal
        Monterey Regional Water
        Napa County Recycling & Waste
        Napa Recycling & Waste
        Nevada Irrigation Dist (Rollins)
        New Cingular Wireless Services
        New Cingular Wireless Services
        Nextel Communications
        Nextel of California, Inc., a Delaware Corp.
        NI Satellite Inc.
        North Coast County Water District
        North Marin Water District
        Novato Disposal Service
        Novato Sanitary District
        Oakdale Irrigation District
        Oakland, City of (Alarms)
        Oildale Mutual Water
        Oroville, City of




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        Pacific Bell Telephone Company
        Paradise Irrigation District
        Petaluma Refuse & Recylcing
        Pine Grove CSD
        Pinnacles Telephone CO.
        Placer County Water Agency
        Plumas Sierra Telecommunications
        Poso Canal Company
        Price Disposal
        Quincy Community Service Department
        Recology Auburn Placer
        Recology Golden Gate
        Recology Grover Environmental
        Recology Humboldt County
        Recology San Mateo County
        Recology Sonoma Marin
        Recology South Bay
        Recology South Valley
        Recology Sunset Scavenger Co
        Recology Vacaville Solano
        Recology Vallejo
        Recology Yuba-Sutter
        Recology-Butte Colusa
        Redding, City of
        Redrock Environmental (Caglia Environmental)
        Republic Services
        Republic Services San Jose
        Republic Services/Allied Waste
        Republic Services/Allied Waste Services
        Republic Services/Allied Waste Services
        Republic Services/Richmond Sanitary Service (Richmond Sanitary Service)
        Republic Services/Solano Garbage Co #846
        Rio Vista Sanitation Service
        Rio Vista, City of
        Roseville, City of
        Sacramento Municipal Utility Dist - SMUD
        Sacramento Municipal Utility District
        Salinas
        San Carlos, City of
        San Joaquin Co. Sheriff
        San Jose
        San Jose Water Co
        San Luis Garbage (Coastal Rolloff Service)
        San Luis Obispo, City of
        San Rafael Sanitation
        San Ramon, Walnut Creek, Antioch




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        Santa Clara Valley Water Dist.
        Santa Clara Valley Water District
        Santa Cruz Municipal Utilities
        Santa Maria, City of
        Santa Rosa, City of
        Satcom Global FZE
        SBA Communications Corporation
        Scotts Valley Water District
        Selma
        SFPUC - San Fran Water Dept
        Sierra Telphone CO. Inc.
        Solid Waste of Willits
        South County Sanitary
        South Feather Water & Power
        South San Francisco Scavenger
        Southern California Edison
        Southern California Gas
        Southwestern Bell Telephone LP
        Sprint
        Sprint Nextel Property Services
        Sprint Spectrum
        Sprint Spectrum- Nextel
        SSF, Menlo Park, San Carlos & San Mateo
        Stockton
        Stockton Scavengers
        Stockton, City of
        Suburban Propane
        Suddenlink Communications
        Sunset Building Company
        Surewest Directories
        Taft, City of
        TDS Telecom
        Templeton Community Svcs Dist
        The Promontory
        TMO CA/NV LLC, formerly known as Pacific Bell Wireless LLC
        T-Mobile USA
        T-Mobile West
        Tom's Trash
        Total Waste Systems of Mariposa
        Tower Co. (Monopole Payout Contract)
        Town of Paradise
        Tracy Delta Disposal
        Tracy, City of
        Trinity Public Utility District
        Tuolumne Utilities District
        Turlock Irrigation Dist – TID




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        Turlock, City of
        U.S. Cellular
        Ubiquitel, LLC
        US Cellular
        US Telepacific Corp.
        USA Mobility Wireless Inc.
        USA Waste of California
        Utility Management Services (UMS)
        Vacaville, City of
        Vallejo Sanitation and Flood Control District (VSFCD)
        Vallejo, City of
        Verizon (Airtouch)
        Verizon Business Network Services
        Verizon Network Operations
        Verizon Wireless
        Verizon Wireless - Network Real Estate C
        Volcano Telephone Co.
        VSFCD
        Wasco, City of
        Waste Management - Fresno
        Waste Management - Ukiah
        Waste Management - USA Waste of California
        Waste Management of Alameda
        Waste Management of Antelope Valley
        Waste Management of Corning
        Waste Management of Fort Bragg
        Waste Management of Nevada
        Waste Management of North Valley Disposal
        Watsonville, City of
        WaveDivision Holdings LLC
        West Kern Water District
        West Sacramento, City of
        West Valley Sanitation District/Santa Clara County
        Westside Waste Management
        Willits, City of
        Willow Creek Community
        Willows
        Woodland, City of
        Xetra Networks Inc.
        Zayo Group Holdings Inc.


Vendors/Suppliers

          Suppliers
          Aclara Technologies LLC




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          Silver Spring Networks, Inc.
          Westinghouse

          Vendors
          3 Phase Line Construction Inc.
          3B Enterprises, LLC
          3G Rebar, Inc.
          3P Services GmbH & Co. KG
          6M Transport Services Inc.
          A & P HELICOPTERS INC
          A G Engineering
          A Plus Tree Incorporated
          A Plus Utility Locating
          A&T Pacific Constructors, Inc.
          A.J. Excavation Inc.
          A.M. Stephens Construction Co., Inc.
          A.M. Wighton and Sons Inc.
          A-1 Advantage Asphalt, Inc.
          A3GEO, Inc.
          AAA Tree Service
          Abacus Construction Inc.
          ABB Inc.
          Abel Fire Equipment/Jeff Abel
          Abercrombie Pipeline Services, LLC
          Able Fence Company, Inc.
          ABM Building Solutions, LLC
          A-C Electric Company
          ACC Construction, Inc.
          Accelerated Metal Fabrication, LLC
          Access Limited Construction
          Access Systems & Solutions Inc.
          ACCO Engineered Systems Inc
          Accurate Corrosion Control
          Accurate Energy Services
          Ace Crane Service Inc.
          Ace Environmental Management
          Aclara Technologies LLC - California
          Acme Security Systems
          ACRT Services, Inc.
          Action Resources, LLC
          Action Services
          Active Treatment Systems, Inc.
          ADP, Inc.
          Advanced Air Leak Detection Service, Inc.
          Advanced Environmental Group, Inc.
          Advanced Geological Services, Inc.




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          Advanced Lighting Services Inc.
          Advanced Tree Care
          Advanced Trenchless Inc
          Advanced Utility Solutions
          AE3V LLC
          AECOM Technical Services, Inc.
          Aero-Graphics, Inc.
          Aerotek Inc.
          Aggreko North America
          Ahlborn Fence & Steel, Inc.
          Ahtna Government Services Corporation
          Aiken & Fairbanks Inc.
          Air Rescue Systems Corporation
          Air Shasta Rotor & Wing Inc.
          Air Systems Inc
          Air Systems Service and Construction, Inc
          Aire Sheet Metal, Inc.
          Airgas Specialty Products
          Airgas USA, LLC (NORTHERN CALI & NEVADA REGION)
          A-Jay Excavating, Inc.
          AJW Construction
          Alaniz Construction Inc
          ALB Incorporated
          Albion Environmental, Inc.
          Alcal Specialty Contracting, Inc.
          Alco Iron & Metal Company
          Alert Door Service, Inc.
          Alfonso Gallegos Inc
          A-Line E.D.S.
          All Private Utility Locating
          All Tech Welding
          All-Cal Equipment Services, Inc
          Allen Acoustics
          Alliance Environmental Services
          Alliance Roofing Company, Inc
          Allied Concrete Pumping
          Allied Crane, Inc.
          Allied Reliability, Inc.
          Allied Universal
          Allied Weed Control
          Allison Sierra Inc
          Allstate Boring
          Allstate Power Vac, Inc.
          Alltech Services Inc
          Allyn Goodall Trucking Inc.
          Almendariz Consulting Inc.




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          Alpha Pacific Engineering & Contracting, Inc.
          Alpine Power Systems, Inc.
          Alspaw Tree Service, LLC
          Alta Archaeological Consulting LLC
          Alternative Structural Technologies
          Altman Browning and Company
          Alvah Contractors, Inc.
          Amber Resources, LLC
          Amec Foster Wheeler Environment & Infrastructure, Inc.
          Ameresco Inc - Federal
          American Air Filter Company, Inc. - Power & Industrial Division
          American Chiller Service, Inc.
          American Compliance Services, Limited
          American Construction & Supply Inc.
          American Crane Rental, Inc.
          American Custom Private Security
          American Eagle Protective Services, Inc.
          American Eco Services Inc
          American Governor Co.
          American Heavy Moving and Rigging, Inc
          American Hydro Corporation
          American Incorporated, California Corporation
          American Insulation Inc.
          American Integrated Services Inc
          American Land & Leisure
          American Power Systems, LLC
          American Safety Services, Inc.
          American Sheet Metal Partition Co., Inc.
          American System Controls and Integration Inc.
          Ametek Solidstate Controls
          AMP United LLC
          Ampirical Solutions, LLC
          Anamet Inc
          Ancon Marine
          Anderson Burton Construction Inc. California Division
          Anderson Carpet and Linoleum Sales Co Inc
          Andy's Construction
          Anrak Corporation
          Anvil Builders, Inc.
          Anvil Power Inc.
          Apex TITAN, Inc.
          API Services, LLC
          Applied Earthworks Corp.
          Applied Pest Management
          Applied Power Systems, Inc.
          Applus RTD USA, Inc.




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          APS Environmental
          APTIM Environmental & Sustainability
          Aqua Drill International
          Aquatech International LLC
          Aquatic Designing INC
          ARB, Inc. Oil & Gas Division
          Arbor Masters, Inc.
          Arboricultural Specialties, Inc.
          Arborists of Washington, Inc
          ArborMetrics Solutions LLC
          ArborWorks, Inc.
          Arcadis U.S., Inc.
          Archrock
          ARCO ENTERPRISES, INC.
          Area West Environmental, Inc.
          Arizona Pipeline Company
          Arizona Pipeline Company Gas Division
          Arizona Waste Oil Service Inc.
          Armour Petroleum Service & Equipment Corp.
          Arnold's Custom Seeding LLC
          Array Construction LLC
          Arrow Acoustics, Inc.
          Arrow Drillers Inc - Nevada Division
          Arroyo Trucking, Inc.
          Ascent Elevator Services Inc.
          Ashbritt Inc.
          Ashbrook Enterprises Inc
          Ashlin Environmental Air Services
          Aspen Helicopters, Inc.
          Asplundh Construction LLC region 208
          Associated Power Solutions
          Associated Right of Way Services, Inc.
          Asta Construction Company, Inc.
          Astro Pak Corporation
          Atascadero Glass, Inc.
          ATC Group Services LLC
          ATI Trucking, LLC
          Atlantic Plant Maintenance
          Atlas Copco
          Atlas Field Services, LLC
          Austerman, Inc.
          Austin's Concrete & Asphalt Cutting
          Automated Precision
          AVANTech Incorporated
          AVAR Shoring Services
          Aviat U.S. Inc.




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          Avtech Construction Inc.
          AZCO Inc
          Aztrack Construction Corporation
          AZZ WSI LLC
          B Metal Fabrication Inc
          B&B Hughes Construction, Inc.
          B&B Locating, Inc.
          B&B Plumbing Construction Inc.
          B&L Equipment Rentals, Inc.
          B2Engineering
          Babcock & Wilcox Construction Co., Inc.
          Backflow Prevention Specialists, Inc.
          Badger Daylighting Corp.
          BAGG Engineers
          Bailey's Trenchless Incorporated
          Baker Hughes Process & Pipeline Services
          Baker Hughes US Land
          Baker Topping, Inc.
          BakerCorp
          Bakersfield Pipe and Supply, Inc.
          Baldoni Construction Service, Inc.
          Ballard Marine Construction - Corporate
          Bargas Environmental Consulting, LLC
          Barker Mechanical Services, Inc.
          Barnard Construction Company, Inc.
          Barnard Pipeline Inc
          Barnhart Crane and Rigging Co.
          Barrow's Landscaping, Inc
          Barry-Wehmiller Design Group, Inc.
          Baseline Designs, Inc.
          Basin Enterprises Inc
          Basin Transportation
          Basin Valve Company
          Bastion Security Inc.
          Battalion One Fire Protection
          Bay Area Construction, Inc.
          Bay Area Traffic Solutions Inc
          Bay City Mechanical Inc.
          Bay Valve Services & Engineering LLC
          Bayline Cutting and Coring Inc
          Bayside Insulation, Inc.
          BC Laboratories Inc.
          BCP-3D Inc.
          Bear Electrical Solutions, Inc
          Bear Fireproofing, Inc.




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          Beckman Tower
          Behrens & Associates, Inc
          Belshire Environmental Services Inc.
          Ben's Truck & Equipment, Inc.
          Benson & Son Electric, Inc.
          Benton Fence and Drilling, Inc.
          Berkeley Cement Inc
          Bess Testlab Inc
          BFW Coupling Services Limited
          BHI Energy I Specialty Services, LLC
          Big Valley Divers Inc.
          Bigge Crane and Rigging Co.
          Bill Jacobson Trucking Company Inc.
          Bill Nelson General Engineering Construction Inc.
          Bill Sharp Electrical Contractor
          Billings Flying Service, Inc.
          BioMaAS, Inc.
          Biotech Scale Up, Inc
          Bjork Construction Co. Inc.
          B-K Mill and Fixtures, Inc
          BKW, Inc.
          Black & Veatch Corporation
          Black Gold Paving & Sealing
          Blaine Tech Services
          Blair, Church and Flynn Consulting Engineers, Inc.
          Blankinship & Associates, Inc.
          Blason Industries, Inc.
          Blue Iron Foundations and Shoring, LLC
          Blue Rock Services, Inc.
          Blue Sky Environmental, Inc.
          BlueLine Rental, LLC
          Bo Enterprises
          Boart Longyear M&E Drilling Services
          Bob Smith Glass and Aluminum
          Bockmon & Woody Electric Co., Inc.
          Bohm Environmental
          Bold Insulation
          Bolttech-Mannings, Inc.
          Bordges Timber Inc
          Brace Integrated Services Inc.
          Brad Moore Logging Sole Proprietorship
          Bradcon
          Braden Manufacturing
          Bradley Tanks Inc.
          Bragg Companies
          Bragg Crane Service




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          Brahma Construction Inc.
          Brand Industrial Services, Inc.
          BrandSafway LLC – West Coast
          Brannon, Inc.
          Bratton Masonry, Inc.
          Bray Trucking Inc.
          Brenton VMS, LLC
          Bridge Diagnostics, Inc
          Bridge Masters Inc
          Bright Ideas Construction
          BrightView Landscape Services, Inc.
          Brim Aviation Corporation
          Brock Services, LLC
          Bronco Electric
          Brotherton Pipeline
          Brower Mechanical Heating and Air
          Browning Cultural Resources, Inc.
          Bruce & Merrilees Electric Co.
          Bruce Enterprises Parking Area Line Striping
          Build It Green
          Bullert Industrial Electric, Inc.
          Burleson Consulting Inc.
          Burns & McDonnell Engineering, Inc.
          C R Fence Company Inc.
          C Wright & Wright Enterprises Inc
          C&H Veteran Enterprises, Inc.
          C&R Fence Contractors Inc
          C.A.R.P.I. U.S.A. Inc.
          C.F. Archibald Road & Highway Division
          C.I. Actuation (Charbonneau Industries), Inc.
          C.T.L. Forest Management, Inc.
          C2R Engineering, Inc.
          Cal Engineering Solutions, Inc.
          Cal Excavation and Underground Inc.
          Cal Geotech
          Cal Inc.
          Cal Pacific Constructors
          Cal Safety, Inc.
          Cal Vada Surveying, Inc.
          Cal Valley Construction, Inc.
          Cal West Concrete Cutting Inc.
          Calco Fence Inc
          Caldwell Marine International
          California Boiler Inc
          California Boring, Inc.
          California Construction Surveying Inc.




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          California Cut & Core Inc
          California Drywall Company
          California Locating Service, Inc.
          California Reforestation Inc.
          California Traffic Control
          California Workforce and Energy Services
          Californian Environmental Services, INC
          CALINC Services Inc.
          Caltrol Inc.
          Caltrop Corporation
          Cal-West Lighting and Signal Maintenance Incorporated
          Camblin Steel Service, Inc.
          Cameron International Corporation
          Campos EPC
          CANUS Corporation
          Canyon Industries Inc. Field Division
          Capax Group, Inc.
          Cape Environmental Management Incorporated
          Capital Concrete Breaking & Excavating Inc.
          Capitol Barricade, Inc.
          Capitol Environmental Services, Inc.
          Capstone Fire Management Inc
          Capt. Doyle' River Excursions/FunFishing Guide Service, LLC
          Carbon Supply Inc
          Cardno Inc.
          Caribou Energy Corporation
          Carlton Christmas Trees LLC
          Carone & Co, Inc.
          Carrollco Inc.
          Cascade Drilling, L.P.
          Cascade Energy
          Casing Specialties
          Cavalry Construction Services, Inc.
          CB Tree
          CB2 Builders, Inc.
          CCN Wholesale Nursery & Landscaping, Inc.
          CDK Perforating
          Cedar Creek Corporation
          Cemtek Environmental
          Cencal Mechanical Heating & Air, Inc.
          CENCAL Services, INC.
          Cenergy International Services LLC
          Central Air Conditioning and Refrigeration
          Central Coast Acoustic Ceilings
          Central Coating Company, Inc.
          Central Environmental, Inc.




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          Central Sierra Pest Control, Inc
          Century Calibrating Company
          Certified Specialty Gases, Inc.
          CGGS Backhoe Service Inc.
          CH Reynolds Electric
          CH2M HILL Engineers, Inc.
          CHA Consulting, Inc.
          Chain Link Fence & Supply, Inc.
          Chaix Company
          Challenger Construction Corporation
          Champion Cleaning Specialist Inc.
          Champion Industrial Contractor
          ChemTreat, Inc.
          Chem-weed LLC
          CHI Transportation
          Chow Engineering, Inc.
          Chrisos Tree Trimming
          Chrisp Company
          Ciaccio Enterprizes Inc.
          CIRCOR Reliability Services Company
          Cisco Air Systems
          City Rise Inc
          City Wide Property Services, Inc.
          Civil Substations Inc.
          Civtel
          Clark Corporate Services
          Clark Seif Clark, Inc.
          Clark-Cadman Inc.
          Clarus Management Solutions, Inc.
          CLE Engineering, Inc.
          Clean Energy
          Clean Harbors Environmental Services Inc.
          CLEAResult Western Operations
          Clearwater Construction Services, Inc
          Clemmer Services
          CM Transport
          CMA Fire Protection
          CMC Steel Fabricators, Inc
          CMC Traffic Control Specialist, Inc.
          CN Utility Consulting Inc.
          CNS Mechanical Inc
          Coast to Coast Inspection Services Inc.
          Coastal Chemical Co. L.L.C.
          Coastal Demo Inc.
          Coastal Ignition & Controls, Inc.
          Coastal Paving Inc.




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          Coates Field Service, Inc.
          Coating Specialists and Inspection Services, Inc.
          Coffey Building Group
          Cogco Inc.
          Coggins Fence & Supply, Inc
          Cogstone Resource Management Inc.
          Coldsweep, Inc.
          Colibrì Ecological Consulting, LLC
          Columbia Electric, Inc.
          Column Concepts Inc.
          Comfort International, Inc.
          Commercial Systems
          Commercial Waterproofers, Inc.
          Community Tree Service
          Conco Services Corp.
          Concrete Demo Works
          Concrete North, Inc.
          Concrete Wall Sawing Co., Inc.
          Concur
          ConeTec Investigations Ltd.
          Confluence Environmental, Inc.
          Conklin Bros Inc
          Connexsys Engineering Incorporated
          Connor & Sons Concrete, Inc.
          Consolidated Security Integration
          Construction Helicopters, Inc.
          Contra Costa Electric Inc.
          Contractor Services, Inc. of West Virginia
          Control Components, Inc. - CCI
          Control Solutions, Inc.
          Cook Coatings, Inc.
          Cook Construction
          Cool Roofing Systems, Inc.
          Core Tree Care, Inc.
          Cornerstone Environmental Contractors
          Corrosion Service Company Limited
          Corrpro Companies, Inc.
          Cosco Fire Protection, Inc.
          Cotton, Shires & Assoc. Inc.
          COWI North America, Inc.
          Craig Communications
          Crane Nuclear, Inc.
          CraneCare, Inc.
          Craneworks, Inc.
          Cranmer Engineeering Inc
          CRB Electrical and Mechanical Inc.




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          Cross Country HDI
          CROSSFIRE CONSTRUCTION COMPANY
          Crown Energy Services, Inc.
          Crown Services
          Crown Technical Systems Corporation
          Crusader Fence Company, Inc.
          Crux Subsurface, Inc.
          Cryogenic Transportation LLC (Division of KAG)
          CS Marine Constructors
          CTI and Associates, Inc.
          CTi Controltech
          CTS Resources LLC
          Cudd Pressure Control, Inc.
          Culbert Installs Doors, Inc.
          Cummins Pacific
          Cupertino Electric, Inc.
          Curb Appeal Landscape
          Curro Plumbing, Inc.
          Curtiss-Wright Flow Control Service Corporation
          Cutsforth, Inc.
          Cutting Edge Drapery
          CVE Contracting Group INC.
          Cypress Envirosystems, Inc.
          D K Enterprises, Inc
          D R S MARINE INC
          D W Nicholson Corporation
          D&D Drilling Inc. dba.Valley Drilling Co.
          D. Foskett Trucking, Inc.
          D. J. Scheffler & Nye, Inc.
          D.A. Lampe Construction
          D.C. Taylor Co.
          D.L. Payne, Inc.
          D.P. Nicoli, Inc.
          Dal Chem, Inc.
          Dale J Gomes
          Dale Ruyle Trucking, Inc.
          Dale W. Carter Fencing
          Daleo Inc.
          Danco Builders
          Daniel Garrett
          Danny's Construction Company, LLC
          Dashiell Corporation/Dacon Corporation
          Davey Tree Surgery Company
          David A. Bush Construction
          David Graham Enterprises
          Davis Painting, Inc.




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          DC Electric
          DC Technical Rescue, Inc.
          DeAngelo Brothers, LLC
          Dean's Acoustical Ceilings, Inc.
          Decker Electric Company Inc.
          Decker Landscaping, Inc.
          Dees Hennessey, Inc.
          DEKOMTE de Temple LLC
          Del Sal Framing Inc
          Delta Air Quality Services Inc.
          Delta Grinding Company, Inc.
          Delta Star Inc.
          Delta Tech Service, Inc.
          DenBeste Water Solutions Inc.
          Derrickson Pike Inc
          DeWalt Corporation
          Dewey Services Inc.
          DeWind One-Pass Trenching LLC
          d'Heurle Systems, Inc.
          Diakont Advanced Technologies
          Dielco Crane Service, Inc
          Dilbeck & Sons, Inc.
          Dimitra Zalarvis-Chase Consulting
          Disaster Resource Group LLC
          Discovery Hydrovac, LLC
          Diversified Project Services International Inc.
          Diversified Utility Services Inc.
          Dixon Marine Services, Inc.
          DNV GL Energy Services USA Inc.
          DNV GL USA, Inc.
          DoC Mapping, LLC.
          Don Pridmore & Son Construction, Inc.
          Donald S. MacLean Inc.
          Dorfmeier Masonry, Inc.
          Double D Disaster Relief LLC.
          Doug Ross, Inc.
          DPH Electrical Contracting, Inc.
          DPR Construction, Inc.
          Drake Vegetation Management Inc.
          Draperies by Rico, Inc.
          Dresser-Rand Co/ Dresser-Rand Services/ Field Services/ Arrow Services
          Drewery Construction Co., Inc.
          Drill Tech Drilling & Shoring Inc.
          DSM Concrete, Inc.
          Dudek
          Dunkel Machinery Moving LLC




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          Dura Crane Inc.
          Dutch Contracting Inc.
          DW Plumbing, Inc.
          Dwayne Nash Industries
          DWH Creative Contracting, Inc.
          Dynamic Ratings, Inc
          Dynamic Risk Assessment Systems Inc.
          E. Mitchell, Inc.
          E.E. Gilbert Construction Inc.
          E.T. Abatement Inc
          E2 Consulting Engineers Inc
          EagleHawk One LLC
          East Bay Clarklift, Inc.
          Eaton Corporation
          Eco & Associates, Inc.
          Eco Bay Services, Inc.
          Ecological Concerns Incorporated
          Edge Inspection Group, Inc.
          Edison Power Constructors, Inc.
          EETS Inc.
          Eighteen Trucking
          El Capitan Environmental Services
          El Dorado Water & Shower Service, Inc.
          Elecnor Belco Electric, Inc.
          Electrical Builders Inc.
          Electricraft, Inc.
          Electronic Innovations Inc.
          Electrosonic Inc.
          Eleven Engineering, Inc.
          Elliott Company-Technical Services
          Ellis Fence Co.
          Emerald Transformer Western States
          EMF Fire Solutions
          Empire Wireline LLC
          EN Engineering, L.L.C.
          Enduro Pipeline Services, Inc.
          Enercon Services, Inc.
          Energy Efficiency Inc
          Energy Experts International
          Energy Link Industrial Services
          Energy Management Solutions
          Energy Systems Group, LLC
          EnergySolutions, LLC
          EnerTouch, Inc. - Energizing Indiana
          Engineering/Remediation Resources Group Inc.
          Enlight Energy Efficient Lighting




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          Enova Solutions, Inc.
          Enovity Inc
          Entact, LLC
          Enterprise Roofing Service Inc.
          EnviroCal Inc.
          Environment One Corporation
          Environmental Resources Management (ERM)
          Environmental Safety Solutions
          Environmental Systems Inc of Northern California
          Environmental Technical Services, Inc
          Environmental Waste Minimization Inc.
          Envise
          EPIC Industrial, Inc.
          Epic International, LLC
          Eppler
          Eric Ross
          Erickson Incorporated
          Ernie & Sons Scaffolding
          Erosion Control Applications Inc.
          ESP Surveying Inc.
          Ethos Energy Field Services, LLC.
          ETIC
          Eureka Ready Mix Concrete Co., Inc.
          Evans Consoles Incorporated
          Evans Right of Way Clearing
          Evari GIS Consulting, Inc.
          Evergreen Landscape
          Evoqua Water Technologies LLC
          EXARO Technologies Corp
          Exponent, Inc.
          Express Sewer & Drain Inc.
          Expro Americas, LLC - Flarestack and Pipeline Services
          Extreme Plastics Plus, LLC
          Eynon Management dba Eynon Weed Control
          F.D. Thomas, Inc
          F3 & Associates, Inc.
          Fairbanks Scales
          Family Tree Service, Inc.
          Far West Sanitation & Storage
          Far Western Anthropological Research Group, Inc.
          Farmer's Custom Pumping, Inc.
          Farwest Corrosion Control Company
          Farwest Insulation Contracting
          Federal Signal Corporation - Field Service Division
          Ferreira Construction Co., Inc.
          FES Investments Inc.




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          FG Concrete Construction
          Fiberglass Unlimited Inc.
          Fibrwrap Construction, Inc.
          Fidelis Green, INC
          Filter Recycling Services, Inc.
          Finta Enterprises, Inc.
          Fire & Risk Alliance, LLC.
          Firehawk Helicopters, Inc.
          First Alarm Security & Patrol, Inc.
          First Call Storm Removal, LLC
          Fishery Foundation of California
          Five Points Construction Co., Inc.
          Fletcher's Plumbing & Contracting, Inc
          Flexim Americas Corporation
          Flooring Solutions Inc.
          Flores Excavation and Demolition, Inc.
          Fluor Corporation
          Fluoresco Services, LLC
          Flyers Energy, LLC - 3015
          Foothill Electric, Inc.
          Forensic Analytical Consulting
          Forest & Land Works
          Fort Bragg Electric, inc
          Foundation Constructors, Inc.
          Foundation Pile, Inc.
          Four Star Erectors, Inc.
          Fox Loomis, Inc.
          Framatome Inc.
          Frank Dial Logging
          Frank M Booth Inc
          Fred E. Scott Timber Contracting
          Fremouw Environmental Services, Inc
          Frontier Consulting Engineers, Inc.
          Frontier Energy, Inc.
          Frontline Environmental Technologies Group Inc.
          Fuel Cell Energy Inc.
          Fugro USA Land, Inc.
          Fugro USA Marine, Inc.
          G&G Risk Management Consultants Inc.
          G4S Secure Integration LLC
          G4S Secure Solutions (USA) Inc.
          Garcia & Associates
          Garratt-Callahan Company
          Gas Transmission Systems, Inc.
          GCJ Inc.
          GE Oil & Gas - North America




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          GE Renewable Energy
          GEI Consultants, Inc.
          General Construction
          General Electric International Inc.
          General Electric International Inc. - Power Services
          GENERAL TREE SERVICE, INC
          Genox Transportation, Inc.
          GENTERRA Consultants, Inc.
          Geo Drilling Fluids
          GeoDigital International Corp.
          GeoEngineers, Inc.
          George E. Masker, Inc.
          George Moore Service Inc.
          Geo-Solutions Inc.
          GeoStabilization International
          GeoSyntec Consultants Inc
          GEOVision Inc
          GeoWing Mapping, Inc.
          Gettler Ryan Inc.
          GHD Services Inc.
          Ghilotti Bros., Inc.
          Giampolini & Co. Inc.
          Gibbons Plumbing Inc.
          Giosand Environmental Transportation
          Global Diving & Salvage, Inc.
          Global Nitrogen Services LLC
          Global Specialized Services
          Global Tower Service, Inc.
          Goebel Construction Inc.
          Gold Electric Inc.
          Golden Field Services, Inc.
          Golden State Sealing & Striping, Inc.
          Golder Associates Inc.
          Gordon Directional Boring Inc
          Got Power Inc.
          Gowan Construction Company Inc
          Graham Contractors Inc.
          Granite Construction Company
          Granny's Alliance Holdings, Inc
          Great Lakes Environmental & Infrastructure
          Greenguard Energy Services LLC
          Greenjacket Inc
          Greg Cox Electrical Enterprises
          Greg Shandel Construction
          Gregg Drilling & Testing, Inc.
          Greg's Residential EnerGeficiency Services




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          Griffin Soil
          Ground Penetrating Radar Systems, Inc.
          Groundwater Partners Inc.
          Growth Development Marketing Inc.
          GSI Environmental
          Guida Surveying Inc.
          Guido's Trucking
          Gulf Interstate Engineering Company
          Gulf Interstate Field Services, Inc.
          Gulf Shore Construction Services, Inc.
          Guttmann & Blaevoet
          H & E Equipment Services, Inc.
          H&B Drilling and Sons
          H&W Nor-Cal Builders
          H3 Construction Services Inc.
          Haas Group International
          Hach Company
          Haley & Aldrich Inc., its subsidiaries and affiliates
          Halliburton U.S. Onshore
          Hamanaka Painting Company, Inc.
          Hampton Tedder Electric Company
          Hanford Applied Restoration & Conservation
          Hangtown Electric, Inc.
          Hanly General Engineering Corporation
          Hardcore Construction, Inc.
          Harder Mechanical Contractors Inc.
          Harmon Trucking
          HART High-voltage Apparatus Repair & Testing Co., Inc.
          Hat Creek Construction & Materials, Inc.
          Hatton Crane and Rigging
          Hayward Baker Inc.
          Hazon Solutions
          HCI Inc. Bakersfield Division
          HDR Engineering, Inc.
          Health Science Associates
          Heath Consultants, Inc.
          Heathorn & Associates Contractors, Inc
          Heli-Dunn
          Helimax Aviation Inc.
          Heliqwest International Inc
          Henkels & McCoy, Inc.
          Hensel Phelps Construction Co.
          Hercon Company, Inc.
          Hernandez Trucking
          Hernandez Trucking LLC
          Hickman Utility Inc




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          High Country Construction Co.
          High Country Line Construction, Inc.
          Highlands Diversified, Inc.
          HiLine Nation LLC
          Hill Crane Service
          Hillcrest Sheet Metal, A Division of Mesa Energy Systems Inc.
          Hillskemper Enterprises
          HI-TECH Rockfall Construction, Inc.
          HMI Industrial Contractors, Inc.
          HMT LLC
          Hoem & Associates, Inc.
          Hoffman Southwest Corp. DBA Professional Pipe Services
          Holdrege & Kull Consulting Engineers & Geologist
          Holt of California
          Holtec International
          Honeywell HPS
          Hooven & Co., Inc.
          Horizon Consulting Inc
          Hot Foot America LLC
          Hot Line Construction, Inc
          HOT/SHOT Infrared Inspections, Inc.
          HPS Mechanical, Inc.
          HRST, Inc.
          HS Brown Construction Inc.
          Hulsey Contracting Inc.
          Huntington Lake Tree Service
          Hushmand Associates Inc.
          Husky HydroVac, LLC
          Hutchins Inc.
          Hydratight Operations, Inc.
          Hydro Consulting & Maintenance Services Inc.
          ICF Consulting Group, Inc.
          IL Mechanical, Inc.
          Illuminated Creations, Inc.
          Image In Flight
          Industrial Battery Services, Inc
          Industrial Solution Services, Inc.
          Industrial Tests, Inc.
          Industry Packing and Seals, Inc.
          InfraTerra
          Ingram Fire Protection Incorporated
          Inland Pacific Electrical Contractors, Inc.
          Innovative Construction Solutions
          Innovative Machine Solutions, LLC
          Innovex Environmental Management, Inc.
          In-Place Machining Company, LLC




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          Insituform Technologies, LLC
          Inspection Services, Inc.
          InspecTools, Inc.
          INSPIRE Environmental
          Installit inc
          Instrument & Valve Services Company
          Instrument Manufacturing Company
          Intec Services, Inc.
          Intech Mechanical
          Integra Services Technologies, Inc.
          Integrated Comfort Solutions, Inc.
          Integrated Engineers and Contractors Corporation
          Integrated Power Services
          Intelligent Technologies and Services, Inc.
          Intermountain Electric Company
          International Line Builders, Inc.
          INTERNATIONAL TANK & PIPE COMPANY
          Intren, LLC
          Intrinsic Transportation, Inc
          Inyon Corrosion Services, LLC
          Iris Tree Service
          Iron Horse Energy Services, Inc.
          J G Steel Inc.
          J Givoo Consultants 1 Inc
          J&D Excavation, Inc.
          J&J Pumps, Inc.
          J. Dean Ballard & Sons Tile & Marble Co.
          J. Moraga Construction Inc
          J.A.Gonsalves & Son Const
          Jack B. Kelley, LLC
          Jack Sanders Painting, Inc
          Jackson Equipment Services
          Jacobson James and Associates, Inc.
          Jam Contractors
          James L Harris Painting
          JANX
          Jason Mansfield
          Jason Pedrotti Trucking
          J-C General Engineering, Inc.
          JC Hutchins Construction
          JCC, Inc.
          Jeffco Painting and Coating Inc.
          Jeneric Enterprises Inc
          Jensen Precast
          Jerry Thompson & Sons Painting, Inc.




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          JH Kelly LLC
          Jim Norman's Trees Unlimited, Inc.
          Jim-n-i-Rentals Inc.
          Joe Tantardino Logging, Inc.
          John Crane Inc.
          John D. Wait Masonry, Inc.
          John Jackson Masonry
          Johnson Controls Inc. - Central Region
          Johnson Controls Inc. - Systems and Services North America
          Johnson Mechanical Contractors, Inc.
          Jorgensen & Sons, Inc
          Jose Luis Gutierrez
          Joseph J. Albanese, Inc.
          JRP Historical Consulting, LLC
          JS Cole Company
          J-Vac
          JW Bamford Inc.
          J-W Power Company
          JZ Contracting
          K and G Concrete Inc
          K.W. Curtis Enterprises, Inc.
          K.W. Emerson Inc.
          Karsyn Construction Inc.
          KC Partners Corp.
          Kellie Avila Construction Services Inc.
          Ken Neles Trucking
          Kenny Construction Company
          Kerex Engineering Inc
          Kerne America Inc.
          Kernen Construction
          Kevin Moore
          Keystone Aerial Surveys, Inc.
          Kiefner and Associates, Inc
          Kiewit Power
          Killorn Construction
          Kim's Professional Landscape
          Kindness General Contractors, LLC
          Kinyon Construction Inc.
          Kister, Savio & Rei
          Kleinfelder, Inc.
          Kleinschmidt Associates
          KM 106 Construction
          KMF TRUCKING, INC.
          Knight Brothers LLC
          Koffler Electrical Mechanical Apparatus Repair, Inc.




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          Konecranes, Inc.
          Koppl Pipeline Services, Inc.
          Krazan & Associates Inc.
          Kroeker Inc. - Utility Division
          KSB, Inc.
          KUMA Corporation
          kV Structures, Inc.
          L D Transportation LLC
          L.B. Foster Rail Technologies Incorporated
          LACO Associates
          Lamon Construction Co., Inc.
          Lane Safety Co., Inc.
          Laron Incorporated
          Larry's Backhoe Service
          LaSen, Inc.
          LAV Consulting & Engineering, Inc.
          Layfield USA Corp.
          LCE TRANSPORT, INC.
          LCS Restoration Services, LLC
          LeapFrog Plumbing & Home Improvement, Inc
          Leavitt's Freight Service - Fresno
          Lee Wilson Electric Company, Inc.
          Leed Mechanical
          Left Coast Land Clearing
          Leidos Engineering, LLC
          Lemire Tractor Inc.
          Leslie Heavy Haul, LLC
          Lettis Consultants International, Inc.
          Level It Installations
          Lewis & Tibbitts, Inc.
          Lewis-Goetz and Company, Inc.
          Lighting Retrofit International, LLC
          Linda Rogers & Associates, Inc.
          Lindco Inc
          Linden Steel & Construction, Inc.
          LinkPath Communications, Inc.
          LinTec Corporation
          Lloyd W Aubry Co Inc.
          LN Painting Incoporated
          Loggers Unlimited Inc
          Lohman Helicopter LLC
          Lonestar West Services LLC
          Longitude 123, Inc.
          Lost River Fire Management Services, Inc.
          Louis Berger U.S., INC




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          Lovotti Inc
          Loy Clark Pipeline Company
          LT Directional Boring
          Lucchetti Enterprises Inc.
          Luhdorff & Scalmanini, Consulting Engineers
          Lutzenberg's Performance Drilling, Inc
          Lyles Utility Construction LLC
          M V Construction, Inc
          M. Sawcutting, Inc.
          M.A. McClish Excavating, Inc.
          M.A. Steiner Construction, Inc.
          Machado & Sons Construction, Inc
          Macmullin Forestry & Logging
          Maddex Turbine Services Ltd. (US Division)
          Magnetech Industrial Services
          Mahaffey Fabric Structures Inc.
          Maintech Resources
          Malcolm Drilling Company, Inc.
          Malcolm International LLC
          Mallard Construction Inc.
          Mapleservice, Inc.
          Marelich Mechanical Co., Inc.
          Mario's Tree Service
          Mark Olson Electric Inc
          Mark Thomas & Company Inc
          Marken Mechanical Services Inc.
          Mashburn Transportation Services, Inc.
          Maskell Pipe & Supply, Inc.
          Master-Lee Energy Services, Inc.
          Material Culture Consulting
          Materials Testing Inc
          Matrix Energy Services, Inc.
          Matrix HG, Inc.
          Matthew E. Carpenter Construction Inc.
          Maxim Crane Works, L.P.
          MCCORMICK BIOLOGICAL, INC.
          MCD Trucking LLC.
          MCE Corporation
          McGuire and Hester
          MCK Services Inc
          McMillen Jacobs Associates, Inc.
          MCS Construction, Inc
          MCS Glass, Inc.
          MCS OPCO, LLC
          MCY Tree Company
          MDR Inc




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          Mead & Hunt, Inc.
          Mears Group Inc.
          Mechanical Analysis/Repair Inc.
          Meeker Energy Solutions
          Merced Fence Co
          MESA
          Mesa Associates, Inc.
          Metropolitan Electrical Construction Inc
          Meyers Earthwork Inc.
          MG Farrell
          M-G Trucks LLC.
          MGE Underground, Inc.
          MHK Construction, Inc.
          Michael Filbin
          Michels Corporation
          Michels Power
          Midland Resource Recovery Inc
          Miguel A Garcia Landscaping
          Mike Brown Electric
          Mike Easley
          Mike Odell Surveys
          Mike's Heating & Air, Inc.
          Milbar Hydro-Test, Inc.
          Mile High Plumbing
          Miller Pipeline
          Minton Door Company
          Misita Tree & Land Inc.
          Mission Constructors, Inc.
          Mission Critical Specialists, Inc.
          MISTRAS Group, Inc.
          Mitsubishi Electric Power Products, Inc. - Substation Division
          Mitsubishi Hitachi Power Systems Americas, Inc.
          MJ Avila Company Inc.
          MK Consulting Services, Inc.
          MLU Services Inc.
          MM Reforestation Inc
          MOC Incorporated
          Mollie B Stearns DBA Onsite
          Monterey Mechanical Company
          Montez Glass, Inc.
          Monticelli Painting and Decorating, Inc.
          Montrose Air Quality Services, LLC
          Moorhead Brothers, Inc.
          Mott MacDonald, LLC
          Mountain F. Enterprises, Inc.
          Mountain G Enterprises INC




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          Mountain Power Construction Company
          MountainFlame Propane Incorporated
          MP Environmental Services
          MRC Global Inc.
          MSF INC
          Mt. Adams Tree Service
          MTI Power Services, Inc.
          Municipal Maintenance Equipment, INC
          Munson Pump Services
          MUTI-SII, Inc.
          MW Swan Construction Inc.
          Myers Power Products, Inc.
          N & T Consulting Service
          N2 Electric, Inc.
          Nacho's Carpet Clean
          Nalco Company
          Naman Trucking Inc
          National Air Balance Company
          National Waste Management Louisiana, Inc.
          Nations Roof LLC
          NCC Enterprises, Inc
          NDT Global LLC
          Neil's Controlled Blasting, L.P.
          Nervik Consulting Inc.
          Ness & Campbell Crane Inc
          NET ELECTRIC, INC
          NETCo Inc.
          Network Environmental Systems, Inc.
          Network Mapping Incorporated
          Nevada County Fence Inc.
          New England Sheet Metal and Mechanical Co.
          New River Electrical Corporation
          New West Partitions
          Newcomb Tree Experts, INC.
          Newtron, LLC
          Nexans High Voltage USA
          Nexant, Inc.
          Nicholas Mathey, LLC Pipe View
          Nick Champi Enterprises, Inc.
          NiGen International, LLC
          Nimble Consulting Inc
          Nish-Ko Inc.
          Nitta, Inc.
          NJ McCutchen Inc.
          Nomad Ecology, LLC
          Nor Cal Pipeline Services




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          Nor-Cal Battery Company
          Nor-Cal Controls ES, Inc.
          NorCal Corrosion Company
          Nor-Cal Garage Door Co.
          Noresco LLC
          Nortex Field Services Inc.
          North American Fence & Railing Inc.
          North American Field Services
          North American Substation Services, LLC
          North American Training Solutions, Inc.
          North Star Construction and Engineering, Inc.
          Northgate Acoustics
          Northgate Environmental Management, Inc.
          Northgate Tree Care, LLC
          Northstar Environmental Remediation
          Northstate Aggregate, Inc.
          Northwest Demolition & Dismantling - US Division
          Northwest Hydraulic Consultants Inc.
          Northwest Industrial Engine and Compressor Co
          NOV FluidControl, a division of National Oilwell Varco, LP
          Novinium
          NRC
          O & M Industries Inc.
          O.C. Jones & Sons, Inc.
          O.C. McDonald Company Inc.
          OC Vacuum, Inc.
          Ocampo-Esta Corporation
          ODOR-TECH LLC
          Oilfield Environmental & Compliance Inc.
          Oldcastle Precast, Inc.
          Olsen Investments, Inc.
          Olson & Co. Steel
          Olson Wagner Construction Inc
          OneSource Supply Solutions
          Onstream Pipeline Inspection Services Inc.
          Optimal Recovery LLC
          Ordaz Contracting Inc.
          Orr Industries, LLC
          Osborn General Engineering and Construction
          Osmose Utilities Services Inc.
          OST Trucks and Cranes, Inc
          Otis Elevator Company
          Outback DVBE, Inc.
          Overhead Door Co. of Fresno, Inc
          Overton Security Services, Inc.
          Oxbo, Inc.




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          P & R Tower Company, Inc.
          P31 Enterprises, Inc.
          Pac Machine Company, Inc
          Pace Analytical Services, LLC
          Pace Engineering Inc
          Pacific Boring, Inc.
          Pacific Coast Drilling Company Inc.
          Pacific Coast Energy Conservation Services Inc.
          Pacific Coast Locators, Inc.
          Pacific Coast Tree Experts
          Pacific Gold Marketing, Inc.
          Pacific Petroleum California Inc.
          Pacific Pipeline Services Inc.
          Pacific Plumbing & Sewer Service, Inc
          Pacific Power Engineers
          Pacific Surveys, LLC
          Pacific Tank & Construction
          Pacific Titan, Inc.
          Pacific West Communications Inc.
          Pacific West Controls, Inc.
          Padre Associates Inc
          Paleo Solutions, Inc.
          Panther Technologies
          Papich Construction Company, Inc
          PAR Electrical Contractors, Inc.
          Paradigm General Contractors
          Paragon Enterprises
          Paramount Pest Control, A CA Corp
          PARC Environmental
          Parmeter General Engineer & Services, Inc.
          Parsons Environment & Infrastructure Group Inc.
          Partition Specialties, Inc
          Parus Consulting Inc
          Pat Baird Acoustics, Inc.
          Patriot Environmental Laboratory Services, Inc.
          Patriot Environmental Services, Inc.
          Patriot General Engineering Inc
          Paul Graham Drilling & Service Company
          Paulson Excavating, Inc.
          PCA Services LLC
          PDM GEL Solutions, Inc.
          Pe Ben USA, Inc.
          Peacock Construction, Inc
          PEG Construction Incorporated
          PEI Placer Electric Inc




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          Penhall Company - Anaheim, CA
          Perera Construction & Design, Inc.
          Performance Contracting, Inc.
          Performance Mechanical Inc.
          Perrin Construction, Inc.
          Persson Inc.
          Pest Management Technology
          Pestmaster Services of Lake and Mendocino
          Peterson Power Systems, Inc.
          Petrochem Insulation Inc
          Phillips & Jordan, Inc.
          Phillips Excavating Inc
          Phoenix International Holdings, Inc.
          Pinnacle Pipeline Inspection Inc.
          Pinnacle Power Services Inc
          Pipe and Plant Solutions, Inc.
          Pipe Jacking Trenchless, Inc.
          Pipeline Video Inspection, LLC
          Piper Environmental Group, Inc.
          Pipetel Technologies Inc.
          Pitcher Drilling Co.
          Pius Construction, Inc.
          Pivot Interiors, Inc.
          Pivox Corporation
          PJ Helicopters Inc
          Planned Environments, Inc.
          Plant Construction Company, L.P.
          Plastocor, Inc.
          Platinum Scaffolding Services Inc.
          PMK Contractors
          Polvera Drywall of Riverside Corp dba Empire Insulation
          Ponder Environmental Services Inc
          Portable Machine Casting Repair of Oklahoma
          Porter Diving LLC
          Portnoy Environmental Inc.
          Potelco Inc.
          Powell Electrical Systems, Inc. Service Division
          Power Contracting LLC
          Power Engineering Construction Co
          Power Engineering Inc.
          POWER Engineers Inc.
          Power One LLC
          Power Systems Professionals Inc.
          Powercon Testing and Engineering, Inc.
          PPS Operators, LLC
          Prava Construction Services, Inc.




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          Praxair
          Praxair Services, Inc.
          Praxis Optical Networks, Inc.
          Precise Concrete Sawing Inc.
          Precision Crane Service Inc
          Precision Directional Boring, Inc.
          Precision Drilling, Inc.
          Precision Excavating & Drilling Inc.
          Precision Iceblast Corp.
          Preferred Power Solutions Inc
          Premier Oilfield Service, Inc
          Premier Stone and Tile
          PRENAV, INC.
          Presidio Systems, Inc.
          Preston Pipelines, Inc.
          Pride Contracting Inc.
          Primoris Demolition, Inc.
          Primoris Electric, Inc.
          Pro Safety & Rescue, Inc.
          Proact Services Corporation
          Procore Incorporated
          Proctor Engineering Group
          ProEnergy Services LLC
          Professional Concrete Sawing, Inc.
          Professional Electrical Construction Services, Inc.
          Prometheus Energy Group, Inc.
          PROS Incorporated
          Proteus Inc
          PSA Laboratory Furniture, LLC
          PSC Industrial Outsourcing, LP
          PTS Rentals, Inc.
          Public Utilities Maintenance Inc.
          Pullman SST, Inc.
          Pure Effect Inc.
          Pure Technologies Ltd.
          PureHM Inc.
          PV Tree Service, Inc.
          QPCS, LLC
          Quality Carriers, Inc.
          Quality Conservation Services, Inc.
          Quality Erectors & Construction
          Quality Hoist & Electric
          Quality Landscape Inc.
          Quality Striping, Inc.
          Quality Tong Service, Inc.
          Quanta Utility Engineering Services




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          Queirolo's Heating & Air Conditioning, Inc.
          Quest Integrity USA, LLC
          Quinn Group, Inc.
          R & M Paving Contractor's Inc
          R & S Erection North Peninsula
          R & S Erection of Vallejo, Inc.
          R & S Erection Tri-County Inc
          R &S Erection of Santa Rosa, Inc.
          R Connally Construction Consulting
          R&S Erection of Monterey Bay, Inc.
          R&S Erection of Richmond Inc.
          R&S Erection of San Mateo Cty.
          R&S Erection of Southern Alameda County Inc.
          R&S Erection, Inc
          R&S Overhead Doors and Gates of Sacramento, Inc.
          R&S OVERHEAD GARAGE DOOR, INC.
          R. D. Morgan Construction Inc
          R.A. Lee &Sons, LLC
          R.E.Y. Engineers, Inc.
          R.F. MacDonald Company
          Rader Excavating, Inc.
          Radman Aerial Surveys, Inc
          Raibon & Colbert Associates, Inc.
          RailPros Field Services
          Rainbow Tree Company
          Rancho Tree Service
          RankerAMG
          Ray Godon & Family
          Raymond Romine
          RC Electric
          RCI General Engineering
          RCP, Inc.
          Red Mtn Resource LLC
          Red Top Electric Co., Emeryville, Inc.
          Redding Air Service Inc.
          Redding Tree Growers Corporation
          Redline Directional Inc.
          Redmond Construction LLC
          Redwood Electric Group Inc. -Corp.
          Redwood Painting
          Reeve Trucking Company Inc.
          Reid Recovery Service, Inc.
          Reinhausen Manufacturing Inc.
          Relevant Solutions, LLC
          Reliability Optimization Inc.




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          Remedial Construction Services, LP
          Remedial Transportation Services, Inc.
          Rentokil North America, Inc.
          Res Environmental Services
          Rescue Solutions
          Reserve Equipment, Inc.
          Residential Weatherization Inc
          Resource Environmental, Inc.
          Restoration Management Company
          Retubeco Incorporated
          RHA Northern CA Division
          RHA Southern CA Division
          Riccardelli Consulting Services Inc.
          Richard C Johnson
          Rincon Consultants Inc.
          RJT, Inc
          RJW Enterprises Inc.
          Road Safety Inc.
          Roadsafe Railroad & Utility Division
          Roadway Construction Inc.
          Roberto Jose Jules
          Roberts Service & Construction
          Robinson Concrete Cutting, Inc.
          Robinson Electric Co., Inc.
          Rocky Canyon Utility & Construction, Inc.
          Roebbelen Contracting Inc
          Rogers Machinery Company Inc.
          Romano's Painting & Paper Hanging
          Roofing Constructors Inc. dba Western Roofing Service
          Rope Partner Inc.
          Rosemount Field Operations
          Rosen USA
          Rosendin Electric, Inc.
          RT Patterson Company, Inc
          Rua & Son Mechanical Inc.
          RunningM Group, Inc.
          Russelectric Inc
          Russell L. Dyer
          S & C Electric Co - Power Systems Solutions
          S and S Supplies & Solutions
          S&S Landscaping and Lawn Services INC
          S.S. Papadopulos & Associates, Inc.
          Saar's Creative Concrete
          Sabah International Incorporated
          Sac Valley Electric Inc.
          Sacramento Executive Helicopters, Inc.




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          Safety Network Traffic Control Services, Inc.
          Safety-Kleen Systems Inc
          Safway Services, LLC (heavy industrial industry)
          SAGE Engineers, Inc.
          Salmon River Helicopters Inc.
          Salvador F. Calderon DBA Salco Better Energy
          Samuel Engineering, Inc.
          San Francisco Bay Railroad
          San Joaquin Fire Protection Inc.
          San Luis Pump Company
          Sarens USA, Inc.
          SAS Home Solutions
          SC Custom Display Corporation
          Scenic Landscape and Design
          Schetter Electric, Inc.
          Schindler Elevator Corp.
          Schlumberger US Land
          Schneider Electric Systems USA, Inc
          Schneider Electric USA
          Schweitzer Engineering Laboratories, Inc.
          Scientific Aviation, Inc.
          Scientific Drilling International, Inc.
          Scott Timber Contracting Inc.
          SD Enterprises, Inc
          SD Myers, LLC
          SE Energy, LLC
          SE Pipeline Construction
          Seamair Construction, Inc.
          SecureCom, Inc. - California Division
          Security Management & Consulting International, Inc.
          SEECO Utility Services
          SEL Engineering Services Inc
          Selby's Soil Erosion Control Co. Inc.
          Select Energy Service LLC
          Semper Construction Inc.
          sensemetrics, Inc.
          Sentinel Fire Equipment Company
          Sentry Equipment Corp
          Sequoia Ecological Consulting, Inc.
          Sequoia Engineering & Design Associates
          Service Metal Products, Inc.
          Seton Pacific Construction
          SF&S Inc
          Shaw Pipeline Services, Inc.
          Sheedy Drayage Co.
          Shier Aviation Corporation




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          Shifflet Brothers Enterprises, Inc.
          SHN Consulting Engineers & Geologists, Inc.
          Shooter & Butts, Inc.
          Shore-Tek Inc
          Siboney Contracting Co.
          Siemens Energy, Inc., Fossil Services Power Generation
          Siemens Industry, Inc. - Building Technologies
          Siemens Industry, Inc. Customer Services Division
          Sierra Conveyor Co. Inc.
          Sierra Electric
          Sierra Integrated Services Inc.
          Sierra National Construction Inc.
          Sierra Snow Removal & Excavating Inc.
          Sierra Trench Protection Rentals & Sales
          Sikes Asphalt Group Inc
          Silicon Valley Foundation, Inc
          Siller Construction Co
          Silvas Oil Company, Inc.
          Silverado Contractors
          Silverline Pacific
          SimplexGrinnell
          Simpson Gumpertz & Heger Inc.
          Sinclair General Engineering Construction, Inc.
          Site Safe Traffic Safety And Signs
          SJL Construction, Inc.
          Skyline Construction, Inc.
          Skyline Scaffold Incorporated
          Skyline Tree Enterprise
          Sloan Brothers Company
          SMA Solar Technology America, LLC
          Smart Tree Solutions Inc.
          SmartWatt Energy, Inc.
          Smith Grinding A Partnership
          Snelson Companies, Inc.
          Sno Valley Process Solutions, Inc.
          Soar Environmental Consulting
          Solar Grounds Landscaping Inc
          Solar Turbines Incorporated
          Sonoma fabricators, Inc.
          Sonoma Sweepers, Inc.
          Source California Energy Services, Inc.
          Source Power Services of CA, Inc.
          Southern Electrical Equipment Company
          Southern States, LLC.
          Southgate Glass and Screen, Inc.
          Southland Industries- Northern California Division




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          Specialized Contracting Services, Inc.
          Specialty Construction, Inc.
          Spray Tech Systems, Inc.
          Sprig Electric
          Spring Rivers Ecological Sciences LLC
          SPX Transformer Solutions Inc. - Service Division
          SR Diversified, LLC
          Standard Industrial Structures Corporation
          Stanley Electric Motor Co., Inc.
          Stantec
          Staples & Associates, Inc.
          Starch Concrete, Inc.
          Statewide Traffic, Safety & Signs, Inc.
          Stephens Mechanical Corp.
          Stericycle Environmental Solutions, Inc
          Sterling P. Holloway III, Inc.
          Steve Halsey Electric
          Steven C. Seegert
          Steven's Excavating
          Stillwater Ecosystem Riverine and Watershed Sciences
          Stock Wood Co.
          Stockton Fence & Material Company
          Stonhard, A division of StonCor Group, Inc
          Stotts & Sons Inc
          STRATEGIC MECHANICAL INC.
          Stress Engineering Services
          Stric-Lan Companies, LLC.
          Striping Graphics, Inc
          Stroer and Graff, Inc.
          Structural Integrity Associates, Inc
          Stump & Sons, Inc.
          Sturgeon Electric California, LLC
          SUEZ WTS USA, Inc.
          Sullivan Thompson Masonry & Restoration
          Sulzer Chemtech USA, Inc.
          Summit Crane Company of Solano, Inc.
          Summit Helicopter, Inc.
          Summit Line Construction, Inc.
          Summit Plumbing and Mechanical, Inc.
          Sun Light and Power Utility Services
          Sun Mountain, LLC
          Sunbelt Rentals Inc.
          Sunbelt Transformer
          Sundowner Insulation Company
          Sunrise Engineering Inc.




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          Superheat FGH Services, Inc.
          Superior Coring & Cutting Inc.
          Superior Electric, Inc.
          Surefire Underground & Consulting Inc.
          Surf To Snow Environmental Resource Management
          Surveying and Mapping, LLC
          Sustainable Group Inc.
          Suts-Superior Underground Tank Service Inc
          Swaim Biological, Inc.
          SWCA Environmental Consultants
          Swenson Development & Construction
          Switchgear Solutions, Inc.
          Syblon Reid
          Sylvania Lighting Services Corp.
          Synergy Companies
          Synergy Tree Trimming Inc.
          Syserco Inc.
          TALX Corp.
          T & T Truck & Crane Service
          T and S DVBE Inc.
          T&D Services, Inc.
          Taber Drilling
          Tait Environmental
          Tait North America, Inc.
          Take Care Termite
          Tamarack Pest Control, Inc.
          Tap Master, Inc.
          Tarlton and Son, Inc
          Tashjian Towers Corporation
          Tate Environmental Services, INC
          Taylor Heavy Hauling
          TCB Industrial, Inc.
          TDW Services, Inc.
          Team EES, Inc.
          Team Industrial Services, Inc.
          Techimp US Corporation
          Tecta America
          TEG Oceanographic Services
          Teichert Pipelines, Inc.
          Teledyne Monitor Labs Inc.
          Telstar Inc.
          Tenaris Hydril Field Services
          Tenera Environmental Inc.
          Terminix Co Intl LP Commercial Division
          Terra Pacific Group




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          Terra Verde Environmental Consulting
          Terra West Construction
          Terracon Consultants, Inc.
          Terry Tree Service South, LLC
          Tetra Tech OGI DBA Tetra Tech, Inc.
          Tetrad Services, Inc.
          Thatcher Transportation, Inc
          The Burrow Corp Inc
          The Campbell Valve & Engineering Corporation
          The Davey Tree Expert Company
          The Fire Consultants, Inc.
          The HDD Company
          The Original Mowbray's Tree Service
          The Smith Company, Inc.
          The Spear Group, Inc.
          Thoma Electric
          Thomas Gast & Associates Environmental Consultants
          Thomas N Thomas
          Throop Lightweight Fill
          ThyssenKrupp Elevator Corporation
          Tig Tech Inc
          Tim Messer Construction, Inc.
          Timberline Helicopters, Inc.
          Timothy A. Hilarides
          Titan Crane & Rigging, inc.
          TJ Sutton Enterprises, LLC
          TJH2B Analytical Services Inc.
          TNG Energy Services, Inc.
          TNT Industrial Contractors Inc.
          Tony's Landscaping and Maintenance
          Towill, Inc.
          Townsend & Schmidt Masonry
          Trachte, Inc
          Traffic Control Pros
          Traffic Management, Inc.
          Transcat, Inc.
          Transformer Technologies
          Transkor Group Inc. (US)
          Transmission and Distribution Services, LLC
          TRC Companies Incorporated
          TRC Pipeline Services, LLC
          Trees, LLC
          Trench Plate Rental Co.
          Trenton Corporation
          Tri Sage Consulting




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          Tri-City Power Inc
          Trickle Creek Excavation, Inc.
          Trident Environmental and Engineering, Inc.
          Trimark Associates, Inc.
          Trinity Geotechnical Engineering, Inc.
          Tri-Pacific Supply Inc
          Tri-Technic Inc
          Triton Construction Services
          TSA Drilling Inc.
          TSU Tree Services Unlimited, Inc.
          TTR Substations, Inc.
          Tubit Enterprises, Inc.
          Tulsa Inspection Resources, LLC.
          Turner Construction Company
          Turner Trans Lift, Inc.
          Turn-Key Constuction Services Inc.
          TWS Environmental, LLC
          Tyco Integrated Security LLC
          Type One Tree Service
          Tyrrell Resources Inc.
          U.S. Glass, Inc.
          Underground Construction Co., Inc.
          Underground Electric Construction Co., LLC
          Underground Systems Inc
          Underwater Construction Corporation
          Underwater Resources Inc.
          UNICO Engineering, Inc.
          Unico Mechanical Corp.
          UNITED CALIFORNIA GLASS & DOOR
          United Pro Painting
          United Rentals - Onsite
          Univar USA Inc.
          Universal Coatings, Inc
          Universal Dry Ice Blasting
          Universal Plant Services
          Universal Site Services, Inc.
          UPE Resources, Inc
          US Pipeline Incorporated
          UTEC Constructors Corporation
          Utility Construction Services LLC
          Utility Tree Service LLC
          V Lopez Jr. & Sons G. E.C., Inc
          V&G Builders, Inc.
          Vadnais Trenchless Services, Inc.
          Valin Corporation




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          Valley Power Systems North
          Vegetation Solutions Incorporated
          Veolia ES Industrial Services, Inc.
          Vermilion Resource Management, Inc.
          Versalence LLC
          Vertical Construction Erectors, LLC
          Vertiv Services
          Verus Associates LLC
          Veteran Power Inc
          VForce, Inc
          Victor Backhoe Inc.
          Victory Well Surveys, LLC
          Viking Automatic Sprinkler Co
          Viking Drillers, Inc.
          Vince Sigal Electric Inc.
          Vintage Paving Company Inc.
          Virginia Mechanical Inc
          VM Tree Service
          Vmax Electric Inc.
          Vogt Power International Inc.
          Voith Turbo Inc.
          Vortex Industries, Inc.
          Voss Laboratories
          VP Hauling & Demolition
          VPL Transport LLC
          Vulcan Construction & Maintenance, Inc.
          W. C. Sanders Construction Inc.
          W.A. Chester LLC
          W.Bradley Electric, Inc.
          Wahlund Construction, Inc.
          Walberg Inc.
          Waldkirch Electric
          Walgamuth Painting, Inc.
          Walker Telecomm, Inc.
          Wallis Water Systems
          Walschon Fire Protection, Inc.
          Walter J. Transportation & Logistics
          Warren Duncan Contracting
          Wartsila North America, Inc.
          Waste Management National Services Inc.
          Water One Industries, Inc.
          Water Tectonics, Inc.
          Watson Electric, Inc.
          Way-Mar Construction Inc.
          Wayne E. Swisher Cement Contractor Inc




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          Wayne V. Johnson
          WC Tree Service Inc.
          Weatherford International, LLC - USA
          Weed Management Company
          Well Analysis Corporation, Inc.
          West Coast Air Systems Technologies
          West Coast Drilling
          West Coast Growth Solutions, LLC
          West Mountain Timber
          West Valley Construction Company Inc
          Westates Mechanical Corp.
          Western Allied Mechanical Inc
          Western Construction Enterprises Inc.
          Western Environmental Consultants Inc.
          Western Industrial X-Ray, Inc.
          Western Land Renovators Inc.
          Western Oilfields Supply Company DBA Rain for Rent
          Western Properties
          Western States Fire Protection - Corporate
          Western Utilities Transformer Service
          Western Waterproofing Company, Inc.
          Westinghouse Electric Company, LLC
          Whirlwide Inc.
          White Construction Co
          White Pine LLC
          Whiting Services
          WHPacific
          Wild Electric
          Wild Well Control, Inc.
          Wild West Reforesters Inc.
          Wilgus Fire Protection Inc.
          Willdan Energy Solutions
          Williams Scotsman, Inc. (MD)
          Wilson Construction Co
          Winco, Inc.
          Window Innovations Inc
          Windy Tree Inc.
          Winegard Energy, Inc.
          Winifred Au, Incorporated
          Wipf Construction
          WK Mclellan Co
          Wollin Group, Inc.
          Womack Striping, Inc.
          Wood Group USA, Inc. – Upstream and Midstream Engineering
          Woodward Drilling Company Inc.
          WorleyParsons Group, Inc.




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          WRECO
          Wright Tree Service of the West, Inc.
          WTL Corporation
          Wylatti Resource Management, INC
          X2NSAT
          XNS Inc
          Y A Hardy Trucking
          Young Electric Company Inc
          YTS Utility Group
          Z and H Associates, Inc.
          Z Electric Wire Works, Inc.
          Zayo Group, LLC
          Zefiro Corporation


DIP Term Loan
      Apollo Global Management LLC
      Caspian Capital LP
      Centerbridge Partners LP
      Citadel Advisors LLC
      Davidson Kempner Capital Management
      Diameter Capital Partners LP
      Farallon Capital Management, L.L.C.
      Lord, Abbett & Co. LLC
      Oaktree Capital Management, L.P.
      The Bank of Tokyo-Mitsubishi UFJ, Ltd.
      U.S. Bank National Association
      Pacific Investment Management Company LLC
      TPG Sixth Street Partners, LLC


Interested Parties / Notice of Appearance Parties
        21st Century Casualty Company;
        21st Century Insurance Company;
        A&J Electric Cable Corporation
        A.J. Excavation Inc.
        ACRT, Inc.
        Adam Balogh,
        Adelina McNeive
        Adriana Robinson
        Adventist Health System/West
        Adventist Risk Management, Inc., (“Gencon Entities”);
        AECOM Technical Services, Inc.
        Aegion Corporation and its subsidiary entities: Corrpro Companies, Inc., Insituform
        Technologies, LLC and Fibrwrap Construction Services, Inc.
        Agajanian, Inc.
        Aggreko



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          Agile Sourcing Partners, Inc.
          Agua Caliente Solar, LLC
          Ahmer Bilal In., dba Tire Depot
          Aida Rodriguez
          Allianz Global Corporate & Specialty
          Allied Property and Casualty Insurance Company, a Nationwide company;
          Almendariz Consulting, Inc.
          Alysia Biegler
          AMCO Insurance Company, a Nationwide company
          Amelia Leal
          American Alternative Insurance Corporation
          American Bankers Insurance Company of Florida;
          American Bankers Insurance Company;
          American Reliable Entities,
          American Reliable Insurance Company;
          American Security Insurance Company;
          Amica Mutual Insurance Company,
          Amica Mutual Insurance Company;
          Andries Bijstra
          Angela Coker
          Anita Freeman
          Annaleisa Batts
          APTIM
          ARB, Inc.
          Arlington Wind Power Project LLC
          Arocles Aguilar
          Ashley Duitsman
          Assurant Entities,
          Astoria LLC
          AT&T Corp.
          Atlantica Yield plc, Mojave Solar LLC
          Avangrid Renewables, LLC
          Bakersfield Memorial Hospital,
          Ballard Marine Construction, Inc.
          Bank of America N.A.
          Bank of New York Mellon
          Barbara Cruise
          Barbara Jean Zelmer
          Barbara Morris
          Benjamin Hernandez
          Bennett Lane Winery LLC
          BlueMountain Capital Management, LLC
          BNP Paribas
          BOKF, NA
          Bradley Tanks, Inc
          Brandee Goodrich




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          Braton Purcell
          Brenda Howell
          Brian Bolton,
          BrightView Enterprise Solutions, LLC
          BrightView Landscape Services, Inc.
          Brittany Zummer
          Bryan Sullivan
          Butte County
          Calaveras County Water District
          Calaveras Telephone Company
          California Air Resources Board
          California Casualty Indemnity Exchange
          California Casualty Indemnity Exchange;
          California Community Choice Association
          California Department of Fish and Wildlife
          California Department of Forestry Fire Protection,
          California Department of Industrial Relations
          California Department of Industrial Relations
          California Department of Toxic Substances Control,
          California Department of Water Resources
          California Efficiency + Demand Management Council
          California FAIR Plan Association,
          California Franchise Tax Board
          California Independent System Operator
          California Insurance Guarantee Association
          California Insurance Guarantee Association (“CIGA”)
          California Power Exchange Corporation
          California Public Utilities Commission
          California Public Utilities Commission
          California Self-Insurers’ Security Fund
          Calpine Corporation
          Campos EPC, LLC
          Candace Morey
          Candice Seal
          Candice Seals
          Capital Dynamics, Inc.
          Capital Power Corporation
          Cardno, Inc.
          Carmen Maza
          Cascade Energy Storage, LLC
          Catherine McClure
          Cathy Dorrance
          Catlin Specialty Insurance Company (for itself and its subrogees David W. Maehl and
          Rhonda J. Maehl)
          Cecil Morris
          Centerbridge Partners, L.P.




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          Century National Insurance Company;
          Certain affiliates of Liberty Mutual Insurance Company (Liberty)
          CF Inspection Management, LLC
          CH2M HILL Engineers, Inc.
          ChargePoint, Inc.
          Chevron Products Company a division of Chevron U.S.A. Inc.
          Chippewa Pest Control, Inc.,
          Christina Guarino
          Christina Metroka
          Christopher Franklin
          Chubb Custom Insurance Company
          Church Mutual Insurance Company,
          Church Mutual Insurance Company;
          Citibank N.A., as Administrative Agent for the Utility Revolving Credit Facility
          Citibank, N.A.
          City and County of San Francisco
          City of American Canyon
          City of Clearlake
          City of Morgan Hill
          City of Napa
          City of Santa Rosa
          Civic Property & Casualty Company;
          Claudia Bijstra
          Clearway Energy Group LLC
          Clearway Energy Group LLC
          Clearway Energy, Inc.
          Clearway Energy, Inc.
          Clinton Coleman
          Coast National Insurance Company;
          Colonial County Mutual Insurance Company;
          Compass Lexecon, LLC
          Connor Youngblood
          Conocophillips.
          Consolidated Edison Development, Inc.
          Constantina Howard
          Corrpro Companies, Inc.,
          County of Alameda
          County of San Luis Obispo
          Creative Ceilings, Inc.
          Crestbrook Insurance Company
          Crockett Cogeneration
          Crusader Insurance Company,
          Crusader Insurance Company;
          Cushman & Wakefield, Inc.
          Cypress Energy Management - TIR, LLC
          Cypress Energy Partners, L.P.




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          Dan Clarke
          Danilov Home Furnishings
          Dannie Cook
          Davey Tree Expert Company
          Dean C. Whaley
          Dean Franks
          Deborah Baker
          Deborah Baker dba The Shearlings
          Debra Grassgreen
          Deirdre State Water Resources Control Board, Regional Water Quality Control Boards,
          State Energy
          Denise Bindernagel
          Denise Stooksberry
          Dennis Caselli
          Dentons US LLP
          Department of Finance for the State of California
          Depositors Insurance Company, a Nationwide Company;
          Desert Sunlight Holdings, LLC
          Deutsche Bank National Trust Company
          Deutsche Bank Trust Company Americas
          Devon Jones
          Diablo Winds, LLC
          Diamond States Insurance Company;
          Diane Marger Moore.
          Dignity Community Care
          Dignity Community Care dba French Hospital Medical Center,
          Dignity Community Care dba Methodist Hospital,
          Dignity Community Care dba Sequoia Hospital,
          Dignity Community Care dba Woodland Memorial Hospital,
          Dignity Health
          Dignity Health dba Dominican Hospital
          Dignity Health dba French Hospital Medical Center,
          Dignity Health dba Marian Regional Medical Center
          Dignity Health dba Marian Regional Medical Center - Arroyo Grande
          Dignity Health dba Mercy General Hospital
          Dignity Health dba Mercy Hospital (Bakersfield)
          Dignity Health dba Mercy Hospital and Mercy Southwest Hospital
          Dignity Health dba Mercy Hospital of Folsom
          Dignity Health dba Mercy Medical Center (Merced)
          Dignity Health dba Mercy Medical Center Redding
          Dignity Health dba Mercy San Juan Medical Center
          Dignity Health dba Mercy Southwest Hospital
          Dignity Health dba Sequoia Hospital
          Dignity Health dba St. Elizabeth Community Hospital
          Dignity Health dba St. Mary's Medical Center
          Dignity Health Medical Foundation dba Dignity Health Medical Group - Dominican




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          Dignity Health Medical Foundation dba Dignity Health Medical Group - Merced
          Dignity Health Medical Foundation dba Dignity Health Medical Group - North State,
          Dominican Oaks Corporation,
          Dignity Health Medical Foundation,
          Dignity Health, Dignity Health Connected Living,
          Director of Industrial
          Discovery Hydrovac
          Don Steele
          Donna Walker
          Dotha Steele
          DTE Stockton, LLC
          Dynamics Inc.
          Dynegy Marketing and Trade, LLC
          Earl Achilles Halgren
          East Bay Community Energy Authority
          EDP Renewables North America LLC
          Edward Delongfield
          El Dorado Hydro, LLC
          Eleanor Lemke
          Elizabeth Jones
          Elliott Management Corporation
          Elster American Meter Company, LLC
          Employers Insurance Company of Wausau (Liberty Mutual)
          EN Engineering, LLC
          Enel Green Power North America, Inc.
          Enel X
          Engineers and Scientists of California, Local 20, IFPTE
          Epiq Corporate Restructuring, LLC
          ERM-West, Inc.
          Estela O. Pino
          Estelle Mullins
          esVolta, LP
          Everett Freeman Waining, Jr.
          Exponent, Inc.
          Farmers Entities,
          Farmers Insurance Company of Oregon;
          Farmers Insurance Company of Washington;
          Farmers Insurance Exchange;
          Farmers Specialty Insurance Company;
          Farmland Mutual Insurance Company
          Fatima Vazquez
          Federal Energy Regulatory Commission
          Federal Energy Regulatory Commission (FERC)
          Federal Monitor
          Fibrwrap Construction Services, Inc
          Finestone Hayes LLP




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          Fire Insurance Exchange;
          Fire Protection, California Department of Fish and Wildlife, and California Air
          Resources Boarde
          Foremost Insurance Company Grand Rapids, Michigan;
          Foremost Property and Casualty Insurance Company;
          Foremost Signature Insurance Company;
          Foursquare Gospel
          FPL Energy Montezuma Wind, LLC
          Freedom Specialty Insurance Company;
          FTP Power LLC, et al.
          Fuguan O’Brien
          Garcia and Associates
          Gartner Inc.
          Gartner, Inc.
          Gencon Entities,
          Gencon Insurance Company of Vermont;
          General Security Indemnity Company of Arizona (GSINDA)
          Genesis Solar, LLC
          Genesys Telecommunications Laboratories, Inc.
          Geoffrey Dryvynsyde
          GER Hospitality, LLC
          Ghost Ship Warehouse Plaintiffs
          Gildardo Leal
          Gill Ranch Stforage, LLC
          Global Diving & Salvage, Inc.
          Gloria Ruckman
          Governor Gavin Newsom, in his official capacity as Governor of the State of California,
          Granite Construction Company
          Granite Construction Incorporated
          Gregory Frase Enterprises, Inc. dba Kortick Manufacturing Company
          Gretchen Franklin
          Guadalupe Caroline Vazquez
          Gurdon Merchant,
          Halkirk I Wind Project LP
          Harris County
          HDI Global Specialty SE
          Heather Blowers,
          HercRentals
          HercRentals
          Hermenia Martinez
          Hoffman Southwest Corp.
          Honeywell International Inc.
          Howard Belden
          Hummingbird Energy Storage, LLC
          Huonganh Annie
          Hyundai Corporation USA




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          Iain A. Macdonald
          ICE NGX Canada Inc.
          IFPTE,
          Illinois Farmers Insurance Company;
          Industrial Relations and Office of Self-Insurance Plans,
          Infosys Limited
          Insituform Technologies, LLC
          Integon National Insurance Company;
          International Brotherhood of Electrical Workers Local Union 1245
          International Business Machines Corp.
          International Church of the Foursquare Gospel
          Irma Enriquez
          Iron Mountain Information Management, LLC
          Isaiah Vera
          Itron, Inc.
          Jacob Baker
          Jacob Bindernagel
          Jacqueline Qrd
          James Isham
          JAN X-Ray Services Inc.
          JAN X-Ray Services, Inc.
          Jeanette Robles
          Jennifer Horst
          Jennifer Makin
          Jessica Mullan
          Jesus Mendoza
          Joel Batts
          John A. Vos
          John Bindernagel
          John Stooksberry
          Jose Antonio Vasquez Herrera
          Jose B. Vazquez
          Jose Bonifacio Vazquez
          JP Morgan Chase Bank, N.A.
          Juanita Coleman
          Judy L. Wong Living Trust
          Judy Wong
          Julie Sherrill
          K. Hovnanian California Region, Inc.
          Karen Roberds
          Karl Knight
          Kay Johnson
          Kelly Jones
          Kenney Olson
          Kepco California LLC
          Kepco California LLC,




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          Kerman Telephone Co.
          Kevin Thomposon
          Kiefner and Associates, Inc.
          Kimberly Winick
          Kings River Water Association
          Kingston Energy Storage, LLC
          Klondike Wind Power III LLC
          Kompogas SLO LLC
          Kristal Davis-Bolin
          Lake County
          Lara Balas,
          Larry Biegler
          Laura Hart
          Lawrence E. Grant
          Leroy Howard
          Leslie Attalla
          Level-It Installations, Ltd.
          Lewis & Tibbitts, Inc.
          Liberty Insurance Corporation
          Liberty Insurance Underwriters Inc.
          Liberty Mutual Fire Insurance Company
          Liberty Mutual Insurance
          Liberty Mutual Insurance Company
          Liberty Mutual Insurance Company and its related entities
          Liberty Mutual Insurance Europe Limited
          Liberty Mutual Management (Bermuda) Ltd (PDW)
          Liberty Specialty Markets
          Liberty Surplus Insurance Company
          Liberty Surplus Insurance Corporation
          Linda Schooling
          Lisa Delaine Allain,
          Lodi Gas Storage, L.L.P.
          Louisiana Energy Services, LLC,
          Luis Flores
          Lynda Flores
          Lynda Howell
          Macquarie Energy LLC
          Majesti Mai Bagorio, etc.
          Marie Dierssen
          Marie Valenza,
          Marin Clean Energy
          Mark Efren Robinson
          Mark Johnson
          Mark Pulido
          Markel Bermuda Limited
          Martha Van Pelt




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          Martha Vasquez
          Mary Haines
          MC Shiloh IV Holdings LLC
          MCE Corporation
          McKinsey & Company, Inc. U.S.
          MDR Inc. dba Accu-Bore Directional Drilling
          Mendocino County
          Meritage Homes of California, Inc.
          Mia Nash
          Michael Guarino
          Michael Marroquin
          Michael Vairo
          Michael Williams
          Michael Wong
          Michels Corporation
          Mid-Century Insurance Company;
          Middle River Power, LLC
          Midway Sunset Cogeneration Company
          Mildred C. Harding
          Ming O’Brien
          Minh Merchant
          Mirna Trettevik
          Mirna Trettevik
          Mirna Trettevik
          Mizuho Bank, Ltd.
          Mobina Irshad
          Mount Veeder Springs LLC
          MRO Integrated Solutions, LLC
          MRP San Joaquin Energy, LLC
          Mt. Poso Cogeneration Company, LLC f/k/a Mt. Poso Cogeneration Company, L.P.
          Muhammad Khalid
          Mustang Project Companies
          Nancy Seals
          Napa County
          National Casualty Company
          National General Insurance Company
          National General Insurance Company, (“National General Entities”);
          Nationwide Affinity Insurance Company;
          Nationwide Agribusiness Insurance - NAIC;
          Nationwide Agribusiness Insurance Company
          Nationwide General Insurance Company
          Nationwide Indemnity Company
          Nationwide Insurance Company of America
          Nationwide Joint Underwriting
          Nationwide Lloyds Insurance Company
          Nationwide Mutual Fire Insurance Company




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          Nationwide Mutual Insurance Company
          Nationwide Property & Casualty Insurance Company
          Nautilus Insurance Company
          Nautilus Insurance Company;
          Nearon Sunset, LLC
          Neighborhood Spirit Property and Casualty Company;
          Nevada County
          Nevada Irrigation District
          Nexant Inc.
          NextEra Energy Inc.
          NextEra Energy Montezuma II Wind, LLC
          NextEra Energy Partners, L.P.
          NextEra Energy, Inc.
          Nor-Cal Pipeline Services
          North Sky River Energy, LLC
          NRG Energy Inc.
          NRG Energy Inc.
          Nuance Communications, Inc.
          Office of Unemployment Compensation Tax Services
          Okja Back
          OneSource Supply Solutions, LLC
          Open Space District
          Oracle America, Inc.
          Oracle Corporation
          Ormat Technologies Inc.
          Pacific Central Coast Health Centers,
          Pacific Mobile Structures, Inc.
          Paradise Moose Lodge
          Parsons Environment & Infrastructure, Inc.
          Patricia Kelly
          Paul Bowen
          Peninsula Clean Energy Authority
          Pension Benefit Guaranty Corporation
          Peter Ouborg
          PG&E Holdco Group
          Philip Verwey d/b/a Philip Verwey Farms
          Phillips & Jordan, Inc.
          Pinnacles Telephone Co.
          Pivot Interiors, Inc.
          Port City Operating Company, LLC
          Port City Operating Company, LLC dba St. Joseph's Behavioral Health Center,
          Port City Operating Company, LLC dba St. Joseph's Medical Center of Stockton,
          Potrero Hills Energy Producers, LLC
          Privilege Underwriters Reciprocal Exchange,
          Privilege Underwriters Reciprocal Exchange;
          Provencher & Flatt, LLP




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          Pryor Cashman LLP
          Public Advocates Office at the California Public Utilities Commission
          Public Employees Retirement Association of New Mexico
          Puget Sound Energy, Inc.
          Quanta Energy Services LLC
          Quest Diagnostics Health & Wellness LLC
          Ramiro Rodriguez
          Randall Yates
          RE Astoria LLC
          Realty Income Corporation
          Realty Income Corporation
          Realty Income Corporation
          Rebecca Bindernagel
          Rebecca Whaley
          Recology Inc.
          Refining Company-California
          Refining Company-California
          Regional Water Quality Control Boards,
          Relations and Office of Self-Insurance Plans
          Renaissance Reinsurance Ltd
          Renee Grant
          Resources Conservation and Development Commission, California Department of
          Forestry and
          Richard Lawrence Antognini
          Righetti Ranch LP
          Rising Tree Wind Farm II LLC
          Road Safety, Inc.
          Robert Robles
          Robert Ruckman
          Robert Thomas Zelmer
          Robetia Belden
          Rock Creek Hydro, LLC
          Roebbelen Contracting, Inc.
          Roger Martinez
          Ronald L.M. Goldman
          Ruby Pipeline, L. L. C
          Rudolpho Martinez
          Ryder Jones
          Saint Francis Memorial Hospital,
          Sally Thorp
          Sam Attalla
          Sam Dorrance
          Samantha Jones
          San Diego Gas & Electric Company
          San Francisco Herring Association
          Sara Hill




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          Sarah Thompson
          Scottsdale Indemnity Company
          Scottsdale Surplus Lines Insurance Company
          SEIU United Service Workers – West
          Sempra Energy
          Shafter Solar, LLC
          Sharon Britt,
          Sheron box
          Shiloh I Wind Project LLC
          Shin H. Lee Cobble
          Sierra Energy Storage, LLC
          Sierra Nevada Memorial - Miners Hospital
          Sierra Telephone Company, Inc.
          Simon Property Group
          Simpson Thacher & Bartlett LLP (Counsel for the Board of PG&E Corporation and
          Pacific Gas and Electric Company & Certain Current and Former Independent Directors)
          Singleton Law Firm fire victim claimants
          Singleton Law Firm, APC (Attorneys for the Ad Hoc Committee of Unsecured Tort
          Claimant Creditors and the Singleton Law Firm Fire Victim Claimants)
          Small LEC Creditors
          Snelson Companies, Inc.
          Sodexo, Inc.
          Solar Partners II LLC
          Solar Partners VIII LLC
          SOLON
          Sonoma County (California)
          Sonoma County Agricultural Preservation
          Sonoma County Agricultural Preservation and Open Space District
          Sonoma County Community Development Commission
          Sonoma County Treasurer & Tax Collector
          Sonoma County Water Agency
          Sonoma Valley County Sanitation District
          South San Joaquin Irrigation District
          Southern California Edison
          Southern California Gas Company
          Southern Power Company
          Southwire Company, LLC
          Southwire Company, LLC
          Standard Guaranty Insurance Company;
          Starr Surplus Lines Insurance Company
          State Energy Resources Conservation and Development Commission,
          State Water Resources Control Board,
          Steve Christopher
          Stockton, LLC
          Suk 24 Lee, Ok-Sun Lee
          Sukjoo Lee




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          SummerHill Homes, LLC
          Sunshine Gas Producers, LLC
          Susan Mauer
          Sutter Insurance Company,
          Synergy Project Management, Inc.
          Tami Coleman
          Tanforan Industrial Park, LLC
          Tata Consultancy Services
          TDS Telecom
          Telvent USA, LLC
          TerraForm Power, Inc.
          The Act 1 Group, Inc.
          The Alan and Christina Metroka Family Trust
          The Attalla Family Trust
          The Baupost Group, L.L.C.
          The Church of Jesus Christ of Latter-day Saints
          The City of Oakland
          The Davey Tree Expert Company
          The De Wayne Hart Family Trust
          The Dean C. Whaley Living Trust
          The Lee Family Trust
          The Martinez Revocable Trust Agreement
          The Michael Y. Wong
          The Mildred C. Harding Trust
          The Mosaic Company
          The Okonite Company
          The Olson Revocable Inter Vivos Trust
          The Ponderosa Telephone Co.
          The Robert and Kay Johnson Family Trust
          The Utility Reform Network (TURN)
          Thomas Atkinson
          Those Certain Underwriters Subscribing To Policy No. Ptnam1701313/010 As Subrogee
          Of Ashford Inc.
          Thyssenkrupp Elevator (TE)
          Todd McNeive
          Tonia Hanson
          Topa Insurance Company
          Topaz Solar Farms LLC
          Topaz Solar Farms LLC
          Town of Paradise
          Traffic Manaagement, Inc.
          Transwestern Pipeline Company, LLC
          Travelers Insurance Co.
          TRC Companies, Inc.
          Truck Insurance Exchange
          Truck Insurance Exchange (“Farmers Entities”)




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          TTR Substations, Inc.
          Tulsa Inspection Resources PUC, LLC
          Tulsa Inspection Resources, LLC
          Turner Construction Company
          TURN-The Utility Reform Network
          United National Insurance Company,
          United National Insurance Company, (“American Reliable Entities”);
          United States of America
          URENCO Limited
          Valero Refining Company-California
          Valley Clean Energy Alliance
          Vasco Wind, LLC
          Vertiv Services, Inc.; and Vertiv North America, Inc., successor by merger to Alber.
          Veteran Power, Inc.
          Vivian Cook
          Vivian Isham
          Volcano Telephone Company
          Voyager Indemnity Insurance Company
          Voyager Indemnity Insurance Company, (“Assurant Entities”)
          W. Bradley Electric, Inc.
          Wawanesa General Insurance Company
          Wayne Brown
          Western Electricity Coordinating Council
          Western Heritage Insurance Company
          Westside Solar, LLC
          Whitebox Asymmetric Partners, LP
          Whitebox Asymmetric Partners, LP
          Whitebox Multi-Strategy Partners, LP
          Whitebox Multi-Strategy Partners, LP
          Wild Goose, LLC
          William Jones
          William K O’Brien
          William N Steel
          Winners Industry Co., Ltd.
          Winners Industry Co., Ltd.
          Woodland Biomass Power, LLC f/k/a Woodland Biomass Power, Ltd.
          XL Insurance America, Inc.
          XL Insurance America, Inc. (for itself and its subrogees Albertsons Companies, Inc. and
          Safeway Inc.)
          XL Insurance America, Inc. (for Themselves and Their Mutual Subrogees Ashford Inc.
          and Ashford Hospitality Trust, Inc.)
          Yuba County
          Yuba County Water Agency
          Zakery Peterson
          Zenith Insurance Company




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